Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 1 of 76




    EXHIBIT A
 Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 2 of 76




Prepared     andReturn
      by/Record     to:
Edward
     G.Milgrirn
     LawGroup
Milgrim
3216
   Corrine
         Drive
      FL32803
Orlando.




                              WALT    DISNEY    WORLD
                 CHAPTER    163 DEVELOPMENT       AGREEMENT

       This Development Agreement (this"Agreement") ismade this         day of February,
2023,by andbetweenWalt Disney Parks and ResortsU.S.,Inc.,a Florida             en behalf
                                                                    corporation,
of itself
        and itsaffiliated
                        and subsidiaryentities         referred
                                            (hereinafter      t oas Master Developer"),
whose mailingaddressis1375 Buena VistaDrive,Lake Buena Vista,Florida32830, and Reedy
Creek Improvement District,   a publiccorporation
                                                and publicbody corporateand politic
                                                                                  of the
Stateof Florida, whose mailingaddressis 1900 Hotel Plaza Blvd.,Lake Buena Vista,Florida
32830 (hereinafter referredto as "RCID"). RCID and Master Developermay sometimes be
referredtocollectivelyhereinasthe"Parties".

                                   WITNESSETH

      WHEREAS,     in 1967 the FloridaLegislature
                                                createdthe Reedy Creek knprovement
District
       (RCID) inorder tocreatea            structure
                                governmental      asstatedintheRCID Charterwiththe
governmentalpowers, and forthe         and
                              objectives purposes, stated
                                                        intheRCID Charter;and

       WHEREAS,     since1967 RCID has servedasthegoverningagency to approvelong-term
plans withinits             boundary includingcomprehensiveplans and land development
               jurisdictional
           and
regulations,   has                               and issuedbuilding
                   approveddevelopmentapplications                permitsinaccordance
withtheabove;and

      WHEREAS,    theBoard of Supervisors
                                        ofRCID hasthepower and authoritytoadminister
thecomprehensiveplanand supportinglanddevelopmentregulations
                                                          inrespecttoalllandslocated
withinthejurisdictional
                     boundary ofRCID (hereinafter
                                                referred
                                                       toas the"RCID Jurisdictional
Lands");and

      WHEREAS,     this Agreement govems a portion of the RClD JurisdictionalLands
          referred
(hereinafter     toasthe  "Property")asdefined a               attached
                                             by legaldescription      a sEXHIBIT
1and a location
              map attached asEXHIBIT 2; and

      WHEREAS,      Master Developerowns, either
                                               directlyor throughone or more subsidiary
       thevastmajorityoftheProperty,
entities,                                     inthe
                                      although,     future,portionsofthePropertyor any
otherland thatMaster Developermay acquirewithinthe RCID Jurisdictional   Lands, may be
transferred
          or leasedto anotherentity
                                  orsubdividedand soldor expanded;and
     Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 3 of 76




       WHEREAS,     Master Developer has developedportionsof the Propertyintothe Walt
Distæp World® Resort("Walt Disney World"), a world renowned resortwith multipletheme
parks,entertainmentvenues,resort hotels,commercialand otherlanduses alongwith monorails
and transit
          serviceto supportWalt Disney World, and plansto continueto
                                                                     developWalt Disney
World onto additional portionsof the Property(Walt Disney World as furtherdevelopedand
expandedhereinafterreferredtoasthe"Project"); and

      WHEREAS    RCID alsoowns landcomprisinga portionof thePropertywhich may be
         as
developed partoftheProjectinthefuture;
                                     and

      WHEREAS,      RCID has adopted a comprehensiveplan (hereinafter
                                                                   referred
                                                                          to as the
"Comprehensive Plan") thathas been reviewed and approved by the StateLand Planning
Agency, as required
                  by Chapter163,FloridaStatutes;
                                               and

      WHEREAS,    RCID has adopted land development regulations
                                                              ("RCID LDRs"), as
       by Chapter163,FloridaStatutes;
required                           and

        WHEREAS,     as requiredby State growth management law, in June 2022 the
Comprehensive  Plan was  amended and updatedto extendtheplanningtimeframethrough2032
and to adopt updatesto thefuturelanduse map and maximum developmentprogram withinthe
RCID JurisdictionalLands forthetimeframe2022-2032:and

      WHEREAS,    thisAgreement isneeded toestablish
                                                   and vestinMaster Developercertain
developmentrightsand entitlements
                               fortheProjectthatMaster Developerwillbe ableto relyon
forthelife
         ofthisAgreement;and

      WHEREAS,     Sections 163 3220-163.3243, Florida Statutes(the "Florida Local
Government Development Agreement Act"),authorize  localgovemments and developersto
enterintocertain    of
               types developmentagreements,  with an initial
                                                           durationof up to thirty
                                                                                 (30)
     to
years providecertahitytoboth      intermsofcurrent
                            parties               a nd future
                                                            processesand entitlements;
and

      WHEREAS,    development agreementspursuant to the FloridaLocal Government
DevelopmentAgreement Act area common toolfordevelopers
                                                     and loca1governments
                                                                        intheState
ofFlöridas       with        to
         especially respect long-term,  multi-phase       like
                                                   projects  Walt DisneyWorld; and

      WHEREAS,    in accordancewith Section163.3229 of the FloridaLocal Government
Development AgreeinentAct, theParties
                                    have agreedon a periodof thirty
                                                                  (30)yearstoallow
developmenton thePropertyofthemaximum developmentprogram as definedbelow in TABLE
            referred
  (hereinafter     toas the"Maximum Dev elopmenf Program"); and

      NOW, THEREFORE,      in considerationof themutual terms,covenantsand conditions
contained
        hereinand othergood and valuableconsideration,
                                                     thereceiptand sufficiency.of
                                                                              which
areacknowledged,itismutuallyagreedas follows:

L     PURPOSE    AND   AUTHORITY

       (A)   Recitals.The recitals
                                setforthabove aretrueand correct
                                                               and areincorporated
                                                                                 into
thisAgreement by reference.

                                          2
     Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 4 of 76




       (B)    Purpose.The putposeofthisAgreement isthree-fold:

             1)    Itwillprovidea bindingwrittenagreementbetweentheParties
                                                                         forthelong-
termdevelopmentofthePropertyand ProjectinordertovesttheMaximum DevelopmentProgram
andto providecertainty
                     toMasterDeveloper;and

             2)    Itwillstipulatethe provísionof necessarypublicfacilities
                                                                        by RCID that
willbe in placeconcurrentwith the demand of the Maximum
                                                          Development Program as itis
           and
constructed;

            3)    Itwillprovideclarification
                                          forhow the Comprehensive Plan and RCID
LDRs willapplytotheProject,
                          bothnow and inthefuture.

       (C)   AuthorityforAgreement. ThisAgreement isenteredintopursuanttothe authority
of the FloridaLocal Government Development Agreement Act, which consistsof Sections
143.3220-163.3243,FloridaStatutes.The authority
                                              under thosesectionsis supplementaland
         tothepowers conferred
additional                    upon local
                                       governmentsby otherlawsand itencouragessound
capitalimprovement planningand financingand a commitment to longetermcomprehensive
planning.

IL     APPROVED.LAND       USE AND   DEVELOPMENT       RIGHTS

       (A)   Land Use and Project
                                Entitlements.The RCID Jurisdictional
                                                                  Lands consistofland
usesassetforthinand consistent
                             withtheFutureLand Use Map (definedbelow) and areapproved
for the Maximum Development Program identified  in TABLE   1 below. The densities and
intensities
          oftheProjectareidentified
                                  and described
                                              inTABLE 2 below.

       (B)   Maximum BuildingHeights.Buildingheightsareto be controlled    and approved
by MasterDeveloperinordertoprotecttheimmersivenatureand aesthetic character ofthetheme
parksand attractions
                  either
                       currently      ortobe
                               existing      builto n the        A
                                                         Property. bsent specificMaster
Developerapproval,themaximum building heightson theProperty arecontrolled by theFederal
AviationAdministration(FAA) heightstandards
                                          and any waiveror variancefrom saidstandards
as approvedby theFAA.

       (C)    Provisionof NecessaryPublicFacilities. In orderto facilitate
                                                                        the implementation
ofand provideadequatelevels  of servicefortheMaximum DevelopmentProgram,certain      public
infrastructuresystems will requirenew facilities  and/or expansions of existingfacilities
           referred
(hereinafter       to as the"PublicFacilities").The PublicFacilitiesarelisted in ihe Capital
ItnprovementElement of the Comprehensive Plan a copy of which is attachedheretoand
incorporatedhereinasEXHIBIT 3, and willbe funded,designedand constructed    or causedtobe
constructedby RCID. Any land requiredforthe PublicFacilities      thatis owned by Master
Developershallbe dedicated  to RCID3 or otherpublicentity,as required.
                                                                     Compensationforsaid
land dedicationshallbe negotiated between partiesatthe time of transfer
                                                                      but in no eventshaH
MasterDeveloperrequestpayment forthelandin excessof fairmarketvalueas determined a
                                                                                       by
Member oftheAppraisalInstitute   (MAI) realestate
                                                appraiser,jointlyselected
                                                                        by theParties.




                                           3
   Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 5 of 76




                    TABLE 1 -Maximum Development Program
 (RCID Comprehensive   FLUE Table2-1- Additional
                   Plan,                      ApprovedDévelopmentThrough2032)

                    Comp Plan        2020Base                           Total
    Uses          FutureLand Use     Condition            PP                 &
                                                   Th o        09V3   Existing
                  Where Permitted   (Existing)(°                      Approved
                     Mixed Use
                    HoteVResort
 Hotels/Resorts                     39,232Keys     14000 Keys         53,232Keys
                    Comme cial
                   Entertainment

    Ófnce                                   SF
                                    1,004,521       150,000SF         1,154 21 SF
                    Commercial

Retail/Restaurant                   1A63222 SF             SF
                                                   1,000,000                  SF
                                                                      2,463,222
                    Commercia
 MajorTheme         Mixed se
                                      4 Parks         1 Park            5 Parks
    Parks          Entertainment
 MinorTheme         MixedUse
                                      3 Parks        2 Parks            5 Parks
    Parks          Entertainment

 (1)Doesnotinclude
                2020BaseCondition
                               Usesstricken
                                         in2022CPA (eg.,81HolesofGolf)
    Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 6 of 76




      TABLE   2 - Average Land Use Densities
                                           and Intensities
                                                        forExisting
                                                                  Development
                        (RCID ComprehensivePlan,FLUE Table2-5)


   Land Use                                       Units
                           De5elopedAcreage                         Density/Intensity
   Residencia                                 0           17DU |          1.18DU/Acre
   Commercial
       Office/Retail/                    303               SF
                                                   2dí83,907                 0.20FAR
       Restaurant
   Hotel/Resort
       Hotelsand Resorts                2,559             39 232        153 Keys/Acre
       GolfCourses                       816                  81        10.1Holes/Acre
   Entertainment
       Major ThemePark                  1,916             4 parks       479 Acres/Park
       Minor ThemePark                   446              3 parks       149Acres/Park


   Note:DU - Dwelling   /FAR = Floor
                    Units          AreaRatio

Table 2 depicts
              the existing
                         densityof developmentinRCID. As the supplyofundevelopedland
becomes smaller, new development isprojectedto occur at somewhat higherdensities or on
somewhat smallersites.Infill
                           developmentwithinexisting
                                                   activityareaswillalsotendto increase
theoveralldensityof developedareas.While therewillbe             to thisassumption,the
                                                      exceptions
overalltrendisexpectedtobe towardsmore dense development.




                                         5
     Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 7 of 76




       (D)    MasterDevelopment Program Changes and MasterDeveloperRightL

             1)    The allowedlanduseswithintheRCID Jurisdictional
                                                                 Lands aredetermined
by the FutureLand Use Map in the Comprehensive Plan (the"Future Land Use Map") and
Chapter2-20 oftheRCID LDRs.

              2)     MastetDeveloperisthemasterdeveloperfortheProject.  The Partiesagree
thatallofthe developmentrights and entitlements,
                                               including,without         thoseapplicable
                                                                limitation,
to alladditional
               appmved developmentthrough2032,as established   by theMasterDevelopment
Program   identifiedi n TABLE    1               the
                                    (collectively,    "Master Development Rights and
Entitlements") arevestedinMasterDeveloperand thatMasterDeveloperowns and controls   such
Master Development Rightsand Entitlements.    Master Developer may assignportionsof the
MasterDevelopment Rightsand Entitlements   to otherlandownersand/orground lessees within
the RCID Iurisdictional  Lands. Any proposed development thatutilizes any of the Master
Development Rightsand Entitlements          thepriorwritteùalipróval
                                     requires                       of Master Developer.
MasterDevelopershallbe responsible  formaintainingan accountingof theMasterDevelopment
Rightsand Entitlements thathavebeen usedand theMasterDevelopméntRightsanc Entitlements
thatareunused and available foruse.

       (E)    EnvironmentalLong Term Permits MitigationCredits.In örder to facilitate
environmentally          and sustainable
                protective               development,theParties previously collaboratedinthe
procurementoffederal  and state
                              levelenvironmental  permitsentitling RGID               Lands
                                                                         Jurisdictional
and RCID's extra-jurisdictional
                              boundaries(EJB) with uniqueand beneficial   developmentrights
and privileges             referred
               (collectively        to as the "Long Term Permits")( Specifically,    Master
Developersought   and received,a llatMaster  Developer's costbut            the
                                                                  benefiting entireRCID
Jurisdictional
             Lands,approvals from U.S.Fishand Wildlife  Serviceand FloridaFishand Wildlife
ConservatianCommission governingtheprotection    and relocationof threatened and endangered
species and requisitemitigationf orsame.   Master Developer similarly  pursued and received
approvalofa comprehensiveand forwardlookingfederal     dredge and fillentitlementframework
throughtheU.S.Army Corps ofEngineersand U.S.Environinental      ProtectionAgency,creating  a
site-specificwetland creditmitigationbank via the acquisition,     restorationand perpetual
management of what isnow known as Disney% WildernessPreserveand Mira Lago. Master
Developerand RCID collaboratively   pursuedapprovalsfrom South FloridaWater Management
District
       (SFWMD) fora MSSW (Management and Storageof SurfaceWaters)and ultimately           an
ERP ConceptualPermitentitling  theRCID Jurisdictional  Lands and EJB. The SFWMD      Permit
(asdefinedinfootnote1)utilizes thesame mitigation  creditbank referenced above,as developed
and managed by Master Developer.The mitigation   creditsobtäinedand maintainedthroughthe
Long Term Permitsarecollective]y  referredtohereinasthe"LTP MitigationCredits".



1 The
      Long Term Permitsspecifically       withoutlimitation,
                                   include,                the following:
                                                                        South Florida
Water Management District  (SFWMD) Permit:#48-00714-S dated September 10, 1992 (the
"SFWMD    Permit");Army Corps ofEngineersPermit;#199101901 (IP-GS),datedDecember 21,
1992; and Stateof FloridaGame and FreshWater Fish Commission PermitNo. OSC-4. dated
November 12,1992,Perinit  No. OSC-SSC-1, datedJuly 19,1994 and PermitNo. OSC-TSR-1,
datedAugust 9, 1994,issuedunder the authority
                                            of the WildlifeCode of theStateof Florida
(Chapter39,FloridaAdministrativeCode).

                                           6
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 8 of 76




               1)    Given the above, the Partiesagree that the LTP MitigationCredits,
including, withoutlimitation,
                            thoseLTP Mitigation  CreditscreatedthroughSouthFloridaWater
Management   DistrictEnvironmental ResourcePermits  Nos. 48-00714,5and 48-00714-S-22are
vestedinMaster Developerand thatMasterDeveloperissolelyentitled    toutìlizethesame. No
otherentity may use theLTP Mitigation  Creditswithoutpriorwrittenauthorizationfrom Master
DeveloperRCID shallrequestand must receivewrittenapprovalfrom Master Developertoallow
fortheuse of any threatenedor endangeredspeciesmitigation and/orany useof wetlandimpacts
orLTP Mitigation  Credits
                        priorto filing
                                     any application               ofsaidpennitsthatseek
                                                    formodifications
to impactwetlandsaffected by theseLong Tenn Permits.As and when MasterDeveloper seeks
to use any of theLTP Mitigation Credits,RCID shallpromptlycooperateas necessaryto allow
Master Developer'suse of theLTP Mitigation  Creditsconsistentwith the Master Development
Program, including,without limitation,   executing and  submittingthe appropriatepermit
appHeationoandany othernecessarydocumentationto allow forsuch use of LTP Mitigation
CreditsRCID shallneither  prohibitnor impede theuse of theLTP Mitigation Creditsby Master
Developer  fordevelopment inaccordance  withtheMaximum Development Plannor requireany
additionalmitigation

HL     DEVELOPMENT      REVIEW     UTILITIES AND    REQUIRED    PERMITS

       (A)   Development Review. Any proposed development utilizingthe Maximum
DevelopmentProgram (seeTABLE 11must followthedevelopmentreviewand approvalprocess
as definedintheRCID LDRs

      (B)    PublicFacilities.
                            PublicFacilities
                                           thatservethe Project,        butnotlimited
                                                               including,
to,potablewater,sanitarysewer,and solidwaste management, are providedby RCID. Public
        willbe addressedconsistent
Facilities                       withEXBIBIT 3 forthePublicFacilities identified
                                                                              insuch
Exhibit.

      (C)   Development Permits Required. Attached as EXHIBIT     4 is a listof local
developmentpermitsréquiredto develop the Propertyand the Project. The failure of this
Agreement toaddressa particular
                              permit,condition,
                                              term,or restrietion  notrelieve
                                                               shall          Master
Developeroftheùecessityof complying,and MasterDeveloperagreestocomply,withthe laws,
ordinancesand regulationsgoveming said permittingrequirements,conditions,term or
restrictions.

IV.    GOVERNING     LAWS AND POLICIES. This Agreement establishes      thestandardsthat
applytothe Propertyand theProjectand ifthereisany conflictbétween theAgreement and the
Comprehensive Plan or RCID LDRs this Agreement shall prevaiL Furthermore;for
Comprehensive Plan goals,objectivesand policies and RCID LDRs not in conflict  with this
Agreement, theversionofthe ComprehensivePlan, RCID  LDRs and otherlocalgovernmentlaws
and policiesgoveming the developmentof thePropertyin effectatthetimeof executionof this
Agreement shall govern thedevelopmentof the Propertyand the Projectforthe duration
                                                                                 of this
Agreement.RClD may applysubsequently   adoptedlaws and policiestothedevelopmentsubject
tothisAgreement,onlyifRC1D has followedtheproceduressetforthinChapter1633233, Florida
Statutes.

V.    MORATORIA.       No moratorium,ordinance,resolution   or other land development
         orhmitationon therate timingor sequencingof the developmentof theProjectshall
regulation


                                          7
       Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 9 of 76




applytoor govern the developmentof the Projectin accordancewith the MasterDevelopment
Program duringtheterm hereof,whetheraffectingbuildingpermits,occupancypermits, or other
entitlementsto be issuedby RCID. In the eventof any such action,Master
                                                                        Developer shall
continuetobe entitled
                    toapplyforan receivedevelopmentapprovalsinaccordancewiththe.RCID
LDRs and otherlocalgovemment laws and policies governingthe developmentof the Property
and theProject
             ineffectatthetimeofexecutionofthisAgreement andthetermsofthis
                                                                           Agreement.

VL    COMPREHENSIVE       PLAN. Pursuantto theterms and conditions of thisAgreement,
RCID findsthattheProject,
                        as proposedinthisAgreement,isconsistent
                                                              withtheComprehensive
Plan and RCID LDRs. Master Developer agreesthatany
                                                       development proposalsutilizing
                from thisAgreement willbe reviewedforconsistency
developmentrights                                              withtheComprehensive
Planand RCID LDRs ineffect atthetimeofthisAgreement unlessamended per SectionIV.

VIL    NO LIEN OR ENCUMBRANCE.       Nothing hereinshall be construedas creating
                                                                               a lien
or otherencumbranceon orwithrespect
                                  totitle
                                        tothe Property(orany portionthereof).

VHL   DURATION.     The durationofthisAgreement shallbe thirty
                                                             (30)yearsfrom itseffective
datebutmay be extendedby mutualconsentofRCID and MasterDeveloperand subject toa public
hearingpursuantto Chapter163.3229,FloridaStatutes,or throughextensionsfîledpursuantto
Chapter252. 63,FloridaStatutes.

IX.   BINDING   EFFECT.. The burdens of thisAgreement shallbe bindingupon, and the
       ofthisAgreement shall
benefits                   inureto,allsuccessors
                                               and assignsof eachparty

X.    GOVERNING       LAW    This Agreement, and the rightsand obligationsof the Parties
hereunder,shallbe governedby,construedunderand enforcedinaccordancewiththelaws ofthe
Stateof Florida.Pteparationof thisAgreernenthas been a jointeffortof the.Partiesand the
        document
resulting         shall
                      not,solelyasamatterofjudicial           be construedmoreseverely
                                                  construction,
      a partytothe Agreement
against

XL    SEVERABILITY.       Ifany proyision of thisAgreement,orthe application
                                                                           thereofto any
personor circumstances,shallto any extenthe heldinvalidorunenforceableby a court(orother
governmentbody) of competentjurisdiction, thentheremainderofthisAgreement shallbe valid
and enforceableto the fullest
                            extentpermittedby law. Any provision(s) held wholly or partly
invalidor unenforceableshallbe deemed amended, and the courtor othergovernment body is
authorizedtoreformthe provision(s) totheminimum extentnecessaryto renderthem validand
enforceableinconformitywiththeParties' intent asmanifestedherein.

XH.   MODIFICATION       OR CANCELLATION.         Modificationei cancellationof allor any
      of
portion  thisAgreement  withouteithert he expresswrittenconsentof Master Developeror in
accordancewith Section1633235, FloridaStatutes, shallbe consideredper se a modificationor
cancellation
           of the allowableuses and entitlementsto Master Developer'slegaland equitable
        theProperty.
interestin

XIIIL EXHWTS.     Unless otherwise
                                 providedinthisAgreement, allexhibits
                                                                    areincorporûted
hereinby reference,

XIV.    CAPTIONS   FOR   PARAGRAPH      HEADINGS.      Captions and paragraphheadings


                                           8
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 10 of 76




containedin thisAgreement are for convenienceand reference
                                                           only,and in no way define,
        extendor limitthe scope or intentof thisAgreement,nor theintentof
describe,                                                                 any provision
hereof.

XV.   COUNTERPARTS.       This Agreement may be executedin severalcounterparts,
                                                                             each
           a duplicateoriginal,
constituting                  but all such counterparts          one and the same
                                                      constituting
instrument.

XVL   ASSIGNABILITY,     This Agreement may be wholly or partially
                                                                assignedby Master
Developertoone ormore thirdparties.

XVIL EFFECTIVE     DATE. ThisAgreement iseffective on thedatethata fully-executed
                                                                               copy
isfiledintheOfficial
                   Records oftheOrange County Comptrollerand theOfficial
                                                                       Recordsof the
OsceolaCounty Comptroller.

XVIILTERMINATION.       ThisAgreement shallterminatein thirty
                                                            (30)yearsfrom itseffective
date,unlessextendedwhich includes,withoutlimitation,
                                                   extensions filedpursuantto Section
252 363,FloridaStatutes,
                      ormay be terrninated
                                        by  mutualconsent oftheParties.

XIX. AMENDMENTS.        ThisAgreement rnaybe amended by mutualconsentoftheParties  or
by theirsuccessors
                 ininterest
                          so long asamendments meet therequirementsof Section163.3237,
FloridaStatutes.
               All amendments tothisAgreement willbe adoptedas an amended and restated
versionand when an amendment goesintoeffectthenallpriorversions
                                                              ofthisAgreement shallbe
nulland void.

XX.   NO THIRD PARTY      CONSENT     REQUIRED.   No one otherthanthePartiesor their
         in interest
successors          may seek an amendment tothisAgreement and no consentof any other
      shallbe required.
parties

XXL   EFFECT   ON EXISTING DEVELOPMENT.         Nothing in thisAgreement terminates,
rescinds,      ormodifiesallowable
        cancels,                 usesorentitlements
                                                 vestedwithany otherpropertyowners
      tothejurisdiction
subject               ofRCID.

XXIL   FURTHER     ASSURANCES.        Each of the Partieshereto agrees to do, execute,
acknowledge and deliver,or causeto be done, executedcacknowledgedand delivered, allsubh
furtheractsand assurances
                        as shall
                               be reasonably         by theotherpartyinorderto carryout
                                             requested
theintentof thisAgreement and give effect
                                        thereto.Withoutin any manner limiting
                                                                            the specific
rightsand obligationssetforthin thísAgreement,the Partieshereby declaretheirintentionto
cooperatewith each otherin effecting  the terms of thisAgreement, and to coordinatethe
perfortnanceoftheirrespective          underthetermsúf thisAgreement.
                             obligations

XXIIL   NOTICES.    Any noticesor reportsrequiredby thisAgreement shallbe sentto the
following:




                                          9
   Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 11 of 76




        For theReedy Creek Improvement District:


        Reedy Creek hnprovement Distríct
        Attention:
                 DistñetAdministrator
        1900 HotelPlazaBlvd.
        Lake Buena Vista,Florida32830

        With a copy to:

        Milgrim Law Group
                 Edward G. Milgrim
        Attention:
        3216 CorrineDrive
        Orlando,Florida32803

        For MasterDeveloper:

        Walt Disney Parksand ResortU.S.,Inc.
        c/oWalt Disney Imagineering
                 SitePortfolio
        Attention:            Executive- WDW
        WDI EPCOT Main Building,   Floor1
        1365 Avenue oftheStars
        Lake Buena Vista,Florida32830

        With a copy to:

        Walt Disney Parksand ResortsU,$.,Inc.
        c/oWait Disney World - LegalDepartenent
                 ChiefCounsel
        Attention:
        Team Disney 4thFloorNorth
        1375 Lake Buena VistaDrive
        Lake Buena Vista,Florida32830

XXIV.    PUBLIC  HEARINGS.       This Agreement was approved by the Reedy Creek
Improvement District
                   Board of Súpervisors
                                      after
                                          two properlynöticedpublichearingsbeforethe
Board on                 2023 and hebninyd           2023.


         [THE BALANCE       OF THIS PAGE   IS INTENTIONALLY   LEFT BLANK.]

                          [SIGNATURES   ON FOLLOWING    PAGES.]




                                            10
     Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 12 of 76




        INWITNESS    WHEREGE       the Partieshereto, through their duly authorized
             have executedthisAgreement as ofthedatesetforthbelöw.
representatives,

WITNESSES:                             WALT   DISNEY PARKS AND    RESORTS   U.S.,
                                            a
                                       INC., Floridacorporation


     itn
       ess#gnature)

      7                                By±
(WitnessPrinted
              Na Ie)
                                       Print)ante d     O Jo

                                       Title:    CC

                                       Date           "UAr        C L


(WitnessSign ure)

              S     Ae2_
       Prìfit
(Witness    d Name)

STATE OF FLORIDA
COUNTY  OF ORANGE

      The foregoing        was acknowledged beforeme by mean; of
                  instrument                                              presence
                                                                   physical
or   onlinenotprizatjon
                     t)is80  day of            ,2023 by  dd  7/)   C62V#M
as            ruidl#/e         of Walt Disney Parks and ResortsU.S, Inc, a Florida
           who is /personally known tome or
corporation,                                      who has produced
asidentification.


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                            orrøria.   No a   PubÚc
         .     . Jennifer
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                                                  printed




                                         11
   Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 13 of 76




                                      REEDY    CREEK  IMPROVEMENT       DISTRICT,
                                      a publiccorporation
                                                        and publicbody corporate
                                                                               and
                                            oftheStateofFlorida
                                      politic
                                      By: B¢    o apg    sors



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                                      Title:

                                      Date:

ATTEST:



r-                  Af   Án           Date              3
btSTRfCT CLEk

STATE OF FLORIDA
COUNTY  OF ORANGE

       The foregoinginstnmie    sacknowl dged beforeme by means of      ysical
                                                                             presence
et      onlinenotarization
                         this    day of hu0£d2023      by }chn      , ths      \L
ashM       d   Ma%n%VcdrOr       of Reedy Creek                    a
                                                Imbrovement District publiccorhoration
and publicbody corporateand politic
                                  oftheStateof Florida,
                                                      who is     ersonallyknown to me
or    who has produced                   asid tification.


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            MYCOMMISSION#
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                                      hÍame (typed,
                                                  printedor stamped)

STATE OF FLORIDA
COUNTY  OF ORANGE

       The foregoing
                   instrutnent
                            was acknowledgedbeforeme by meansof     hysicalpresence
or ____ onlinenotarization
                        this@day    of          2023 by         ydY¼m
as District
          Clerkof Reedy Creek improvement Distret,a publiccorporation
                                                                    and publicbody
corporate          oftheStateof Florida,
         and politic                   who is    ersonallyknown tome or    who has
produced                     as identificatiort



                H.ANAPERRAS             ótaryPublic
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   Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 14 of 76




                               LIST OF EXHIBITS



Exhibit1   Legal Description

Exhibit2   Loe ationMap

Exhibit3   CapitalImprovements Schedule

Exhibit4   Listof Required Local Development Permits
   Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 15 of 76




                                        EXHIBIT   1

                                LEGAL    DESCRIPTION


The Property is defined as the followingproperty lessand except any portionsof the

followingpropertythatare,as ofthe Effective
                                          Date ofthisAgreement, owned in feesimple

by a party other than RCID   or Master Developer.If,during the Term ofthisAgreement,
Master Developer obtains ownership of any portionsof the followingproperty that are

owned infeesimpleby a partyotherthan RCID or Master Developeras ofthe Effective
                                                                              Date
ofthisAgreement, such property shallbe deemed tobe and treatedas part ofthe Project



                        (Seeattached56 page legaldescription)
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 16 of 76




                                        DESCRIPTIONOF
                                    DEVELOPERS'AGREEMENT
                                   INORANGE COUNTY, FLORIDA

A parcelof landlying
                   inSections1 through3,8 through17,19 through28,33 through36 Township 24
South,Range 27 East,
                   and Sections
                              6 through8,17 through22,27 through31,Township 24 South,Range
28 East,
       Orange County,       and
                     Florida,   beingmore particularly
                                                    describedasfollows:


BeginattheSouthwestcorneroftheNorthwest1/4oftheSouthwest1/4ofSection             6,Township24 South,
Range 28 Eastrun N 00°00'22"E,1327.43feetalongtheWest lineofSection6 tothe Northwestcorner
ofthe Southwest1/4 ofsaidSection6;thenceN 89°27'45"E,1997.50feetalongthe Northlineofthe
SouthhalfofSection  6,totheSouthwestcorneroftheEast1/2oftheSoutheast1/4oftheNorthwest1/4
ofSection 6, thenceN 00°20'35"  W, 1154.75feetalongtheWest line     oftheEast1/2oftheSoutheast1/4
oftheNorthwest1/4ofSection     6;thenceN   89°38'50"  E,663.64feet alonga line thatis165.00feetSouth
ofand paralleltotheNorthline  oftheSoutheast1/4oftheNorthwest1/4ofSection         6;thenceN 89°11'34"
E,148.62feet+/-alonga lineparallel   to and 165.00feetSouthofthe NorthlineoftheSouthwest1/4 of
the Northeast1/4ofSection6 to a pointon the WesterlyshorelineofLakeMable;thencemeander the
shorelineof LakeMable ina Southerly    direction,to a pointon theSouthlineofSection6 and theNorth
lineofSection7,Township 24 South,Range 28 East,      saidpointbeingS 16°20'10"   W, 3981.97feetmore
orlessfrom thepreviously  described point, and alsolying N 89°31'17"E, 1683.05 feetfromtheSouthwest
cornerof Section6; thence continuealong the shore lineof Lake Mable in a Southeasterly            and
Northeasterly directionacrosstheNorth1/4ofSection      7,totheNorthline  ofSection 7 and theSouthline
ofSection6,Township 24 South,Range 28 East,saidpointbeingN 89°31'17"E,alongthe Northsection
lineofSection7,1381.64feetfrom the previously     described  pointand lyingS 89°31'17" W, 2304.35feet
from the Northeastcornerof Section7;thencecontinueto meander the shorelineof LakeMable ina
Northeasterly direction
                      acrosstheSoutheast1/4ofSection       6,Township24 South,Range 28 Easttoa point
on saidshoreline which isintersected by the  Northline  oftheSouthhalf  oftheSoutheast1/4 ofSection
6,saidpointbeingN 25°14'10"E,1475.82feetfrom the previously        described point; thenceN 89°29'30"
E,alongsaidNorthline  oftheSouthhalfoftheSoutheast1/4ofSection        6,1679.89feettotheEastsection
linethereof; thenceS 00°12'20" W, 1330.62feetalongthe EastlineofSection6 totheSoutheastcorner
ofSection 6 and theNorthwestcornerofSection     8,Township24 South,Range 28 East;   thenceN 89°21'03"
E alongthe NorthlineofSection8, 191.58feetmore or lessto a pointon theWest shorelineofSouth
Lake;thencemeander theshorelineofSouthLakeina Southwesterly,           Southeasterly and Northeasterly
directiontoa pointwhere theshoreline   ofSouthLakeintersects    theEastlineoftheWest halfoftheWest
halfofSection8;saidpointbeingS 25°17'13"      E,2679.01feetmore or lessfrom the previously   described
point;thenceS 00°13'59"  W, 221.07feettotheNortheastcorneroftheNorthwest1/4oftheSouthwest
1/4ofSection  8;thenceS 00°06'21"E alongtheEastlineoftheWest halfoftheSouthwest1/4ofSection
8,1334.85  feettotheSoutheastcorneroftheNorthwest1/4oftheSouthwest1/4ofSection             8;thenceS
88°48'04"W, 1111.09feetto a pointof curvature      of a curveconcaveSoutheasterly    havinga radiusof
545.08feet, and a centralangleof81°15'08";  thencerunSouthwesterly    alongthearcofsaidcurve,  772.99
feet;to a pointof reversecurvature   of a curveconcave Northerly   havinga radiusof 80.00feet,and a
centralangleof 128°43'50";   thence run Westerlyalongthe arcof saidcurve,179.74feet;thenceS
43°40'59"E, 16.92feet;thence S 34°38'41"E,8.13 feet;thence 5 25°16'40"E,86.79 feet;thenceS
28°57'56" E,106.03feet; thence5 58°01'53"E,87.73feet;     thenceN 85°59'29"  E,134.58feettoa pointof
curvature ofa curveconcaveSoutherly    having  a radius of425.00 feet,and a central angleof 23°29'59";
thencerun Easterly alongthearcofsaidcurve,174.31feet;       toa pointofcompound curvature   ofa curve
concave Southwesterly   havinga radiusof 15.00 feet,and a centralangleof 46°20'48";        thence run
Southeasterly alongthearcofsaidcurve,   12.13feet; toa pointofcompound curvature     ofa curveconcave
       Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 17 of 76




Westerlyhavinga radiusof425.00feet,       and a central  angleof 16°33'54";    thencerunSoutherly     alongthe
arcof saidcurve,122.87feet;to a pointof compound curvature              of a curveconcaveWesterlyhavinga
radiusof25.00feet,and a central      angleof 51°32'25";   thencerun Southerly      alongthe arcof saidcurve,
22.49feet; thenceS 43°56'36"W, 91.06feet;       thenceS 64°40'37"      W,  105.25  feet;thenceS 40°45'32"    W,
117.42feet; thenceS 13°26'04"     W, 97.39feet; thenceS 42°14'20"       W, 133.97feet;   thenceS 68°59'11"   W,
89.71feet;thenceS 28°50'44"W, 77.77feet;thence5 14°52'47"                W, 88.32feet;thenceS 01°59'29"E,
106.28feet; thence5 24°42'46"      W, 241.59feet;  thenceS 36°55'50"W, 126.64feet;thenceS 24°03'44"
W, 71.01feettoa pointofcurvature       ofa curveconcaveNorthwesterly         havinga radius   of25.00feet,  and
a central      of
         angle 40°55'45";      thencerun   Southwesterly    along  thearcofsaid     curve, 17.86 feet; t henceS
64°59'30" W, 91.68feettoa pointofcurvature       ofa curveconcaveNortherly        havinga radius  of25.00feet,
and a centralangleof 46°29'32";     thencerun Westerlyalongthe arcofsaidcurve,20.29feet;thenceN
68°30'58" W, 131.37feet;  thenceN 34°57'28"    W, 145.43feet;     thenceN 10°44'04"     W, 144.09feet;   thence
N 10°34'18" E,129.55feet;   thenceN 44°03'35"E,129.67feet;         thenceN 86°35'32"     E,100.03feet;   thence
N 62°48'18"E,100.08feet;    thenceN 58°16'14"E,95.99feet;         thenceN 15°01'47"     E,86.03feet;  thenceN
14°30'32" W, 104.94feet;  thenceN 03°06'23"    W, 111.09feet;     thenceN 07°32'42"E,68.01feet;       thenceN
15°14'13" W, 80.67 feet; thenceN     87°12'48" W,  40.11   feet; t henceS   77°42'57"  W,  84.88 feet;thenceS
74°44'47"W, 66.79feet;thenceS 35°20'27"        W, 90.33feet;thenceS 22°58'13"         W, 87.94feet;thenceS
20°05'22" W, 168.18feet;  thenceS 65°39'23"    W, 108.46feet;     thenceN 79°02'16"     W, 146.86feet;   thence
S 44°41'24"W, 85.24feet;   thenceS 66°58'59"    W, 80.82feet;    thenceN 89°03'00"     W, 96.88feet;   thenceS
84°18'13" W, 51.79feet;  thenceS 77°56'53"    W, 116.91feet;     thenceS 70°14'00"    W, 84.26feet;   thenceN
63°52'48" W, 163.26 feet; t henceN    71°49'57" W,  91.32   feet;t henceN    56°38'48"  W,  106.72 feet; thence
N 37°38'37" W, 96.72 feet;  t henceN   69°48'38"  W,  85.22  feet; t henceN   85°15'14"  W,  95.72 feet; thence
N 76°56'11" W, 104.56feet;  thence5 28°55'14"    W, 152.44feet;     thenceS 13°45'44"    E,47.73feettoa point
ofcurvature ofa curveconcaveWesterlyhavinga radiusof75.00feet,               and a central  angleof 30°06'13";
thencerun Southerly  alongthearcof saidcurve,39.41feet;to a pointof reversecurvature                 of a curve
concave Northeasterly   havinga radiusof 45.00 feet,and a centralangle of 99°54'55";                thence run
Southeasterly alongthearcofsaidcurve,78.47feet;to a pointofreversecurvature                 of a curveconcave
Southwesterly having a radius   o f250.00 feet,a nd  a central        of
                                                               angle 55°31'16";      thencerun   Southeasterly
alongthearcofsaidcurve,242.26feet;       thenceS 28°03'11"     E,95.35feettoa pointofcurvature       ofa curve
concaveWesterlyhavinga radiusof 125.00feet,         and a central   angleof 59°41'01";    thencerun Southerly
alongthe arcofsaidcurve,130.21feet;       thenceS 31°37'50"     W, 165.37feet;     thenceS 51°01'41"E,83.54
feettoa pointon a non-tangent     curveconcaveSoutheasterly      having   a radiuso f676.49feet,  and a central
      of
angle 29°43'07";  thencefrom      a tangentbearing  ofN   50°17'44"   E run Northeasterly  along thearcofsaid
curve,350.89 feet;thence S 35°59'30"E, 246.14 feet;thence S 55°37'13"E, 316.45 feet;thence S
68°44'46"E,336.44feetto a pointon a non-tangent          curveconcaveSoutherly       havinga radiusof399.38
feet,and a centralangleof 09°53'41";    thencefrom a tangentbearingofN 79°13'56"E run Easterly             along
the arcof saidcurve,68.97feet;to a pointof reversecurvature            of a curveconcaveNortherly      havinga
radiusof 137.63feet,and a central     angleof 14°21'49";    thencerun Easterly     alongthearcofsaidcurve,
34.50feet; thenceS 03°57'40"    W,  60.74feet toa  point   on a non-tangent   c urveconcave    Southerly  having
a radiusof344.38feet,  and a central   angleof04°15'11";     thencefrom a tangentbearingofS 86°02'20"E
run Easterlyalongthearcofsaidcurve,25.56feet;         toa pointof compound curvature         ofa curveconcave
Southerly havinga radius  of 132.00feet,   and a central   angleof 26°04'01";    thencerun Easterly   alongthe
arcofsaidcurve,60.05feet;     toa pointon a non-tangent      curveconcaveSouthwesterly        havinga radiusof
184.37feet,and a centralangleof 31°44'00";         thencefrom a tangentbearingof S 49°44'21"E run
Southeasterly along the  arcof    said curve,102.11    feet;to a pointof compound curvatureof a curve
concaveWesterlyhavinga radiusof679.36feet,          and a central   angleof 08°51'48";    thencerun Southerly
alongthearcofsaidcurve,105.09feet;       toa pointofreversecurvature        ofa curveconcaveEasterly      having
a radiusof437.18feet,  and a central   angleof18°37'07";    thencerun Southerly     alongthearcofsaidcurve,
       Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 18 of 76




142.06feet;  toa pointofcompound curvature       ofa curveconcaveNortheasterly        havinga radius  of395.25
feet,a nd a central      of
                   angle 18°13'39";    thencerun     Southeasterly   along   thearcofsaid   curve, 125.74  feet;
to a pointof reversecurvature   of a curveconcaveSouthwesterly          havinga radiusof645.09feet,and a
central angleof 03°21'33";  thencerun Southeasterly      alongthe arcof saidcurve,37.82feet;thenceN
82°18'14"  W, 71.09feet; thenceN 51°44'44"      W, 65.78feet;thenceN 80°24'25"         W, 90.39feet;   thenceS
48°32'46"W, 80.93feet;thenceS 22°55'38"         W, 113.12feet;thenceS 27°19'16"E,55.45feet;thenceS
18°40'56"  W, 159.75feet; thenceS 10°48'30"      W, 160.42feetto a pointofcurvature         ofa curveconcave
Easterly having a radiusof223.65  feet,  a nd a central        of
                                                        angle 59°02'33";        thencerun  Southerly  alongthe
arcofsaidcurve,230.47feet;    to a pointon the Northerly      and Easterly    boundary  ofTract  R,GoldenOak
Phase1B according   tothePlatthereofrecordedinPlatBook 75,Pages3 through15 ofthePublic                  Records
of Orange County,a non-tangentcurveconcave Northerly            havinga radiusof 25.00feet,and a central
angleof64°33'48";  thencefrom a tangentbearingofS 49°58'05"          E run Easterly alongthearcofsaidcurve,
28.17feet;  thenceN 65°28'07"E,122.36feet;       thenceN 76°27'23"E,76.59feettoa pointofcurvature            of
a curveconcaveNorthwesterly    having  a radius  o f25.00 feet, a nd  a central       of
                                                                                 angle 25°14'16";   thencerun
Northeasterly  alongthearcofsaidcurve,11.01feet;       thenceS 78°11'38"       E,85.68feettoa pointon a non-
tangentcurveconcaveEasterly    havinga radius     of 1010.00feet,    and a central  angleof07°58'42";    thence
from a tangentbearingofS 11°48'22"     W run Southerly   alongthearcofsaidcurve,140.64feet;          toa point
on a non-tangentcurveconcave Southwesterly           havinga radiusof 25.00feet,and a centralangleof
87°13'52";  thencefrom a tangentbearingofN 03°49'41"E run Northwesterly             alongthearcofsaidcurve,
38.06feet;  thenceN 83°24'11"  W, 42.54feet     toa  pointofcurvature     o fa  curveconcave  Southerly  having
a radiusof221.37feet,  and a central angleof29°07'38";     thencerunWesterlyalongthearcofsaidcurve,
112.54feet;  to a pointofreversecurvature     ofa curveconcaveNortherly          havinga radiusof 132.76feet,
and a central angleof48°16'12";  thencerun Westerlyalongthearcofsaidcurve,111.85feet;                toa point
on a non-tangentcurveconcave Northeasterly          havinga radiusof 234.18feet,and a central          angleof
14°51'36";  thencefrom a tangentbearingofN 64°15'37"       W run Northwesterly      alongthearcofsaidcurve,
60.74feet;  thenceS 24°23'32" E,34.06feet;    thenceS 18°04'39"      E,78.70feettoa pointon a non-tangent
curveconcaveNorthwesterly    having a  radius o f25.00  feet,a nd  a central  angleof115°40'49";   thencefrom
a tangentbearingof S 17°50'29"E run Southwesterly        alongthe arcofsaidcurve,50.48feet;thenceN
82°09'40"  W, 26.47feet; thenceS 26°43'01"     W, 107.99feet;    thenceS 13°53'13"     W, 84.71feet;   thenceS
20°06'37"  W, 86.21feet;thenceS 22°42'17"       W, 90.27feet;thenceS 48°33'38"W, 93.96feet;thenceS
51°48'05"W, 58.47feet;thenceS 70°41'52"W, 98.39feet;thenceS 75°48'30"                 W, 82.70feet;thenceN
82°22'12"W, 18.57feet;thenceS 59°48'12"         W,  61.99 feet; thenceS     23°48'42"  W, 31.41feet;thenceS
21°34'58"E,112.96feet;thenceS 25°04'56"E,80.36feet;           thenceS 06°58'19"E,51.79feetto a pointof
curvature  of a curveconcaveWesterlyhavinga radiusof 25.00feet,and a central               angleof 54°17'13";
thencerun Southerly   alongthearcofsaidcurve,23.69feet;          thenceS 47°18'54"     W, 37.10feet;   thenceS
03°48'45"E,24.29feetto a pointofcurvature        ofa curveconcaveNorthwesterly         havinga radiusof25.00
feet,and a central angleof 79°16'52";   thencerun Southwesterly        alongthearcofsaidcurve,34.59feet;
thenceS 75°28'07"   W, 70.19feet to  a point  ofcurvature   o fa curveconcave      Northerly havinga radiusof
25.00feet,  and a central     of
                         angle 41°16'24";      thencerun   Westerlyalong      thearcofsaid   curve,18.01feet;
thenceN 63°15'30"   W, 63.09feettoa pointon the Easterly       right-of-way    ofRCIDcanalL-105asdescribed
inOfficialRecordsBook 1896,Page 232 ofthePublic        RecordsofOrangeCountyFlorida,        and a non-tangent
curveconcaveEasterly    havinga radiusof 1505.50feet,and a central          angleof 37°08'46";  thencefrom a
tangentbearing   of5 03°51'20" E run  Southerly   along thearcofsaid      curveand   right-of-way, 976.05feet;
thencecontinuealongsaidright-of-way      S 41°00'06"E,193.39feet;        thenceS 48°59'54"   W,  100.00feet  to
a pointon thewesterly  right-of-way ofsaid  Canal;  t hencedeparting    said  Canal run,N 87°15'41"  W,  130.57
feet;thenceN 63°21'34"   W, 33.90feet;   thenceN 81°08'52"     W, 154.09feet;     thenceN 39°33'00"   W, 38.53
feet;thenceN 28°54'14"   W, 86.79feet;   thenceN 28°30'43"     W, 101.63feet;     thenceN 32°36'46"   W, 77.00
feet;thenceN 39°30'36"   W, 98.30feettoa pointofcurvature         ofa curveconcaveEasterly      havinga radius
       Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 19 of 76




of 25.00feet,and a central       angleof 37°14'40";     thencerun Northerly     alongthearcof saidcurve,16.25
feet;t henceN    02°15'56"   W,  56.50   feet; t henceN  39°36'59"  W,  135.27  feet; thenceN 85°04'00"   W, 67.65
feetto a pointofcurvature       ofa curveconcaveNortheasterly         having  a radius o f25.00 feet, and a central
angleof46°40'29";      thencerun Northwesterly        alongthearcofsaidcurve,20.37feet;        thenceN 38°23'30"
W, 64.62feet;    thenceN 64°16'04"       W, 16.33feettoa pointofcurvature         ofa curveconcaveNortheasterly
havinga radius    of25.00feet,    and a central    angleof58°38'45";   thencerun Northwesterly     alongthearcof
saidcurve,25.59feet;thenceN 05°37'20"W, 20.54feet;thenceN 44°31'28"W, 62.56feet;thenceS
23°42'54"  W, 95.95feettoa pointofcurvature            ofa curveconcaveNorthwesterly       havinga radius  of25.00
feet,and   a central         of
                      angle 84°46'10";        thencerun    Southwesterly  along   thearcofsaid   curve, 36.99 feet;
thenceN 71°30'56"      W, 65.59feet;     thenceN 67°45'46"     W, 71.42feet;   thenceN 47°09'12"   W, 129.61feet;
thenceN 28°09'10"       W, 67.04feetto a pointofcurvature         ofa curveconcaveEasterly       havinga radiusof
25.00feet,   and a central   angleof58°17'03";       thencerun Northerly   alongthearcofsaidcurve,25.43feet;
thence N 30°07'52"E,66.18feet;thenceN 41°27'39"E,82.62feet;thenceN 28°03'16"E,61.53feet;
thenceN 21°03'09"       W, 47.93feet;     thenceN 17°13'11"     W, 99.26feet;thenceN 00°32'57"E,48.45feet;
thenceN 12°21'10"E,151.79feet;            thenceN 23°46'35"E,109.94feet;         thenceN 39°26'51"E,91.52feet;
thenceN 17°00'45"E,45.16feet;           thenceN 34°56'26"     W, 27.03feet;   thenceN 26°29'23"    W, 104.81feet;
thenceS 48°40'54"     W, 30.14feettoa pointon a non-tangent           curveconcaveSoutherly      havinga radius of
7.86feet,  and a central   angleof78°20'37";       thencefrom a tangentbearingofN 28°56'03"        W runWesterly
alongthearcofsaidcurve,        10.75feet;   toa pointofcompound curvature         ofa curveconcaveSoutheasterly
having  a radius  o f19.64  feet, a nd  a central        of
                                                   angle 36°52'37";    thencerun    Southwesterly  alongthearcof
saidcurve,12.64feet;to a pointof compound curvature               ofa curveconcaveEasterly       havinga radiusof
3.95feet,and a central      angleof 74°25'35";       thencerun Southerly    alongthe arcofsaidcurve,5.13feet;
thenceS 38°34'51"E,13.88feet;          thenceS 51°58'30"     W, 145.54feet;   thenceN 37°57'09"   W, 16.70feetto
a pointon a non-tangent      curveconcaveNortheasterly        havinga radius   of1080.42feet,   and a centralangle
of 20°21'16";   thencefrom a tangentbearingof N 48°06'54"W run Northwesterly                 alongthe arcofsaid
curve,383.82feet;     thenceN 37°56'18"       W, 17.87feet;   thenceN 30°54'21"      W, 193.79feettoa pointon a
non-tangent   curve   concave   Southeasterly     having a radiuso f762.70  feet, a central
                                                                                  a nd         angleof08°52'54";
thencefrom a tangentbearingof S 63°58'49"W run Southwesterly                   alongthe arcof saidcurve,118.23
feet;thenceS 55°05'55"       W, 58.77feetto a pointofcurvature         ofa curveconcaveSoutheasterly       havinga
radiusof 160.82feet,and a central          angleof 19°16'01";    thencerun Southwesterly     alongthe arcofsaid
curve,54.08feet;to a pointof reversecurvature              of a curveconcave Northwesterly      havinga radiusof
159.35feet,   and a central          of
                              angle 36°15'00";       thencerun  Southwesterly    along thearcofsaid  curve,100.82
feet;t henceS   72°04'54"    W,  26.78feet    to  a pointofcurvature   o fa curveconcave    Southeasterly  havinga
radiusof 158.03feet,and a central          angleof 21°54'44";    thencerun Southwesterly     alongthe arcofsaid
curve,60.44feet;     to a pointon a non-tangent       curveconcaveNortheasterly       havinga radiusof52.89feet,
and a central   angleof 104°26'29";       thencefrom a tangentbearingof S 75°27'00"W run Northwesterly
along the  arcofsaid     curve, 96.41   feet; thenceN 00°06'31"W, 54.31feet;         thenceN 74°49'42"W, 43.41
feet;thenceS     44°47'41"   W,  145.43    feet; t henceS  45°05'06" E,  18.68  feet; thenceS 03°14'02"W, 84.66
feet;t henceS   05°12'38"    E,58.35feet     to a  pointofcurvature  o fa  curveconcave    Easterlyhavinga radius
of1125.00feet,     and a central  angleof27°57'29";      thencerun Southerly    alongthearcofsaidcurve,548.95
feet;thenceS 33°10'07"      E,163.59feettoa pointofcurvature         ofa curveconcaveWesterlyhavinga radius
of492.00feet,    and a central   angleof 26°59'13";     thencerun Southerly     alongthearcofsaidcurve,231.74
feet;thenceN 86°26'26"E,126.87feet;             thenceN 76°15'46"E,63.89feet;thenceS 64°36'17"E,118.17
feet;thenceS 52°36'40"E,63.05feet;           thenceS 45°16'16"E,127.88feettoa pointofcurvature           ofa curve
concave Southwesterly       having    a  radius  of  25.00  feet,and  a  central        of
                                                                                  angle 35°13'41";     t hence run
Southeasterly    alongthe arcof saidcurve,15.37feet;thenceS 10°02'35"E,93.01feetto a pointof
curvature   of a curveconcaveWesterlyhavinga radiusof 25.00feet,and a central                  angleof 46°18'35";
thencerun Southerly      alongthearcofsaidcurve,20.21feet;           thenceS 36°16'00"     W, 28.53feet;  thenceS
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 20 of 76




20°23'46"W, 184.90feet;   thence5 25°05'40"  W, 31.33feetto a pointon a non-tangentcurveconcave
Northwesterly  havinga radiusof 25.00feet,and a central     angleof 33°58'13";   thencefrom a tangent
bearingofS 21°14'14"  W runSouthwesterly  alongthearcofsaidcurve,14.82feet;       thenceS 55°12'27"   W,
19.76feet;thenceS 18°42'59"   W, 22.23feetto a pointon a non-tangentcurveconcaveSouthwesterly
havinga radiusof 1908.34feet,and a central    angleof 22°05'51";    thencefrom a tangentbearingof S
75°17'36"E runSoutheasterly  alongthearcofsaid   curve,7 36.00  feet; thenceS 53°11'44"E,1498.58feet
toa pointofcurvature  ofa curveconcaveNortheasterly   having  a radius of950.92feet,  and a central angle
of 14°29'06"; thencerun Southeasterly alongthearcofsaidcurve,240.40feet;        to a pointof compound
curvature ofa curveconcaveNortherly   havinga radiusof513.39feet,and a central       angleof 13°13'42";
thencerun Easterly alongthearcofsaidcurve,118.53feet;     thenceS 80°54'32"    E,34.76feetto a pointof
curvature ofa curveconcaveNortherly   havinga radiusof1109.03feet,      and a centralangleof07°17'21";
thencerun Easterly  along thearcof said curve, 141.09 feet;  thenceS   88°11'54" E, 77.05  feet;thenceS
89°29'03"E,140.11feet;  thenceS 89°29'03"  E,433.68 feet; t henceN   89°58'59" E,1465.17   feet;thenceN
00°00'00"E,131.18feet;  thenceN 45°00'00"   W, 71.68feet;  thenceN 00°00'00"E,633.08feet;       thenceN
89°59'00" W, 445.76feet; thenceN 00°27'46"E,673.19feet;     thenceS 89°58'17"E,398.81feet;      thenceN
00°00'00"E,753.74feet;  thenceN 90°00'00"   W, 362.43feet;   thenceN 05°16'59"   W, 106.23feet;   thence
N 26°33'54" W, 135.35feet; thenceN 47°32'44"E,146.69feet;     thenceN 11°28'34"   E,24.04feettoa point
ofcurvature  ofa curveconcaveWesterlyhavinga radius    of15.00feet,and a central     angleof 52°09'22";
thencerun Northerly  along thearcofsaid curve,  13.65feet; t henceN   40°40'48" W,  82.81  feet;thenceN
90°00'00" W, 73.87feetto a pointon a non-tangent   curveconcaveWesterlyhavinga radiusof 1396.50
feet,and a centralangleof06°53'10"; thencefrom a tangentbearingofN 07°09'56"       E run Northerly along
the arc of saidcurve,167.84feet;thence N 00°16'47"E, 0.50 feetto the Northwestcornerof the
Northeast1/4 oftheSouthwest1/4 ofSection17 Township 24 South Range 28 East;          thenceS 89°56'53"
E,3992.90feet   alongthe NorthlineoftheSouthhalf    ofSection   17, tothe  East1/4 corner  ofSection17;
thence5 00°24'52"W, 2682.68feetalongthe Eastsection       lineofSection17 totheSoutheastcornerof
Section17 and theNortheast  cornerofSection  20,Township24 South,Range 28 East;      thence5 00°01'36"
E,1333.66feetalongthe Eastsection    lineofSection20 to theSoutheastcornerofthe Northeast1/4of
the Northeast1/4 ofSection20 and theSouthwestcornerofthe Northwest1/4 ofthe Northwest1/4of
Section21,Township24 South,Range 28 East;    thenceN 89°57'37"    E,670.11feettotheNorthwestcorner
of the Northeast1/4 of the Southwest1/4 of the Northwest1/4 of Section21;thenceS 00°08'32"E,
668.06feetto theSouthwestcornerthereof;     thenceS 89°55'30"E,671.45feetto the Northeastcorner
of the Southeast1/4 of the Southwest1/4 of the Northwest1/4 of Section21;thence5 00°15'27"E,
669.41feetto the Northwestcornerofthe Northeast1/4 oftheSouthwest1/4 ofSection21;thenceS
00°44'42"E,656.38feettotheNorthwestcornerofLot85,Munger and Company Subdivision                ofSection
21,according  tothePlatrecordedinPlatBook E Page 22 ofthePublic       RecordsofOrangeCountyFlorida;
thenceS 89°51'01"E,335.66feettotheNortheast      cornerofsaidLot85;thenceS 00°40'49"        E,656.31feet
totheSoutheastcornerofLot85;thenceS 89°53'15"      E,1004.75   feet along theNorthline  o ftheSoutheast
1/4oftheSouthwest1/4ofSection     21to theNortheast   cornerthereof;   thenceS 00°29'10"    E,655.63feet
alongthe West lineof the Northwest1/4,Southwest1/4 of the Southeast1/4 of Section21 to the
Southwestcornerthereof;   thenceN 89°20'56"E,666.99feetalongtheSouthlineofthe Northwest1/4,
Southwest1/4oftheSoutheast1/4ofSection21to theSoutheastcornerthereof;            thenceN 00°21'22"    W,
652.39feetalongtheWest line   oftheNortheast1/4,Southwest1/4oftheSoutheast1/4ofSection21to
the Northwestcornerthereof;   thenceN 89°37'38"E,2005.42feetalongthe NorthlineoftheSouthhalf
oftheSoutheast1/4 ofSection21 to the Northeastcornerthereof,        saidpointalsobeingthe Southwest
corneroftheNorthwest1/4oftheSouthwest1/4ofSection         22,Township24 South,Range 28 East;      thence
N 00°02'32" E,1285.39feetalongtheWest line    ofSection 22 totheWest 1/4cornerofSection        22;thence
N 89°50'49"E,714.94feetalongtheNorthlineoftheSouthhalfofSection22 tothe Easterly                  ofway
                                                                                              right
lineofStateRoad 535 asshown inmap section     75280-2465and dated 2/22/1993;       thence5 10°07'11"   E,
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 21 of 76




1214.10feetrun along saidright-of-way;         thence run along a deed describedin document number
20190036003 inthe PublicRecordsof Orange County Florida           the flowingfourcourses;     N 89°37'24"E,
749.86feet;N 38°29'47"E,22.59feet;N 38°29'47"E,576.34feet;             thenceS 51°31'36"E,50.00feetto a
pointon the Westerlyright-of-way      of StateRoad 400 as shown inmap section75280-2465and dated
2/22/1993;thencerun alongsaidright-of-way,         S 38°29'47"W, 6175.37feetto a pointon the Westerly
right-of-way line ofState Road   536  as  shown  in map section  75000-2520and dated 3/05/1998;thence
departing State Road 400  run along  State   Road 536  the followingcourses; S 43°35'47"  W, 1571.44feetto
a pointon a non-tangent  curveconcaveNorthwesterly       havinga radius  of1809.88feet,   and a central
                                                                                                      angle
of 37°23'38"; thencefrom a tangentbearingof S 42°29'48"W run Southwesterly             alongthe arcof said
curve,1185.59feet;  thenceS 79°52'51"      W, 1492.49feettoa pointon theWest line      ofSection28,and on
theEastline ofSection  29,Township24 South,Range 28 East,        saidpointlying  N 00°00'07"  W, 387.61feet
from the SouthwestcornerofSection28;thenceS 79°52'53"W, 95.47feetto a pointofcurvature                  ofa
curveconcave Northerly    having  a radius   of 2191.83feetand    a  central       of
                                                                            angle 32°28'09";     thencerun
Westerlyalongthe arcof saidcurve,1242.10feet;thenceN 69°59'50"W, 311.61feet;thencerun S
23°29'47"W, 304.91feetto a pointon a non-tangentcurveconcaveSouthwesterly,                 havinga radiusof
11402.16feetand a central     angleof 00°29'43";     thencefrom a tangentbearingof S 65°33'17"E,run
Southeasterly alongthe arcofsaidcurve,98.56feet;thenceS 58°56'26"E,509.41feetto a pointon a
non-tangent  curve concaveSouthwesterly,      havinga radius  of900.00feetand a central   angleof02°31'40";
thencerun Southeasterly   along thearcofsaid     curve39.70feet   toa  pointon  theSouthline   theSoutheast
1/4 ofSection29,saidpointlyingN 89°50'43"         W, 1167.48feetfrom theSoutheastcornerofSection29;
thenceleaving  saidright-of-way,   run N 89°50'43"   W alongtheSouthlineoftheSoutheast1/4ofSection
29, 1496.10feet,to the South O.uarter       cornerthereof;  thenceN 89°50'42"W, 2152.59feetalongthe
Southline oftheSouthwest1/4ofSection         29 toa pointon theright-of-way   ofCheloniaParkwayasshown
on the Platof BonnetCreekResortrecordedinPlatBook 56,Page 41 ofthe PublicRecordsof Orange
County Florida; thencerun alongsaidright-of-way        the following  courses;due North163.29feetto the
pointofcurvature   ofa curveconcaveSoutheasterly,       havinga radius  of675.00feetand a central   angleof
45°40'47"; thencerun Northeasterly    alongthearcofsaidcurve538.15feettoa pointofreverse           curvature
ofa curveconcaveWesterly,     havinga radiusof825.00feetand a central        angleof 98°34'08";  thencerun
              and
Northeasterly Northwesterly        along  thearcofsaid   curve1419.29    feettoa  point ofreverse  curvature
ofa curveconcaveNortheasterly      having   a radiusof500.84feet   and  a central      of
                                                                                 angle 22°53'21";    thence
run Northwesterly  and Northerly   along   thearcofsaid   curve200.08   feet;t henceN  30°00'00"  W, 326.45
feetto a pointon a Deed recordedinOfficial         RecordsBook 5208,Page 3884 of the PublicRecordsof
Orange County Florida;  thencedeparting      saidPlatrun alongsaidDeed, N 30°00'00"W, 245.14feet,       to a
pointon a Deed described    indocument number 202000359979ofthe Public            Recordsof Orange County
Florida;thencerun alongsaidDeed the following         fourcourses; N 74°50'28"E,100.11feet;N 87°20'49"
W,  74.69feet; N  27°09'24" W,  47.56   feet; S 63°22'25"  W,  20.69feet, to a pointon a Deed described   in
document number 202000360380ofthePublic            Recordsof Orange CountyFlorida;    thencerunalongsaid
Deed the following  courses;  5 00°00'00"E,20.42feet;N 90°00'00"W, 30.04feetto a pointon a non-
tangentcurveconcaveEasterly       havinga radiusof48.00feet,and a central        angleof 47°40'00";  from a
tangentbearingof N 29°07'51"     W run Northerly     alongthe arcofsaidcurve,39.93feet;5 79°56'22"W,
74.35feet;N 30°03'16"   W, 21.84feet;S 59°56'44"       W, 12.14feet;S 30°03'16"E,17.42feet;S 79°56'22"
W, 34.35 feet;N  69°28'35" W,  49.22  feet; S 74°41'50" W, 40.22feet;  thencedeparting   saidDeed runalong
aforesaidDeed recordedinOfficial     RecordsBook 5208,Page 3884 thefollowing        fivecourses; 5 57°06'40"
E,133.74feet;  5 57°06'40"E,167.71feet;     S 30°00'00" E,180.00feet;  5 06°15'02"E,54.63feet;   5 30°00'00"
E,408.17feettoa pointofcurvature       ofa curveconcaveNortheasterly,     havinga radius  of650.84feetand
a centralangleof 22°53'21";    run Southeasterly    alongthe arcof saidcurve260.00feetto a pointon
aforesaid Plat;and a pointof reversecurvature       ofa curveconcaveWesterly,      havinga radiusof675.00
feetand a central        of
                   angle 98°34'08";      thencerun                  and
                                                     Southeasterly Southwesterly       alongthearcofsaid
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 22 of 76




curveand Plat,  1161.24feetto a pointof reversecurvature     of a curveconcaveSoutheasterly,      havinga
radiusof825.00feetand a central     angleof 45°40'47";  thencerun Southwesterly     alongthe arcofsaid
curveand Plat,  657.74feet;thencerun alongand Platdue South,162.89feetto the South lineofthe
Southwest1/4ofSection     29;thencedeparting  saidPlatand the right-of-way   lineofCheloniaParkwayrun
N 89°50'42"W alongthe South lineofthe Southwest1/4 of Section29,360.99feetto the Southwest
cornerofSection29 and theNortheast     cornerofSection   31,Township24 South,Range 28 East;      thenceS
00°40'50"E,2749.41feetalongthe Eastlineofthe Northeast1/4 ofSection31 totheSoutheastcorner
thereof; thenceS 00°27'13"   W, 2643.90feetalongtheEastlineoftheSoutheast1/4 ofSection           31to the
SoutheastcornerofSection    31;thenceN 89°36'01"   W, 2646.94feetalongtheSouthline        oftheSoutheast
1/4 ofSection31 totheSouthwestcornerthereof;        thenceN 89°56'54"W, 2748.82feetalongtheSouth
lineof the Southwest1/4 of Section31 to the Southwestcornerthereofand the Southeastcornerof
Section 36,Township24 SouthRange 27 East;     thenceS 89°50'04"  W, 2658.48feetalongtheSouthline       of
the Southeast1/4 of Section36 to the Southwestcornerthereof;        thenceS 89°46'36"W, 2656.21feet
alongtheSouthline   oftheSouthwest1/4ofSection     36 totheSouthwestcornerthereofand theSoutheast
cornerof Section35,Township 24 South Range 27 East;thenceS 89°48'35"W, 2652.59feetalongthe
South lineof the Southeast1/4 of Section35 to the Southwestcornerthereof;         thenceS 89°44'07"W,
2661.05feetalongthe South lineofthe Southwest1/4 of Section35 to the Southwestcornerof said
Section and theSoutheastcornerofSection     34,Township 24 SouthRange 27 East;     thenceS 89°46'46"  W,
3438.73feetalongtheSouthline     ofSection  34 toa pointon the boundaryofBlackLakeVillage       according
to the PlatthereofrecordedinPlatBook 75,Page 149 ofthe PublicRecordsof Orange County Florida;
thence leaving the Southlineof Section34,run alongthe Easterly      and Northerly   boundaryofsaidPlat
following courses; N 00°13'59" W, 29.01feet;N 14°42'28"   W, 114.62feet;N 06°53'49"     W, 123.97feetto
a pointof curvature   of a curveconcave Easterly  having  a radius of 25.00  feet, and  a central angleof
           run
16°36'26"; Northerly      along thearcof  said curve, 7.25 feet;N 09°42'37"   E, 104.21feetto   a pointof
curvature ofa curveconcaveSoutheasterly    having a radiuso f25.00 feet,a nd a central       of
                                                                                      angle 51°24'11";
run Northeasterly  alongthearcofsaidcurve,22.43feet;N 61°06'48"E,53.88feet;N 71°34'02"E,17.56
feet;N 18°25'51" W, 18.21feetto a pointon a non-tangent     curveconcaveNortheasterly      havinga radius
of 50.00 feet,and a centralangle of 106°48'50";       from a tangentbearingof N 80°45'36"W run
Northwesterly  alongthe arcof saidcurve,93.21feet;N 31°47'40"W, 44.69feetto a pointon a non-
tangent  curveconcave   Northwesterly havinga radiusof436.00feet,and a central        angleof 15°56'47";
from a tangentbearingof 5 58°12'21"W run Southwesterly        along the arcof   saidcurve,121.35feet;5
74°09'08"W, 308.68feetto a pointof curvatureof a curveconcaveSoutheasterly             havinga radiusof
514.00feet, and a central  angleof20°05'00";  run Southwesterly  alongthearcofsaidcurve,180.17feet;
5 54°04'10" W, 67.69feetto a pointofcurvature    ofa curveconcaveNortherly      havinga radiusof315.00
feet,and a central angle of 35°55'53";run Westerlyalong   thearcofsaid   curve,  197.54feet;N 89°59'58"
W, 83.84feet  to a point ofcurvature o fa curveconcave   Northerly  having a radius of381.00feet,and a
central       of            run
        angle 34°07'58"; Westerlyalong          the arcof  saidcurve, 226.97   feet; a pointof reverse
                                                                                    to
curvature of a curveconcaveSoutherly    havinga radiusof384.88feet,    and a central  angleof 34°00'28";
run Westerlyalongthe arcofsaidcurve,228.44feet;       to a pointofreversecurvature     ofa curveconcave
Northerly havinga radiusof185.00feet,and a central     angleof 35°39'45";  run Westerlyalongthearcof
saidcurve,115.15feet;   to a pointofcompound curvature     ofa curveconcaveEasterly     havinga radiusof
47.00feet,and a central         of             run
                          angle 130°32'06"; Northerly        along  the arcof  said curve,107.08feet;N
76°19'21"E,28.14feet;5 89°22'47"E,9.24feet;N 75°08'23"E,42.15feet;N 66°44'45"E,45.92feet;N
58°10'56"E,7.13feet;N 40°00'00"E,8.68feet;N 28°21'12"E,21.50feet;N 19°11'06"E,7.97feet;N
05°44'49"E,22.07feet;N 09°37'03"    E,18.85feet;N 28°18'59"    E,25.32feet;N 39°33'24"     E,18.56feet;N
51°48'12"E,17.01feet;N 53°20'03"    E,12.93feet;N 67°23'56"E,18.89feet;N 61°31'34"         E,16.11feet;N
85°31'20"E,16.65feet;S 84°27'04"E,14.79feet;S 66°07'30"E,25.25feet;5 70°01'08"E,21.22feet;S
76°11'40"E,28.29feet;5 81°04'45"E,15.99feet;S 63°15'14"E,32.58feet;5 71°35'23"E,7.28feet;S
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 23 of 76




83°45'15"E,20.77feet;N 86°06'18"E,21.64feet;   5 75°49'09"E,17.31feet;     5 87°55'16"E,10.48feet;N
72°43'50"E,26.75feet;N 60°42'21"E,36.44feet;N 77°16'53"E,19.62feet;N 68°37'24"E,7.52feet;N
57°06'15"E,21.62feet;N 48°30'29"E,7.40feet;N 29°59'26"E,8.68feet;N 13°42'55"E,39.82feet;N
10°06'24" E,32.03feet;N 01°43'31" W, 29.22feet; N 05°37'39"  W, 26.82feet;   N 12°01'53" W, 42.36feet;
N 21°06'43" W, 7.72feet;N 36°50'10"W, 37.65feet;N 47°37'33"W, 25.00feet;N 56°19'26"W, 44.83
feet;N 49°30'53"W, 55.06feet;N 59°47'57"W, 8.89feet;N 72°21'36"W, 36.00feet;N 82°08'10"W,
65.71feet;5 89°42'01" W, 51.60feet;N 80°08'53"  W, 56.11feet;N 89°26'00"       W, 8.09feet;5 81°14'14"
W, 46.34feet; S 78°42'25"W, 40.49feet;S 77°43'02"W, 63.74feet;  S 79°09'43"   W, 47.65feet; S 72°48'44"
W, 44.03feet; S 63°14'34"W, 42.60feet;S 57°48'39"W, 28.70feet;  S 64°21'00"   W, 20.44feet; S 67°06'48"
W, 29.21feet; S 83°28'20"W, 29.99feet; S 83°04'31" W, 27.06feet;  S 84°19'19"   W, 42.81feettoa point
of curvatureof a curveconcave Northeasterly   havinga radiusof 50.00 feet,and a centralangleof
           run
83°36'01"; Northwesterly    along thearcofsaid curve,72.95feet;  toa pointofcompound curvature       of
a curveconcaveEasterly  having a radiusof 188.00feet, and  a central       of             run
                                                                    angle 27°45'45"; Northerly
alongthearcofsaidcurve,91.10feet;S 89°52'10"W, 174.16feet;thencedeparting            saidPlatrun along
theWest lineoftheSouthwest1/4ofSection34,N 00°00'19"E,313.89feettothe Northwestcornerof
the Southwest1/4 oftheSouthwest1/4 ofSection34 and the Northeastcornerofthe Southeast1/4 of
theSoutheast1/4ofSection   33,Township24 South,Range 27 East;   thencecontinueN 00°00'19"      E 498.35
feetto the Southeastcornerofthe North5/8 ofthe Northeast1/4 ofthe Southeast1/4 of Section33;
thencerun alongtheSouthlineoftheNorth5/8 oftheNortheast1/4 oftheSoutheast1/4ofSection33,
N 89°47'57" W, 1326.58feettotheSouthwestcornerthereof;     thencerunalongtheWest line      oftheNorth
5/8 ofthe Northeast1/4,oftheSoutheast1/4ofSection     33,N 00°00'31"E,835.26feettotheNorthwest
cornerthereof;  thencerunalongtheWest lineoftheSoutheast1/4ofthe Northeast1/4ofSection            33,N
00°00'25"E, 1321.43feetto the Northwestcornerthereof;        thence run alongthe North lineof the
Southeast1/4 ofthe Northeast1/4 ofSection33,S 89°55'44"E,1326.40feet;to the Northeastcorner
thereof;thencerun alongtheWest lineofthe Northwest1/4ofSection34 Township 24 South Range 27
East,N 00°00'06"E,1329.09feetto the Northwestcornerthereof;       thenceN 89°53'53"E,2679.47feet
alongtheNorthline  oftheNorthwest1/4ofSection   34 totheNortheast    cornerthereofandtheSouthwest
cornerof the Southeast1/4 of Section27,Township 24 South,Range 27 East;thenceN 00°01'11"W,
3964.69feetalongtheWest lineofthe East1/2 ofSection27 to theSoutheastcornerofthe Northeast
1/4 ofthe Northwest1/4 ofSection27;thenceS 89°37'54"      W, 1332.15feetalongthe Southlineofthe
Northeast1/4oftheNorthwest1/4ofSection27 totheSouthwestcornerthereof;             thenceN 00°08'12"  E,
1330.97feetalongtheWest line  oftheNortheast  1/4oftheNorthwest1/4ofSection         27 totheNorthwest
cornerthereof,; thenceS 89°46'29" W, 1328.51feetalongthe Northlineofthe Northwest1/4ofSection
27 to the Northwestcornerof Section27 and the Northeastcornerof Section28,Township 24 South,
Range 27 East;thenceS 89°48'06"W, 1331.20feetalongthe North lineof the Northeast1/4 of the
Northeast1/4 ofSection28,totheNortheastcorneroftheWest 1/2oftheNortheast1/4ofSection28;
thence5 00°12'18"W, 882.69feetalongthe EastlineoftheWest 1/2 and the Northeast1/4 ofSection
28,Township 24 South,Range 27 Eastto a pointon the Westerlyright      of way lineofStateRoad 429 as
describedinOfficial RecordsBook 7070,Page 2553 and Book 7106,Page 2802 ofthe PublicRecordsof
Orange County Florida alsobeinga pointon FlamingoCrossings     Eastaccording    to the Platthereofand
recordedinPlatBook 97,Page 95 ofthe PublicRecordsof Orange County Florida         and a pointon a non-
tangent curveconcave  Southwesterly having a radius of2204.09  feet, and  a central angleof 07°27'37";
thencefrom a tangentbearingof N 29°38'58"   W run Northwesterly   along  thearcofsaid    curve,right of
way lineand Plat, 286.99feet;thencecontinuealongsaidrightof way lineand Platthe following          two
courses;N 37°06'36"W, 690.17feetto a pointon a non-tangentcurveconcaveNortheasterly            havinga
radiusof 808.57feet,and a central  angleof 09°35'40";  from a tangentbearingof N 38°37'50"W run
Northwesterly  alongthearcofsaid  curve, 135.40feet; t hence departing  saidright  of way linecontinue
along saidPlat;N 88°48'31"W, 555.60 feettoa point on the      of
                                                         right way    lineo f HartzogRoad asdescribed
       Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 24 of 76




inOfficial RecordsBook 9782,page 7172, Book 10170,Page 4303, Book 10173,page 8868 and Book
10815,Page 4619 ofthe PublicRecordsof Orange County Florida                 and a pointon a non-tangentcurve
concaveWesterlyhavinga radius     of1010.00feet,     and a central    angleof02°00'23";    froma tangentbearing
ofS 05°42'00"E run Southerly    alongthearcofsaidcurve,Platand right              of way line,  35.37feet;  thence
run alongsaidPlatand right    of way linethe following      courses;   5 00°27'57"W, 105.56feetto a pointof
curvature ofa curveconcaveWesterlyhavinga radiusof899.35feet,and a central                     angleof 05°39'43";
runSoutherly  along thearcofsaid    curve, 8 8.87  feet; 5 06°07'41"    W,  311.81feet   toa  pointofcurvature  of
a curveconcaveEasterly   havinga radiusof2004.50feet,           and a central   angleof06°19'57";    run Southerly
alongthearcofsaidcurve,221.54feet;        S 00°12'16"E,702.26feet;S 23°02'00"           E,19.33feet;   5 00°12'16"
E,198.27feet;S 14°29'10"    W, 29.80feetto a pointon a non-tangentcurveconcaveWesterlyhavinga
radiusof 2162.49feet,and a central      angleof 07°53'08";       from a tangentbearingof S 00°12'49"W run
Southerly along  thearcofsaid   curve,  297.62  feet;  S 08°05'57"    W, 46.90feet;N 81°54'04"      W, 10.00feet;
S 08°05'57" W,  154.78 feet;5  81°54'04"   E,5.50feet    to  a point  on  a non-tangent   curveconcave    Westerly
havinga radiusof 1175.00feet,and a central        angleof 07°00'25";      from a tangentbearingofS 08°05'57"
W run Southerly  alongthearcofsaidcurve,143.70feet;            5 00°07'03"   W, 13.59feet;  thencedeparting   said
Platcontinuealongsaidright    ofway line,   thefollowing     courses;  N 89°54'54"   W, 160.89feettoa pointon
a non-tangent  curveconcaveWesterlyhavinga radius           of 1025.00feet,     and a central  angleof 10°07'39";
from a tangentbearingofN 18°13'36"      E run Northerly    along   thearcofsaid   curve,  181.18  feet;5 81°54'03"
E,5.50 feet;N 08°05'57"  E,201.68  feet  toa  point ofcurvature     o fa curveconcave    Westerlyhavinga radius
of2013.49feet,   and a central angleof 08°18'12";     run Northerly     alongthearcofsaidcurve,291.80feet;
N 00°12'16" W, 931.40feettoa pointofcurvature          ofa curveconcaveEasterly        havinga radius   of2153.50
feet,and a central angleof06°19'57";    run Northerly    alongthearcofsaidcurve,238.01feet;N 06°07'41"
E,291.80feet;N 00°07'03"E,196.68feettoa pointon theSouthlineoftheSouthwest1/4ofSection21,
Township 24 South,Range 27 East;thencedeparting             saidrightof way line,     S 89°49'36"W, 453.70feet
along theSouthline   oftheSouthwest     1/4  ofSection    21,Township South,Range 27 Eastto a pointon
                                                                           24
FlamingoCrossings  West according   tothePlat   thereofand recordedinPlatBook 100,Page37 ofthePublic
RecordsofOrangeCountyFlorida;       thencerun alongsaidPlatthefollowing            threecourses;   N 40°17'32" W,
323.52feet;N 32°21'38"   W, 271.63feet;N 34°30'31"        W, 120.76feet;      thenceN 46°26'37"    W, 108.80feet
alongsaidPlatand itsNorthwesterly     extension;    thenceS 89°49'14"       W, 28.71feetto a pointofcurvature
ofa curveconcaveSoutherly     having  a radius  o f934.00   feet,  a nd a central angleof01°05'30";    thencerun
Westerlyalong   thearcofsaid   curve,  17.79  feet; t hence5    00°10'31"    E,11.26 feet; t henceS  89°49'29" W,
28.35feet; thenceS 04°02'58"    E,4.66feet;  thenceS 86°05'06"        W, 22.85feet;   thenceN 03°54'54"    W, 6.14
feet;thenceS 89°49'29"W, 173.97feetto a pointof curvature                of a curveconcave Northerly      havinga
radiusof2158.53feet,   and a central  angleof 24°05'38";       thencerun Westerlyalongthearcofsaidcurve,
907.70feet; thenceN 66°04'53"    W, 548.81feettoa pointon theWest line            oftheSouthwest1/4ofSection
21,Township   24  South,Range    27 East;  thencerun     along    said line, S 00°35'44"  W, 1052.90feetto the
Southwestcornerthereof;    thenceentering     Section20,Township24 South,Range 27 EastrunS 89°18'37"
W, 2676.09feetalongthe Southlineofthe Southeast1/4 of saidSection20,to the Southwestcorner
thereof; thenceN 89°32'00"   W, 2636.90feetrunalongtheSouthline              oftheSouthwest1/4ofsaidSection
20, to the Southwestcornerthereof;       thence N 00°12'29"E, 1187.50feetalongthe West lineof the
Southwest1/4 ofsaidSection20;thenceentering             Section19,Township 24 South,Range 27 Eastrun,S
89°00'18"W, 988.08feetalongthe South lineof the North 150.00feetof the Southeast1/4 of the
Southeast1/4 of saidSection19,to a pointon the Easterly               rightof way lineof Avalon Boulevardas
described inDeed Book 402,Page312,Deed Book 402,Page353 and Deed Book 357 ofthePublic                      Records
ofOrange CountyFlorida;   thencerun alongsaidright         ofway linethefollowing       two courses;  N 19°17'43"
E,1348.72feettoa pointon a non-tangent         curveconcaveEasterly        havinga radius   of2832.01feet,   and a
central angle of 04°49'44"; from  a tangentbearing       of N  19°16'05"    E run Northerly  along  the arcofsaid
curve,238.69feettoa pointon theNorthlineoftheNortheast1/4oftheNortheast1/4oftheSoutheast
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 25 of 76




1/4 of saidSection19;thenceN 88°44'55"E,459.61feetalongsaidlineto the Northeastcornerofthe
Southeast1/4 of saidSection19;thenceentering      Section20,Township 24 South,Range 27 Eastrun N
00°13'41"E,708.14feetalongthe West lineofthe Northwest1/4 of saidSection20 to a pointon the
aforesaid AvalonRoad right  ofway lineand a pointon a non-tangent   curveconcaveSoutheasterly   having
a radiusof2829.41feet,   and a centralangleof 01°55'19"; thencefrom a tangentbearingofN 41°26'37"
E run Northeasterly  alongthearcof saidcurveand right    of way line, 94.91feet;thenceN 43°21'56"E,
753.57feetalongsaidright   ofway line  toa pointon theNorthlineoftheSouth1/2oftheNorthwest1/4
of saidSection20; thenceN 89°50'32"E,2068.41feetalongsaidlineto the Southeastcornerof the
Northeast1/4oftheNorthwest1/4ofsaidSection       20;thenceN 00°21'49"E,1334.18feetalongtheWest
lineoftheNorthwest1/4oftheNortheast       1/4ofsaidSection20 totheNorthwestcorneroftheNortheast
1/4;thenceS 89°45'19"   E,2697.33feetalongtheNorthlineoftheNortheast1/4ofsaidSection          20 tothe
NortheastcornerofsaidSection    20 and theSoutheastcornerofSection17,Township24 South,Range 27
East;thenceentering   saidSection17 N 00°02'13"E,2669.40feetalongtheEastlineoftheSoutheast1/4
ofSection17 tothe Northeast   cornerthereof; thenceS 89°43'49"   W, 1347.90feetalongtheSouthlineof
the East1/2ofthe Northeast1/4 ofSection17,totheSouthwestcornerthereof;          thenceN 00°18'18"   W,
2652.68feetalongthe West lineof the East1/2 of the Northeast1/4 of Section17 to the Northwest
cornerthereof;  thenceS 89°39'31"  W, 2661.03feetalongthe NorthlineofSection17 tothe Northwest
corneroftheNortheast1/4oftheNorthwest1/4ofSection         17 and theSouthwestcorneroftheSoutheast
1/4 oftheSouthwest    1/4 ofSection 8,Township  24  South,Range 27 East;  thenceN 00°24'44"E,242.11
feetalongtheWest lineoftheSoutheast1/4oftheSouthwest1/4 ofSection8 toa pointon the Easterly
right-of-way lineof County Road 545 as described  inDeed Book 402,Page 355 ofthe PublicRecordsof
OrangeCountyFlorida;   saidpointbeinga pointon a non-tangent    curveconcaveWesterly,   havinga radius
of 2826.01feet,and a central   angle of 19°14'15";thencefrom   a  tangentbearing of N  18°34'50" E,run
Northerly along the arcofsaid  curveand               948.86
                                          right-of-way,       feet; thencecontinue  along said right-of-
way, N 00°39'25" W, 141.86feet;  thenceN 89°41'27"  E,1188.92feetalongtheNorthline     oftheSoutheast
1/4oftheSouthwest1/4ofSection      8 totheNortheast  cornerthereof;  thenceN 00°15'09"  E,1315.34feet
alongthe West lineof the Northwest1/4 of the Southeast1/4 of Section8 to the Northwestcorner
thereof; thenceN 00°14'57"  E,50.00feetalongtheWest lineoftheNortheast1/4ofSection         8 toa point
on the Northerly right-of-way lineof HartzogRoad asdescribed   i nOfficial
                                                                         RecordsBook  9782,Page   7172
ofthePublic  RecordsofOrangeCountyFlorida;    thencerunalongsaidright-of-way    linethefollowing three
courses; N 89°43'25"E,671.30feet;   N 23°57'49"E,158.82feettoa pointon a non-tangent     curveconcave
Southwesterly  havinga radiusof 2750.09feet,and a central   angleof 04°43'07";  from a tangentbearing
ofS 33°16'29" E run Southeasterly alongthearcofsaidcurve,226.49feet;     thenceN 89°43'24"E,1038.21
feetalongtheNorthlineoftheSoutheast1/4ofSection        8;toa pointon Deed recordedinOfficial   Records
Book 7121,Page 2952 ofthePublic    RecordsofOrangeCountyFlorida;     and a pointon a non-tangent curve
concave Southerlyhavinga radiusof 2894.93feet,and a central              of
                                                                   angle 08°15'21";    thence Entering
Section 9,Township24 South,Range 27 East,   from a tangentbearingofN 82°01'15"   W runWesterlyalong
thearcofsaidcurveand Deed,417.14feet;      thenceS 89°43'24"  W, 258.73feetalongsaidDeed toa point
on the Easterly rightofway lineofStateRoad 429 as recordedinOfficial     RecordsBook 7106,Page 7802
ofthe Public RecordsofOrangeCountyFlorida;     thencerun alongsaidright   ofway linethefollowing   two
courses; N 21°29'36"W, 110.97feet;N 20°48'24"W, 1048.03feet;thenceN 00°08'24"E,211.55feet
alongtheWest lineofthe East530.00feetoftheSouthwest1/4 ofthe Northeast1/4 ofsaidSection8;
thenceS 89°41'25"W, 797.83feetalongthe South lineof the North 1/2 of the Northeast1/4 of said
Section 8;thenceS 89°34'56"  W, 1230.74feetalongtheSouthlineoftheNortheast1/4oftheNorthwest
1/4ofsaidSection   8 toa pointon the Easterlyright ofway lineofAvalonBoulevardasdescribed      inDeed
Book 402,Page 355 ofthe PublicRecordsof Orange County Florida;       thencerun alongsaidright   of way
linethe following threecourses;  N 00°39'25"W, 853.44feetto a pointon a non-tangentcurveconcave
Easterly havinga radiusof 3241.05feet,and a central   angleof 05°37'30";   from a tangentbearingof N
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 26 of 76




00°36'59" W run Northerly     alongthearcofsaidcurve,318.19feet;N 05°00'31"E,152.48feet;              thenceN
89°26'29"E,1220.84feetalongthe Northlineofthe Northwest1/4 ofsaidSection8 to the Northeast
cornerthereof;    thence N 89°39'25"E,2650.62feetalongthe Northlineof the Northeast1/4 of said
Section8 tothe Northeastcornerthereof;        thenceentering    Section9,Township 24 South,Range 27 East
run,N 89°46'07"    E,1608.33feetalongtheNorthline      oftheNorthwest1/4ofsaidSection           9;toa pointon
Southerly        of
          right way      lineofSeidel   Road as described  i nDeed   Book  789,Page   243 and  Deed  Book 892,
Page  552 of  the  Public Recordsof    Orange County  Florida   a nd  a non-tangent  curveconcave    Northerly
havinga radiusof 357.62feet,and a central         angleof 23°38'08";     thencefrom a tangentbearingof S
66°08'04" W runWesterlyalongthearcofsaidcurveand right              ofway line, 147.53feet;   thencerunalong
saidrightof way linethe following      threecourses;  S 89°46'01"W, 139.26feet;S 89°46'07"W, 1325.83
feet;S 89°39'24"   W, 554.03feet;   thencerun alonga right     of way linedescribed    inOfficialRecordsBook
7070,Page   2553  ofthePublic   R ecords  ofOrangeCounty    Florida  the following twelve courses; 5 00°20'32"
E, 20.00 feet;  5  89°39'28"  W,  363.61   feet;5 84°38'15"   W,   372.03   feet;5 00°20'32"   E, 14.94 feet;S
89°40'22"  W, 138.87feet;    S 42°20'36"W, 55.11feet;    S 00°03'00"    W, 857.17feetto a pointofcurvature
of a curveconcave Northeasterly       havinga radiusof 250.01feet,and a central        angleof 90°21'35";  run
Southeasterly  alongthe arcofsaidcurve,394.28feet;N 89°41'19"E,364.69feet;S 00°18'35"E,80.00
feet;S 89°41'25"   W, 481.37feettoa pointon a non-tangent        curveconcaveNortheasterly      havinga radius
of 350.02 feet,and a centralangle of 72°08'18";          from a tangentbearingof N 70°50'15"W run
Northwesterly   alongthearcofsaidcurve,      440.69feet;  thenceS 89°41'15"    W, 483.83feetalonga right    of
way linedescribedinOfficial      RecordsBook 7106,Page 2802 of the PublicRecordsof Orange County
Floridato a pointthatis10.00feetEasterly       ofwhen measure perpendicular        tothe Easterly  rightofway
lineofaforesaid   StateRoad 429;and a pointon a non-tangent          curveconcaveEasterly    havinga radius of
3721.85feet,and a centralangleof 03°53'37";         thencefrom a tangentbearingof 5 16°54'47"E run
Southerly alongthearcofsaidcurveand a line        thatis10.00feetEasterly     ofand parallel  withsaidright of
way line, 252.93   feet;thence5    20°48'24"  E,96.16feet   along   said        to
                                                                         parallel   itsintersection witha  line
thatis10.00feetNorthofand parallel         withtheSouthlineofthe Northwest1/4 ofthe Northeast1/4 of
saidSection  8;thenceN 89°41'25"E,83.88feetalongsaidline           thatis10.00feetNorthofand parallel     with
the Southlineofthe Northwest1/4 of the Northeast1/4 of saidSection8,to itsintersection                withthe
West lineofthe East520.00feetoftheSouthwest1/4 ofthe Northeast1/4 of saidSection8;thenceS
00°08'24" W, 219.78feetalongtheWest line       oftheEast520.00feetoftheSouthwest1/4oftheNortheast
1/4 ofsaid  Section  8,to itsintersection  witha linethatis10.00feetEastofwhen measure perpendicular
tothe Easterly  right ofway lineofaforesaid    StateRoad 429;thenceS 20°48'24"        E,836.45feetalongsaid
parallellinetoa pointon a Deed described      inOfficialRecordsBook 9324,Page 367 ofthePublic          Records
ofOrangeCountyFlorida;      thencerunalongsaidDeed thefollowing         sixcourses; S 87°25'27"  E,291.32feet;
thenceN 88°48'53"E,166.97feet;N 86°44'00"E,142.45feet;N 06°27'19"               W, 91.16feet;N 28°52'42"E,
302.51feet;N 69°30'43"E,659.82feetto a pointon a deed describedinOfficial                RecordsBook 10810,
Page  147 ofthe   Public R ecords of Orange CountyFlorida;    thencerun     alongsaid  Deed the following four
courses; N 84°17'43"E,306.52feet;N 55°03'52"E,1274.60feet;N 33°11'17"E,877.94feet;N 08°37'23"
E,258.89feet;   thenceN 89°46'07"     E,980.18feetalongtheNorthline        oftheNorthwest1/4ofsaidSection
9 totheNortheast    cornerthereof;   thenceS 00°03'05"  W, 2653.53feetalongtheEastline        oftheNorthwest
1/4ofsaidSection    9 totheSoutheastcornerthereof;      thenceS 89°44'05"     W, 1325.36feetalongtheSouth
lineofthe Southeast1/4 ofthe Northwest1/4 of Section9 to the Southwestcornerthereof;                  thenceS
00°08'51"  W,  1314.23  feet along  the  Eastlineofthe Northwest      1/4 oftheSouthwest    1/4 ofSection 9 to
the Southeastcornerthereof;      thenceN 89°45'10"E,1327.55feetalongthe NorthlineoftheSoutheast
1/4 ofthe Southwest1/4 of Section9 to the Northeastcornerthereof;             thenceS 00°03'05"W, 1314.64
feetalongtheEastline     oftheSoutheast1/4oftheSouthwest1/4 ofSection9 totheSoutheastcornerof
theSouthwest1/4 ofSection9;thenceN 89°53'46"          E,2633.36feetalongtheSouthlineoftheSoutheast
1/4 ofSection   9 to  the Southeast  corner  thereofand  the SouthwestcornerofSection10,Township 24
     Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 27 of 76




South,Range 27 East;thenceN 00°15'35"E,5286.81feetalongtheWest section   lineofSection10 tothe
Northwestcornerthereofand the Southwestcornerof Section3,Township 24 South,Range 27 East;
thenceN 00°11'50"W, 2661.64feetalongtheWest line  oftheSouthwest1/4,Section   3 totheNorthwest
cornerthereof;thenceN 89°39'50"E,3976.31feetalongthe NorthlineoftheSouthhalfofSection3 to
the Northeastcornerof the Northwest1/4 of the Southeast1/4 of Section3; thenceS 00°04'39"E,
1326.78feetalongtheEastlineoftheNorthwest1/4oftheSoutheast1/4ofSection3 tothe Northwest
corneroftheSoutheast1/4 oftheSoutheast1/4 ofSection3;thenceN 89°37'16"E,1328.99feetalong
theNorthline oftheSoutheast1/4oftheSoutheast1/4ofSection    3 totheNortheast  cornerthereofand
theNorthwestcorneroftheSouthwest1/4oftheSouthwest1/4ofSection2,Township24 South,Range
27 East;
       thenceN 00°07'50" W, 1325.78feetalongtheWest line  ofNorthwest1/4,oftheSouthwest1/4,
ofSection2 tothe Northwestcornerthereof;  thenceN 00°07'43" W, 400.13feetalongtheWest lineof
the Northwest1/4,ofSection2;thencerun alongthe Northerly  boundaryofa deed recordedinOfficial
RecordsBook 1457,Page934 ofthePublic  RecordsofOrange CountyFlorida  thefollowing threecourses;
N 86°46'13"E,1024.87feet;N 77°37'23"E,1103.42feet;N 53°18'38"E,1872.82feetto a pointon the
Southerlyright-of-waylineof Reams Road as shown on Platbook 3, Page 85 of the PublicRecordsof
OrangeCountyFlorida; thencerunalongsaidright-of-way linethefollowingthreecourses;  S 43°40'10"E,
1382.92feetto the beginning ofa curveconcavetothe Northeast, havinga  radius of546.86feetand  a
central     of
       angle 46°21'00";  thencerun  Southeasterlyalongthe arcof saidcurve442.39   feet;thenceN
89°58'50"E,341.61feet; thenceleaving saidright-of-way,
                                                     runS 00°19'24"E,603.75feetalongthe East
lineofthe Northeast1/4 ofSection2,totheSoutheastcornerthereof,  and theNorthwestcornerofthe
Northwest1/4oftheSouthwest1/4ofSection1,Township 24 South,Range 27 East;      thenceN 89°43'47"
E,alongtheNorthlineoftheNorthwest1/4oftheSouthwest1/4ofSection1,1297.19feettoa point25
feetWest of the Northeastcornerof the Northwest1/4 of the Southwest1/4 of Section1;thenceN
00°12'21"W, 598.76feetalonga linethatis25.00feetWest of and parallel     to the West lineof the
Southeast1/4 ofthe Northwest1/4 of Section1 to the Southerly right-of-waylineof aforesaidReams
Road;thenceN 89°56'46"E,100.00feetalongsaidSoutherly     right-of-wayof Reams Road;thencerun
alongthe Easterly
                and Northerly boundaryofa deed recordedinOfficialRecordsBook 1465,Page 307 of
the PublicRecordsof Orange County Florida the followingfivecourses;
                                                                  5 02°04'12"E,523.43feet;N
89°43'40"E,52.00feet;S 00°12'21"E,49.00feet;N 89°43'41"E,229.00feet;5 00°12'25"E,26.23feet;
thenceN 89°43'47" E,1039.16feetalongtheNorthline  oftheSouthhalfofSection  1to a point90.00feet
EastoftheNortheast corneroftheSouthwest1/4ofSection1;thenceS 05°34'33"    W, 911.86feet; thence
S 00°05'18"E,420.00feetalongthe Eastlineofthe Northeast1/4 ofthe Southwest1/4 ofSection1 to
the Southeastcornerthereof;thenceN 89°44'10"E,2649.93feetalongthe NorthlineoftheSouthhalf
oftheSoutheast1/4ofSection1to thePointof Beginning.

Lessthefollowing
               recordedparcels
                             inthePublic
                                       RecordsofOrangeCountyFlorida:

Book 2688,Page 1702                               Instrument
                                                           20050766353
Book 6194,Page4392                                Instrument
                                                           20160090446
Book 9745,Page 8716                               Instrument
                                                           20160316309
Book 10275,Page 7457                              Instrument
                                                           20160316310
Book 10304,Page 8949                              Instrument
                                                           20160344785
Book 10681,Page 7447                              Instrument
                                                           20210271782
Book 10681,Page 7453                              Instrument
                                                           20220000060
Book 10681,Page 7458                              Instrument
                                                           20220073431
Book 10778,Page 5071                              Instrument
                                                           20220542316
Book 10987,Page 8396
Instrument20050679647
     Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 28 of 76




                                       DESCRIPTIONOF
                                   DEVELOPERS'AGREEMENT
                                 INOSCEOLA COUNTY, FLORIDA

        A parceloflandlying  inSections1,2,11 through14,23 through26,Township 25 South,Range
27 East,and Sections 5 through9,16 through20,30 and 31,Township25 South,Range 28 East,    Osceola
                and
County,Florida, being     more            described
                               particularly        a sfollows:
        Beginatthe NorthwestcornerofsaidSection6,run alongthe NorthlineoftheNorthwest1/4
ofSection6,Township25 South,Range 28 Eastrun,S 89°56'54"E,2748.82feettotheNortheastcorner
thereof; thenceS 89°36'01"E,2646.94feetalongthe Northlineofthe Northeast1/4 ofsaidSection6
to the Northeastcornerthereof;   thenceenteringSection5,Township25 South,Range 28 Eastrun N
89°42'15"E,2600.72feetalongthe Northlineofthe Northwest1/4 ofsaidSection5 tothe Northeast
cornerthereof;thenceS 89°17'26"E,153.63feetalongthe Northlineof the Northeast1/4 of said
Section 5 toa pointon theStateRoad 400 rightofway lineshown on Map Section 92130-2401and dated
August28,1969;thencerun alongsaidrightof way linethe following      threecourses; S 38°30'29"W,
248.14feetto a pointofcurvature   ofa curveconcaveNorthwesterly   havinga radiusof85794.19feet,
and a centralangleof01°26'58"; runSouthwesterly alongthearcofsaidcurve,  2170.39feet; 5 39°57'27"
W,  2021.20 feet;t hence5 01°12'07"W,  1838.47feetalong  theWest  lineoftheSouthwest   1/4 ofsaid
Section5 totheSouthwestcornerthereof;    thenceentering Section8,Township South,Range 28 East
                                                                          25
run N 89°47'15"E,2643.05feetalongthe North lineof the Northwest1/4 of saidSection8 to the
Northeastcornerthereof;   thenceN 89°44'15"E,2642.73feetalongtheNorthlineoftheNortheast1/4
ofsaidSection8 totheNortheastcornerthereof;    thenceentering  Section9,Township25 South,Range
28 Eastrun N 89°47'42"E,1315.60feetalongthe NorthlineoftheWest 1/2 ofthe Northwest1/4 of
saidSection9 totheNortheastcornerthereof;   thenceS 00°04'39"E,2645.23feetalongthe Eastlineof
theWest 1/2ofthe Northwest1/4 ofsaidSection9;thence5 00°03'27"E,1320.49feetalongthe East
lineofthe Northwest1/4 of the Southwest1/4 of saidSection9;thenceN 89°46'36"E,1311.24feet
alongtheNorthlineoftheSoutheast1/4 oftheSouthwest1/4 ofsaidSection       9;thenceN 89°54'53"E,
1343.01feetalongtheNorthlineoftheSouthwest1/4 oftheSoutheast1/4 ofsaidSection9;thenceS
00°00'12"E,1320.26feetalongthe EastlineoftheSouthwest1/4 oftheSoutheast1/4 ofsaidSection
9;thenceS 89°58'40"  W, 1342.90feetalongtheSouthline   oftheSouthwest1/4oftheSoutheast1/4of
saidSection9;thenceS 89°42'06"W, 1310.10feetalongthe Southlineof the Southeast1/4 of the
Southwest1/4 of saidSection9;thenceentering    Section16,Township25 South,Range 28 Eastrun 5
00°42'14"E,1335.79feetalongtheEastlineoftheNorthwest1/4 ofthe Northwest1/4 ofsaidSection
16;thenceS 89°44'25"   W, 1319.70feetalongtheSouthlineoftheNorthwest1/4oftheNorthwest1/4
ofsaidSection16;thenceS 00°17'31"E,1334.87feetalongtheWest lineofthe Southwest1/4 ofthe
Northwest1/4 of saidSection16; thence N 89°46'42"E, 2658.61feetalongthe North lineof the
Southwest1/4ofsaidSection16;thenceS 01°06'54"E,1338.43feetalongtheEastline       oftheNortheast
1/4oftheSouthwest1/4ofsaidSection16;thenceS 89°51'04"       W, 2677.84feetalongtheSouthlineof
theNorth1/2,oftheSouthwest1/4 ofsaidSection16;thenceS 00°17'31"E,1334.87feetWest lineof
theSouthwest1/4 oftheSouthwest1/4 ofsaidSection16 to theSouthwestcornerofsaidSection16;
thenceentering  Section20,Township25 South,Range 28 EastrunS 00°20'44"E,5339.36feetalongthe
EastlineofsaidSection20 totheSoutheastcornerthereof;      thenceS 89°31'09"W, 5313.04feetalong
theSouthlineofsaidSection20 totheSouthwestcornerthereof;      thenceentering Section30,Township
25 South,Range 28 Eastrun 5 00°24'07"W, 5287.28feetalongthe EastlineofsaidSection30 to the
Southeastcornerthereof;  thenceentering Section31,Township25 South,Range 28 EastrunS 00°25'58"
W, 2630.53feetalongthe Eastlineof the Northeast1/4 of saidSection31 to the Southeastcorner
thereof; thenceS 00°26'32"W, 1339.91feetalongthe Eastlineofthe Northeast1/4 ofthe Southeast
1/4 ofsaid Section31;thenceS 89°38'07"  W, 1325.49feetalongtheSouthlineoftheNortheast1/4 of
     Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 29 of 76




the Southeast1/4 of saidSection31;thenceN 00°21'55"E,1337.78feetalongthe West lineof the
Northeast1/4oftheSoutheast1/4ofsaidSection      31;thenceS 89°32'39" W, 663.66feetalongtheSouth
lineoftheEast1/2oftheWest 1/2oftheNortheast1/4ofsaidSection       31;thenceN 00°19'27"  E,2635.75
feetalongtheWest lineofthe East1/2oftheWest 1/2ofthe Northeast1/4ofsaidSection31;thence
entering Section30,Township25 South,Range 28 EastrunS 89°41'46"     W, 665.30feetalongtheSouth
lineoftheSoutheast1/4ofsaidSection30;thenceS 89°41'31"       W, 2661.88feet  alongtheSouthlineof
the Southwest 1/4 of saidSection30 to the Southwest cornerthereof;thence enteringSection
25,Township25 South,Range 27 EastrunS 89°54'33"W, 2658.96feetrun alongthe Southlineofthe
Southeast1/4 ofsaidSection25 totheSouthwestcornerthereof;       thenceS 89°52'03"W, 2644.80feet
alongtheSouthlineoftheSouthwest1/4 of saidSection25 to the Southwestcornerthereof;         thence
entering Section26,Township  25 South, Range 27 East runS 89°49'42"W ,  1327.07feetalongtheSouth
lineoftheSoutheast1/4 oftheSoutheast1/4 ofsaidSection26;thenceN 00°03'44"          W, 1330.70feet
alongWest lineof the Southeast1/4 ofthe Southeast1/4 of saidSection26;thenceS 89°52'21"W,
1326.94feetalongSouthlineofthe Northwest1/4 ofthe Southeast1/4 ofsaidSection26;thenceN
00°03'24" W, 1331.72feetalongWest line   oftheNorthwest1/4oftheSoutheast1/4ofsaidSection      26;
thenceS 89°55'00" W, 1666.58feetalongtheSouthline     oftheNorthwest1/4ofsaidSection26;thence
N 00°00'25" W, 1930.44feetalongtheWest line   oftheEast5/8 oftheNorthwest1/4ofsaidSection26,
toa pointon the Easterly      of
                         right way   lineofState Road 400 asdescribed  inOfficial
                                                                                RecordsBook 2326,
Page 701ofthePublic  R ecordsofOsceola  County Floridaand a non-tangent curveconcave Southeasterly
havinga radiusof 3921.00feet,and a central   angleof 14°53'09"; thencefrom a tangentbearingof N
25°02'25"E run Northeasterly  alongthe arcof saidcurveand rightof way line,   1018.71feet;thence
continuealongsaidright  ofway linethefollowing  two courses; N 39°57'15"E,901.93feet;N 50°02'45"
W, 9.00feet; thenceN 39°57'15"E,654.77feetalongtheStateRoad 400 right     ofway lineshown on Map
Section92130-2401and datedAugust28,1969;thenceN 89°45'55"E,128.02feetalongthe Northline
of the Southeast1/4 of the Southwest1/4 Section23,Township25 South,Range 27 East;thence N
00°05'36"E,3974.79feetalongtheWest lineoftheEast1/2ofsaidSection23;thenceentering          Section
14,Township25 South,Range 27 EastrunN 00°01'48"     W, 1338.67feetalongWest lineoftheSouthwest
1/4 oftheSoutheast1/4 ofsaidSection14;thenceS 89°58'43"W, 431.70feetalongtheSouthlineof
the Northeast1/4 ofthe Southwest1/4 ofsaidSection14;thenceN 00°04'30"W, 1337.83feetalong
the EastlineoftheWest 235.00feetoftheEast1/2 ofthe Northeast1/4 oftheSouthwest1/4 ofsaid
Section14;thenceS 89°52'00"   W, 235.00feetalongtheSouthlineofthe Northwest1/4ofsaidSection
14;thenceN 00°04'30"W, 1328.24feetalongthe West lineof East1/2 of the Southeast1/4 of the
Northwest1/4ofsaidSection14;thenceS 89°49'34"      W, 334.40feetalongtheSouthlineoftheEast1/2
ofthe West 1/2 ofthe Northeast1/4 ofthe Northwest1/4 ofsaidSection14;thenceN 00°05'51"W,
1328.00feetalongtheWest lineoftheEast1/2oftheWest 1/2oftheNortheast1/4oftheNorthwest
1/4ofsaidSection14;thenceentering     Section11,Township25 South,Range 27 EastrunS 89°47'08"   W,
1004.74feetalongtheSouthwest1/4 ofsaidSection11;thenceN 00°10'06"E,666.14feetalongthe
West lineoftheSoutheast1/4 oftheSouthwest1/4 oftheSouthwest1/4 ofsaidSection11;thenceS
89°53'39"W, 419.88feetalongthe South lineof the Northwest 1/4 of the Southwest 1/4 of the
Southwest1/4ofsaidSection11;thenceN 00°16'32"       E,208.71feetalonga line  thatis208.71feetEast
ofand parallel withthe Eastright of way lineof County Road 545 as shown on Map Section9257-150
datedJune 21,1955;thenceS 89°53'43"W, 208.71feetalonga linethatis208.71feetNorthof and
parallelwithSouthline oftheSouthwest1/4ofsaidSection11;thenceN 00°16'32"E,458.63feetalong
the aforesaid Eastrightof way lineof County Road 545;thenceS 89°59'41"E,293.67feetalongthe
NorthlineoftheNorthwest1/4oftheSouthwest1/4oftheSouthwest1/4ofsaidSection11;thenceN
00°13'21"E,666.77feetalongtheWest lineofthe East1/2 oftheSouthwest1/4ofthe Northwest1/4
ofthe Southwest1/4 ofsaidSection11;thenceS 89°53'03"E,666.11feetalongthe Northlineofthe
South 1/2 ofthe Northwest1/4 oftheSouthwest1/4 ofsaidSection11;thenceN 00°06'58"E,615.49
     Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 30 of 76




feetalongtheWest lineoftheEast1/2oftheNortheast1/4ofthe Northwest1/4oftheSouthwest1/4
ofsaidSection11;thenceS 89°46'25"E,332.34feetalonga line50.00feetSouthofand parallel    with
theNorthline oftheSouthwest1/4ofsaidSection11;thenceN 00°13'26"E,50.00feetWest line    ofthe
Northeast1/4oftheSouthwest1/4ofsaidSection11;thenceS 89°46'24"    E,332.44feetalongtheSouth
lineoftheWest 1/2 oftheSouthwest1/4 oftheSoutheast1/4oftheNorthwest1/4 ofsaidSection11;
thenceN 00°00'19"W, 663.86feetalongthe West lineof the East1/2 of the Southwest1/4 of the
Southeast1/4oftheNorthwest1/4ofsaidSection11;thenceS 89°51'37"    E,331.87feetalongtheNorth
lineoftheEast1/2 oftheSouthwest1/4 oftheSoutheast1/4 oftheNorthwest1/4 ofsaidSection11;
thenceN 00°03'15"W, 1328.72feetalongthe West lineofthe East1/4 ofthe Northwest1/4 of said
Section11;thenceN 89°57'56"E,661.47feetalongtheNorthline   oftheSoutheast1/4oftheNortheast
1/4 ofthe Northwest1/4 ofSection11;thenceN 00°09'07"W, 665.37feetalongtheWest lineofthe
Northeast1/4ofsaidSection11to theNorthwestcorneroftheNortheast1/4ofsaidSection11;thence
enteringSection2,Township25 South,Range 27 Eastrun N 00°22'03"E,5290.72feetalongthe West
lineoftheEast1/2 ofsaidSection2;thenceS 89°44'07" W, 495.03feetalonga line10.00feetSouthof
and parallel
           withthe Northlineofthe Northwest1/4ofsaidSection2;thenceS 00°22'03"W, 1390.09
feetalonga line495.00feetWest ofand parallel withtheWest lineofthe East1/2 of saidSection2;
thenceS 89°44'07"W, 2110.14feetalonga line1400.00feetSouthofand parallel   withthe Northline
oftheNorthwest1/4ofsaidSection2 toa pointon the Easterly  boundary ofde-annexation Resolution
No.442 on recordat Reedy Creek ImprovementDistrict;thencerun alongsaidboundarythe following
courses;N 02°17'23"E,40.72feet;N 18°56'28"E,11.18feet;N 00°08'32"E,14.20feet;N 45°08'32"E,
35.36feet;S 89°51'28"E,4.49feet;N 00°08'32"E,60.00feet;N 44°51'28" W, 35.36feet;N 00°08'32"
                                                                                          E,
10.44feet;N 44°51'28"W, 4.24feet;N 00°08'32"
                                           E,346.14feet; N 01°09'08"W, 176.69feet;N 44°51'28"
W, 39.61feet;N 00°08'32"E,660.14feettoa pointon theNorthline oftheNorthwest1/4ofsaidSection
2 and being25.00feetEastofthe Northwestcornerof saidSection2;thenceN 89°44'07"E,2636.05
feetalongtheNorthlineoftheNorthwest1/4ofsaidSection2 totheNortheast     cornerthereof;thence
N 89°48'35"E,2652.59feetalongtheNorthlineoftheNortheast1/4ofsaidSection2 totheNortheast
cornerthereof;thenceenteringSection1,Township25 South,Range 27 EastrunN 89°46'36"  E,2656.21
feetalongtheNorthlineoftheNorthwest1/4ofsaidSection1to theNortheast     cornerthereof;thence
N 89°50'04"E,2658.48feetalongtheNorthlineoftheNortheast1/4ofsaidSection1to theNortheast
cornerthereoftothePointof Beginning,          11063.93,
                                     containing         acresmore or less.

Lessand exceptthefollowing:

       A parcelof landlyinginSections11 through14,Township 25 South,Range 27 East,Osceola
County,Florida,and beingmore particularlydescribed
                                                 asfollows:
       Commence attheNorthwestcorneroftheNortheast1/4ofsaidSection11,runalongtheWest
lineofthe Northeast1/4 ofsaidSection11,S 00°09'07"E,132.00feet;   thenceN 89°52'08"E,1175.60
feetalonga linethatis132.00feetSouthofand parallel withtheNorthlineoftheNortheast1/4ofsaid
Section11 to a pointon the boundary of de-annexation  ResolutionNo. 291 as describedinOfficial
RecordsBook 1235,Page 1769 of the PublicRecordsof OsceolaCounty,Florida,     and the Pointof
Beginning;thencecontinue  alongaforesaid           N
                                               line,
                                        parallel     89°52'11" E,240.29feettoa pointon a deed
recordedinOfficial RecordsBook 1563,Page 2410 of the PublicRecordsof OsceolaCounty Florida;
thencerun alongsaidlinefollowing two courses;5 79°55'37"E,62.09feet;N 89°52'08"E,193.48feet
toa pointon a deed recordedinOfficialRecordsBook 1674,Page 2470 ofthePublic RecordsofOsceola
County Florida;thence run alongsaiddeed the following fivecourses; 5 00°07'52"E,207.00feet;S
89°52'08"W, 350.00feet; 5 00°07'52"E,500.00feet;N 89°52'08"E,400.00feet;N 00°07'52"W, 707.00
feettoa pointon theaforementioned  deed recordedinOfficialRecordsBook 1563,Page2410;thence
runalongsaiddeed thefollowing courses;N 89°52'09"E,2.14feet;5 45°03'23"E,42.36feet;
                                                                                  5 00°00'00"
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 31 of 76




E,174.79feetto a pointofcurvature    ofa curveconcaveEasterly     havinga radius of1597.84feet,   and a
centralangleof 09°05'25"; run Southerly  alongthearcofsaidcurve,253.51feet;       S 09°05'25"E,282.87
feetto a pointofcurvature  ofa curveconcaveWesterlyhavinga radiusof 1457.85feet,and a central
angleof26°10'31";  runSoutherly alongthearcofsaidcurve,666.01feet;        5 17°05'06" W, 544.65feetto
a pointofcurvature ofa curveconcaveNortheasterly     havinga radius  of1597.85feet,  and a centralangle
of 102°07'51";run Southeasterlyalong   thearcofsaid   curve,2848.19feet   toa point on a deed  recorded
inOfficial RecordsBook 1280,Page 1782 of the PublicRecordsof OsceolaCounty Florida;              thence
departing deed recordedinOfficial RecordsBook 1674,Page2470 following      thedeed recordedinOfficial
RecordsBook 1280,Page 1782 following     courses; saidpointbeing a pointofcompound curvature        ofa
curveconcaveNortherly   havinga radiusof 1597.89feet,     and a central angleof 07°30'00";  run Easterly
alongthearcofsaidcurve,209.16feet;S 54°40'11"E,66.55feet;          S 12°49'30"E,117.68feetto a point
on a non-tangentcurveconcave Easterly       having  a  radius of 2009.86  feet,and a centralangleof
24°18'27"; from a tangentbearing   of S 10°48'36" W   run Southerly alongthe arcof saidcurve,852.67
feet;S 13°29'51"E,341.79feet;S 13°29'51"E,408.71feetto a pointofcurvature           of a curveconcave
Westerlyhavinga radiusof 1809.86feet,     and a central angleof 11°41'10";  run Southerly alongthearc
ofsaidcurve, 369.14feet; toa pointofcompound curvature      ofa curveconcaveWesterlyhavinga radius
of1809.86feet, and a centralangleof17°06'44";   thencerunSoutherly    alongthearcofsaidcurve,    540.54
feet;5 15°17'58"W,  294.15 feet;t hence departing  said deed run  alongthe Westerlyright way line
                                                                                          of         of
StateRoad 400 and World DriveInterchange     as described  inOfficial RecordsBook 1659,Page 1492 of
the PublicRecordsof OsceolaCounty Florida      the following   courses;S 15°15'17"W, 300.03feet;N
74°44'43" W, 45.00feet; S 17°31'41"  W, 302.54feet;   thenceS 15°15'11"  W, 177.35feetto a pointon a
non-tangentcurveconcaveEasterly     havinga radiusof4501.37feet,and a central       angleof 06°46'34";
from a tangentbearingof S 15°15'19"W run Southerlyalongthe arcof saidcurve,532.35feet;5
08°28'42" W, 421.43feet; 5 81°31'15"E,26.00feet;5 08°28'45"       W, 543.00feet;N 81°31'15"    W, 26.00
feet;5 08°28'44" W,  1288.75feetto    a pointof  curvature o f a curveconcave  Northwesterly   havinga
radiusof 1051.92feet, and a central angleof 30°21'09";   run Southwesterly  alongthearcofsaidcurve,
557.26feet;S 38°49'53"W, 892.32feetto a pointon theaforesaid         Reedy Creek Improvement District
de-annexation Resolution No. 291;thencerunalongsaidde-annexation        boundarythefollowing    courses;
N 34°24'01" W, 342.34feet; thenceN 41°10'58"E,504.10feet;      N 56°53'24" W, 1046.80feet;  N 00°00'05"
W, 182.99feet;N 00°00'05"  W, 262.45feet;N 00°00'05"     W, 604.56feet;N 20°22'32"    E,1354.78feet;N
39°36'34"E,1142.27feet;N 89°59'55"E,550.00feet;N 00°00'05"W, 1600.00feet;N 53°58'26"W,
680.07feet;N 11°08'10"  W, 1105.17feet;N 44°36'19"      W, 1268.50feet;N 61°15'45"    W, 889.74feet;N
18°33'37" W, 469.54feet; thenceN 00°00'05"    W, 391.70feet;N 89°59'55"E,48.91feet;N 06°11'23"E,
746.77feet; thenceN 13°51'33"E,679.15feet;N 45°31'55"E,264.41feet;N 89°59'55"E,356.15feet;
thenceN 00°00'05"  W, 317.21feettothePointof Beginning,      containing  263.49acres,  more or less.

AND

       A parcelof landlyinginSections11 through14,Township 25 South,Range 27 East,Osceola
County,Florida,and beingmore particularlydescribed asfollows:
       Commence attheNorthwestcorneroftheNortheast1/4ofsaidSection11,runalongtheWest
lineofthe Northeast1/4 ofsaidSection11,S 00°09'07"E,132.00feet;   thenceN 89°52'08"E,1922.52
feetalonga linethatis132.00feetSouthofand parallel  withtheNorthlineoftheNortheast1/4ofsaid
Section11 toa pointon Southerlyrightofway lineofStateRoad 530 and a pointon the boundaryofde-
annexationResolution  No. 291 as describedinOfficial RecordsBook 1235,Page 1769 of the Public
Recordsof OsceolaCounty,Florida,  and the Pointof Beginning;thencerun alongsaidboundariesthe
followingfivecourses; N 89°52'07"E, 728.48     N
                                           feet; 89°52'44" E,1251.91feet;N 89°50'43"E,190.56
feettoa pointon a non-tangentcurveconcaveNortheasterly  havinga radius
                                                                     of814.00feet,and a central
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 32 of 76




angleof20°35'33";   from a tangentbearingofS 19°06'55"   E runSoutheasterly alongthearcofsaidcurve,
292.56feet;to a pointon a non-tangentcurveconcaveNortheasterly         havinga radiusof 1073.93feet,
and a central angleof 17°34'32";  from a tangentbearingof S 36°35'41"E run Southeasterly    alongthe
arcofsaidcurve,329.43feet;thencedeparting        saidright of way linecontinuealongthe aforesaid  de-
annexationboundarythe following     courses;  S 00°08'00"E,455.76feet;N 89°52'00"E,20.00feet;S
00°08'00"E,488.84feettoa pointon a non-tangent       curveconcaveWesterlyhavinga radius    of1759.86
feet,a nd a central      of
                    angle 33°38'13";   f rom a tangentbearing  ofS 00°08'08" E run Southerlyalongthe
arcofsaidcurve,1033.17feet;S 33°30'09"       W, 1183.50feettoa pointofcurvature     ofa curveconcave
Southeasterly  havinga radius of2059.86feet,  and a centralangleof14°13'45";  runSouthwesterly  along
thearcofsaidcurve,511.56feet;     to a pointon a non-tangent   curveconcaveNortherly   havinga radius
of1457.89feet,   and a centralangleof 12°05'33";  from a tangentbearingofS 82°51'48"   W runWesterly
along thearcofsaid   curve, 307.69 feet;t oa       of
                                             point compound     curvatureo fa curveconcave  Northerly
havinga radiusof 1457.79feet,and a central      angleof 29°15'05";run Westerlyalongthe arcof said
curve,744.25feet;N 34°12'14"E,149.99feet;N 38°16'56"W, 139.49feet;N 20°31'56"W, 110.01
feet;N 70°14'49"   W, 129.46feet;N 45°48'22"   W, 132.54feet;S 89°14'11"  W, 181.70feettoa pointon
a non-tangent  curveconcaveEasterly   havinga radius  of 1457.85feet, and a centralangleof 47°22'50";
from a tangentbearingof N 30°17'44"W run Northerly        along the arcof said curve, 1205.56feet;N
17°05'06"  E,386.62  feet;5 72°54'50" E,290.44  feet; N 10°23'11" E,320.40 feet; N 04°30'12" E,320.81
feet;N  87°47'48"  W, 244.99feet toa  point on a non-tangent  curveconcave Westerlyhaving radius
                                                                                           a       of
1597.84feet,  and a central angleof 11°17'38";   from a tangentbearingof N 02°12'13"E run Northerly
alongthearcofsaidcurve,314.96feet;N 09°05'25"W, 282.87feetto a pointofcurvature             ofa curve
concaveEasterly   havinga radius of1457.85feet,   and a centralangleof09°05'25";   run Northerlyalong
thearcofsaidcurve,231.30feet;N 00°00'00"E,186.09feet;N 44°56'12"E,42.49feettothePointof
Beginning,  containing 191.436Acres,more or less.

AND

       A parceloflandlyinginSections     12 and 13,Township 25 South,Range 27 Eastand Section7,
Township  25  South,Range  28 East,Osceola  County,Florida,  and beingmore particularly    describedas
follows:
       Commence attheNorthwestcornerofsaidSection          7,run alongtheWest lineoftheNorthwest
1/4ofsaidSection   7,S 00°16'52" W, 182.00feet, toa pointon Southerly    right ofway lineofStateRoad
530 and a pointon the boundaryofde-annexation      Resolution  No. 291 as described   inOfficial
                                                                                               Records
Book 1235,Page 1769 of the PublicRecordsof OsceolaCounty,Florida,           and the Pointof Beginning;
thencerun alongsaidde-annexation     boundarythe following   courses; N 89°36'48"E,1370.16feetto a
pointon a non-tangent   curveconcave  Southerly having  a radius of2774.79   feet,and a centralangleof
14°35'33"; f rom a tangentbearing ofS 87°18'45"  E run Easterly alongthearcofsaid    curve,706.70 feet;
5 72°43'12"E, 120.32feet; 5 68°43'12"E,476.40feetto a pointof curvatureof a curveconcave
Southwesterly  havinga radius of310.00feet,  and a central angleof64°11'44";    run Southeasterlyalong
thearcofsaidcurve,347.33feet;    toa pointofcompound curvature      ofa curveconcaveWesterlyhaving
a radiusof 710.00feet,and a central   angleof 43°41'01";run Southerly       alongthe arcof saidcurve,
541.32feet;5 39°09'33"   W, 593.50 feet; 5 39°49'53"  W, 428.75feet  toa  pointon a non-tangent  curve
concave Northwesterly   having a radius of 17038.73   feet, and  a central       of
                                                                           angle 00°07'01";     from a
tangentbearingofS 39°57'15"   W run Southwesterly   alongthearcofsaidcurve,34.76feet;      toa pointof
compound curvature   ofa curveconcaveNorthwesterly      havinga radiusof 17038.73feet,    and a central
angleof 00°07'00";run Southwesterly    alongthearcofsaidcurve,34.73feet;        to a pointof compound
curvatureof a curveconcave Northwesterly     having  a radius of 17038.73   feet,and a central angleof
           r un
05°07'15"; Southwesterly      along thearcofsaid   curve, 1522.83  feet;t o a point ofreverse curvature
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 33 of 76




ofa curveconcaveSoutheasterly   havinga radiusof17338.73feet,  and a central angleof07°18'35";  run
Southwesterly alongthe arcof saidcurve,2212.08feet;to a pointof compound curvature        ofa curve
concave Southeasterly havinga radiusof 17338.73 feet,and a centralangle of 03°23'57"; run
Southwesterly alongthe arcof saidcurve,1028.62feet;to a pointof reversecurvatureof a curve
concave Northwesterly  havinga radiusof 17038.73feet,and a centralangle of 05°03'27"; run
Southwesterly along the arcof saidcurve,1503.98feet;5 44°18'34"W, 2356.77feetto a pointon a
non-tangent curveconcave  Northerly  havinga radiusof451.67feet,  and a centralangleof 120°17'51";
from a tangentbearingofS44°19'15"   W runWesterlyalongthearcofsaidcurve,      948.32feet; toa point
of compound curvature ofa curveconcaveEasterly    havinga radiusof1767.86feet,   and a centralangle
of 30°38'14";run Northerly  alongthe arcof saidcurve,945.31feet; N 15°15'17"E,57.43feet;N
74°44'43"W, 42.00feet;N 10°06'45"E,301.24feet;N 15°17'20"E,293.98feetto a pointon a non-
tangentcurveconcaveWesterlyhavinga radiusof2009.86feet,       and a centralangleof28°47'54";  from
a tangentbearingofN 15°18'05"   E run Northerlyalong thearcofsaid  curve, 1010.21 feet; N 13°29'49"
W, 750.50feettoa pointofcurvature    ofa curveconcaveEasterly  havinga radius of1809.86feet,  and a
centralangleof30°18'27";  run Northerly alongthearcofsaidcurve,  957.35feet;N 46°27'10"    E,105.97
feet;to a pointon a non-tangentcurveconcaveSoutheasterly     havinga radiusof 1759.86feet,and a
centralangle of 13°41'33";f rom a tangentbearing of N  19°48'38"E run Northeasterly alongthearcof
saidcurve, 420.57feet;N 33°30'11"E,1183.50feettoa pointofcurvature      ofa curveconcaveWesterly
havinga radiusof 2059.86feet,and a central   angleof 33°23'10";run Northerly   alongthe arcof said
curve,1200.27feet;N 05°42'05"   E,369.98feettoa pointofcurvature    ofa curveconcaveSoutheasterly
havinga radius of426.87feet, and a centralangleof56°29'55";   run Northeasterly alongthearcofsaid
curve,420.93feet;N 62°12'02"E,1022.85feetto a pointof curvature        ofa curveconcaveSoutherly
havinga radiusof1789.72feet,  and a centralangleof15°19'53";  run Easterlyalongthearcofsaidcurve,
478.90feet; toa pointon a non-tangent  curveconcaveSoutherly   having a radiusof1791.86feet,  and a
central      of
       angle 03°26'13";    from a tangentbearing  of N  78°45'37"E run Easterlyalong thearcofsaid
curve,107.49feet;to a pointof compound curvature     ofa curveconcaveSoutherly    havinga radiusof
2181.28feet, and a centralangleof06°37'08";   run Easterlyalongthearcofsaidcurve,251.98feet;N
88°49'08" E,659.02feet;N 89°50'46"   E,591.75feettothePointofBeginning,    containing744.473acres,
more or less.

AND

       A parcelof landlyinginSections12,13,23 and 24,Township 25 South,Range 27 East and
Sections 7,8,9,17 through20 and 30,Township 25 South,Range 28 East,    OsceolaCounty,Florida,  and
being more             described
            particularly        a sfollows:
        Commence attheNorthwestcornerofsaidSection9,run alongtheWest lineoftheNorthwest
1/4 ofsaidSection  9,S 00°08'49"E,132.00feet, to a pointon Southerly  rightof way lineofStateRoad
530 and a pointon the boundaryofde-annexation    Resolution  No. 291 as described inOfficial
                                                                                           Records
Book 1235,Page 1769 of the PublicRecordsof OsceolaCounty,Florida,       and the Pointof Beginning;
thencerun alongsaidde-annexation    boundarythe following  courses; N 89°47'42"E,622.99feetto a
pointon  a non-tangent curveconcave  Northeasterlyhaving a radius of450.00  feet,and a central
                                                                                             angle
of 59°52'20";from a tangentbearingof S 00°12'18"E run Southeasterly      along the arcof saidcurve,
470.24feet;5 60°04'38"E,118.30feettoa pointofcurvature      ofa curveconcaveSouthwesterly   having
a radiusof150.00feet,  and a centralangleof 60°00'00"; run Southeasterly  alongthearcofsaidcurve,
157.08feet; N 89°55'21"E,40.00 feet;S 00°04'25"E,2369.91feet; N 89°56'33"E,50.00feet;S
00°03'27"E,512.31feet;5 00°03'27"E,358.24feet;S 47°23'03"W, 1794.78feet;N 75°57'54"W,
2061.55feet;S 53°52'46"   W, 4747.05feet;S 13°19'33"  E,1235.00feet;S 57°29'14"E,837.20feet;S
26°03'58"E,3172.66feet;S 45°00'05"E,707.11feet;5 09°55'30"W, 2030.39feet;N 65°37'30"            W,
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 34 of 76




1163.91feet;N 44°47'06"    W, 1831.04feet;5 48°53'12"       W, 715.92feet;N 65°37'30"     W, 341.01feet;N
26°33'59"W, 2124.26feet;S 68°44'53"W, 965.66feet;S 16°54'23"E,5330.34feet;S 50°31'34"W,
1101.14feet;N 41°38'06"    W, 4214.56feet;N 18°02'08"       W, 2261.08feet;5 89°59'55"      W, 1650.00feet;
S 00°00'05"  E,1224.24feet;5 35°39'14"     W, 1200.88feet;5 89°59'55"     W, 1800.00feet;N 34°46'45"       W,
1157.70feet;N 27°43'20"    W, 492.90feet;N 01°09'30"       W, 124.30feet;N 50°54'37"       W, 282.74feet;S
59°21'14"  W, 36.00feet;N 38°52'34"   W, 156.01feet;N 39°57'15"       E,502.67feet;N 43°58'16"      E,1918.88
feetto a pointofcurvature    of a curveconcaveSoutherly       having  a radius of622.20   feet, and   a central
angleof 73°46'51";run Easterly      alongthe arcof saidcurve,801.22feet;to a pointof compound
curvatureof a curveconcave Southwesterly         havinga radiusof 2405.91feet,and a central           angleof
15°39'49";  runSoutheasterly  alongthearcofsaidcurve,657.74feet;          toa pointon a non-tangent      curve
concaveSouthwesterly    having a radius o f3677.60   feet,a nd a central angle of 09°13'43";  f rom  a tangent
bearingof5 46°35'06"E run Southeasterly      alongthearcofsaidcurve,592.35feet;S 37°21'28"E,61.64
feet;N 52°38'37"E,295.00feet;N 37°21'24"         W, 236.29feet;N 33°58'59"      W, 295.13feettoa pointof
curvature  ofa curveconcaveEasterly    havinga radiusof724.53feet,and a central          angleof 32°07'27";
run Northerly  alongthearcofsaidcurve,     406.22feet;N 01°51'30"     W, 914.66feettoa pointofcurvature
of a curveconcave Easterly    havinga radiusof 1433.91feet,and a centralangleof 30°54'26";run
Northerly  along thearcofsaid  curve,773.50feet;N 31°08'21"        E,714.41feet;N 32°17'07"E,68.88feet
to a pointofcurvature   ofa curveconcaveSoutheasterly        havinga radiusof4489.66feet,and a central
      of            r un
angle 06°27'44"; Northeasterly         along  thearcofsaid    curve, 506.37feet;N 38°44'50"      E,91.15feet;
N 51°13'07"W, 15.63feet; N 39°57'15"E,399.78feetto a pointof curvatureof a curveconcave
Southeasterly  havinga radius of17028.73feet,     and a centralangleof05°21'16";     runNortheasterly    along
the arcof saidcurve,1591.38feet;to a pointof reversecurvature            of a curveconcaveNorthwesterly
havinga radiusof 17348.73feet,and a central        angleof 00°22'04";run Northeasterly       alongthearcof
saidcurve,111.39feet; N 45°03'33"W, 10.00feetto a pointon a non-tangentcurve concave
Northwesterly   havinga radiusof17341.08feet,      and a central angleof04°36'46";    from a tangentbearing
of N 44°56'25"E run Northeasterly    alongthe arcofsaidcurve,1396.13feet;to a pointof compound
curvatureof a curveconcave Northwesterly         havinga radiusof 17338.73feet,and a central          angleof
05°43'39";run Northeasterly    alongthearcofsaidcurve,1733.24feet;          to a pointofreversecurvature
ofa curveconcaveSoutheasterly     havinga radius    of17038.73feet,   and a central  angleof05°21'16";     run
Northeasterly  along the arcof  said curve,   1592.32   feet; N  39°57'15"  E, 942.63  feet;  N  44°36'59"  E,
348.99feetto a pointon a non-tangentcurveconcaveSoutheasterly              havinga radiusof 1342.44feet,
and a central angleof 24°30'00";   from a tangentbearingof N 44°44'08"E run Northeasterly            alongthe
arcofsaidcurve,574.04feet;N 69°14'08"E,1832.61feet;S 47°43'15"E,1148.63feet;S 37°11'45"E,
2082.95feet;N 52°48'15"E,150.00feet;N 37°11'45"            W, 2096.77feet;N 47°43'15"       W, 1086.16feet;
N 69°14'08"  E,104.92feettoa pointofcurvature       ofa curveconcaveSoutherly     having a  radius of1342.40
feet,a nd a central      of             r un
                   angle 19°21'25"; Easterly          along thearcofsaid   curve,  4 53.52 feet; 88°35'33"
                                                                                                  N
E, 600.08 feet; N 83°15'36" E, 300.22 feet;  t henceN  89°45'45"  E, 3676.81feet   tothePoint   of Beginning,
containing  2908.288acres,  more orless.

AND

       A parceloflandlyinginSections 23 through26,Township25 South,Range 27 East,
                                                                                and Section
            25
30,Township South,Range    28 EastOsceola              and
                                          County,Florida, being more            described
                                                                     particularly       as
follows:
       Commence attheSoutheastcornerofsaidSection26,run alongthe EastlineoftheSoutheast
1/4 of saidSection26, N 00°04'03"W, 120.00feet,to a pointon the boundary of de-annexation
ResolutionNo. 291 as describedinOfficial RecordsBook 1235,Page 1769 of the PublicRecordsof
OsceolaCounty,Florida,and the Pointof Beginning;
                                               thencerunalongsaidde-annexation boundarythe
     Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 35 of 76




followingcourses;5 89°49'18"W, 678.98feet;5 89°56'16"W,41.46feet;5 89°50'14"    W, 486.92feet;
N 00°07'57"W, 333.91feet;N 00°07'57"    W, 177.25feet;N 00°01'07"W, 178.96feet;N 00°03'44"  W,
631.66feet;5 89°52'13"W, 494.06feet;5 89°55'05"W, 828.90feet;N 90°00'00"W, 5.12feet;N
00°08'06"W, 251.46feet;N 00°08'09"W, 394.13feet;N 00°08'11"W, 655.92feet;N 00°13'25"W,
23.67feet;5 89°55'00"W, 128.49feet;N 89°31'49"     W, 397.18feet;N 89°31'34"W, 122.10feet;N
89°32'10"W,  47.99 feet;N 89°31'47" W, 361.14feet; 89°31'38"
                                                  N           W, 68.77feet;N 89°32'02" W, 98.33
feet;N 89°31'40" W, 203.89 feet;N  09°35'39"W, 23.58 feet;N 34°30'31"E, 3.49feet;N 89°39'50"W,
46.97feet;S 89°55'09"  W, 105.90feet;N 00°00'26"  W, 1997.80feet;N 39°37'22"E,1530.02feet;N
39°37'22"E,3105.08feet;S 25°35'45"E,1405.42feet;S 48°02'51"W, 2129.92feet;S 27°09'04"E,
2191.46feet; N 89°59'55"E,429.40feet; N 42°34'45"E,61.38feet; N 77°28'31"E,6.16 feet; S
80°50'28"E,42.95feet;5 76°40'19"E,50.95feet;N 78°08'48"E,34.33feet;5 30°04'17"E,4.22feet;
5 76°06'37"E,130.56feet;N 89°59'55"E,618.64feet;N 00°00'05"W, 1750.00feet;5 85°45'54"E,
2707.40feet;5 38°39'40"E,320.15feet;5 01°48'36"E,382.26feet;5 54°54'10"W, 2031.38feet;5
34°49'33"E,1400.89feet;N 66°34'12"E,2012.03feet;N 89°59'55"E,1596.15feet;S 41°29'52"E,
1068.10feet;S 16°30'11"  W, 1408.01feet;5 60°01'01" W, 808.14feet;N 44°46'55" W, 709.83feet;N
00°00'05"W, 700.00feet;5 89°59'55"W, 1100.00feet;S 15°22'30"      W, 829.70feet;5 89°59'55"W,
620.00feet;S 00°00'05"E,250.00feet; N 89°45'12"E,331.16feet; N 22°25'57"E,47.85feet;N
32°49'38" W, 99.62feet;N 06°38'41"   W, 20.86feet;N 67°06'55"E,58.35feet;N 80°46'35"E,124.29
feet;N  59°15'21" E,74.38 feet;N  76°39'34" E,72.66feet;5 59°47'48"E,57.26feet;5 54°56'34"E,
123.34feet;S 58°10'29" E,79.63feet;S 30°10'31" E,44.20feet;S 06°24'36" E,107.82feet;S 11°28'54"
W, 73.24feet;S 17°38'04"   W, 10.26feet;S 67°56'29"E,225.59feet;N 45°25'09"E,16.32feet;S
61°51'19"E,58.22feet;S 30°56'12"E,14.64feet;S 67°56'29"E,748.10feet;S 89°54'33"     W, 2032.92
feet;S 89°51'55"W, 2644.56feet;S 00°04'03"  E,79.89feet;S 89°49'42" W, 1207.06feet;N 89°49'42"
E,1207.06feettothePointof Beginning,   containing829.134acres, more or less.

Lessthe following
                recordedparcelinthe Public
                                         RecordsofOsceolaCountyFlorida:

       0.R.Book 6074,Page 1234



         inaggregate24,200.76
Containing                  acresmore or less.
     Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 36 of 76




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                     Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 37 of 76




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   Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 38 of 76




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                     BUENA                  AGREEMENT            IN ORANGE        COUNTY
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               a   oÑË a 5s55SKETCH OF DESCRIPTION                                             JLG
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                               SHEET 3 0F 20 SHEETS                                            iodo22053
    Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 39 of 76




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        Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 40 of 76




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                                                                                               L181
                                                            NE1/4.
                                                      SWcdrner   SW1/4.
                                                                      NW1/4,
                                                                           Sec.
                                                                              21-24-2BV               r-
                                                                          NEcorn SE1/4,
                                                                               .r.    SW1/4
                                                                            HW1/4.-Sec.
                                                                                     21-2b28
                                                20                                           --'
                                                                   NWcorner,
                                                                         NE1/4,
                                                                              SW /4,Seç-
                                                                                       21-24-76


                                                                                                      L B4
                                                                  ofLe1E5 Munger
                                                            NWcorrier         and empany
                                                                                       SutdMélon
                                                              Sec.       recorded
                                                                 21-24-28,     inPatBook    22-
                                                                                       E Page
ARPRFv1ATIÓNS
0.B.=DEE0
       BdOK
         RECRDS
O.P.=CFFICIAL
        ROAD
S.R.=5TATE                                                                                SEcarner,
                                                                                                  Loi85s-
        OFWA(
R/W=RIGHT                                                                              North  5E
                                                                                          IInc..    SW1/4
PE.=PLAT
       BOOK                                                                                   c 1/4,
                                                                                                   _¿pg
PSM=PFQFES$10NAL
             SURVEYOlt                                                                      WestIne,NW1/4,
   ANDMAPPER
L,B,-LICENSED
          BU5NESS                                                                                  4.SOCs
                                                                                                        2
SEC=5ECTION                                                                                          NW 1/
                                                                                             5Wcorner,
TWi>TOWNSHIP                                                                                   3/E1/4,Sec,
RNG=RANGE
        OFBEINRlNG
POB=PGINT
PDC=PGINT
        DFCOMENCEMENT
                                                                                                SEcorner,
                                                                                                       NE1
                                 FILING
                                    AREA                                                       DATE:
                                  OV ERALL                                                     i2/7/22
                                 PROJECT
                                      NAME                                                     SCALE
                     P,0.5,
                        10D00     DEVELOPERS   AGREEMENT           IN ORANGE     COUNTY        1" = 1000'
                     LAKE
                        BUENA
                            VISTASURÆY
                                     TYPE                                                      DRAVN
                                                                                                   BY:
                     FL32830-1000
IIII       EEIRET
               5IB51BE5
                     PHONE
                         407-824-5855
                                  SKETCH OF DESCRIPTION                                        JLG
                                 COMMENTS                                                      FILENAME:
                                  SHEET 5 0F 20 SHEETS                                         10d022053
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 41 of 76




          Co
          0            - NEccmer,
                               SE1/4.
                                    SW1/4.
                                         NW1/4,
                                              Sec.
                                                 21-24-28
               L181
    -
2.4-25                --
                 /
4, .21 4 E                                       e-t14 - mar    2423
                                         on                            s / L1
r4 56 -l--^l-----                                                                     _ ELt lyF h ||re
                                                                                                    EP 0:
                |--
                           - fJE
                               usrner
                                   LtB                                             --
                                          IErierJE1 4 E 1 4
 mpan$1H iur ,                           5" - - 4---
atBaul·
     E Pg.y
          12-                                     N rtFIne adhFalt                t
                                                   E 14.---21-415
                           2 ' 1"'E /          / N a-r Jd'E ZD 42
        .Et.rrrL,tA5
             er,           ll14                   Nh "rrar  NEi4 A 1
    krFhne,rEle4'A1 4                               E 1 4 9 21-'4-''E
               21-4-2d                4'                NE mar5,ui.h 1-
                                                                      alf   /
          YastIr5N 1 4,ari14                              1 4 * ~1--4--21                  LE DLC2L..V31
            SE1'4Ee-21-24-22            L1             crrar NW14.½ 14                 .   LE [#raifieqn4
          S rtr erfl1 4 5,r 1 '4                                 -2-14-3
            d E 1"4Sa...
                       El-24-  B                      stline NE1 4 -41 4
                E utt·
                    line 4 1 4 d 14
                        IJ                           E 1,4se 1-24-_tl
                   EE14 -- 21--4--.d                   La OCC'-  19FTbE39
            -Er..
                martJE1 4,EV1 4,EE1,4 -o 2.1-24-2H




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                                         28




                                           1.,
                                                                         BEPElATI..tb
                                      ''                                EE=DEEE B iul
                        P #f
                    watatly                                              |P=||FFI
                                                                                l-LPE FE
                      ,R '=y,                                            P='Tw TEP »D
    - Ae=t                        *                                     P ½-Fl|HT1F#4
            -a 2.5-d-
         Ilna,      P                                                   PE=PLaT B l
                                                                        F M=PP|FEIifJ'L,IPE rP
                                  _E                                        ANE11AFFEF
                                                                              EN'ED
                                                                        LB_-Llt    E'il'INE"
                                                                         E = E TI-t)
-          qnr ¬                                                        ThN=TinNsHIF
    .. - 3e,                                                            PflL=Pi··N..E
     -S r..rrtur
               Ea..EC-24-2B                                             FCE'=PiltlT
                                                                                 ||FE'Etifl1tJI
           __ __ ____                                                   P::=FtJNT[JF:JHliEN[EHENT
                                FILING
                                   AREA                                                         DATE:
                                 OV ERALL                                                       i2/7/22
                                PROJECT
                                     NAME                                                       SCALE
                    P.O.5,
                       10DO°     DEVELOPERS   AGREEMENT              IN ORANGE COUNTY           1" = 1000
                    LAKE
                       BUENA
                           V5TA SURÆY
                                    TYPE                                                        DRAVN
                                                                                                    BY:
                    FL32830-1000
III       IEIRET
              5IB51BE5
                    PHONE
                        407-824-5855
                                 SKETCH OF DESCRIPTION                                          JLG
                                COMMENTS                                                        FILENAME:
                                 SHEET 6 0F 20 SHEETS                                           iodo22053
     Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 42 of 76




                              SEE DETAIL
0                                                                       29~
          ||




                                                     R/WofChelortla
                                                               F½rkway                East           -.
                                                                                            sec29-24-2B
                                                                                         line,
                                                     Plot
                                                        89¾E6,
                                                             Page41


                W corner,
                      Sec.
                         29-24-28                              Westerly
                                                                    R/WllM,  536--
                                                                          5,R,
                NEce,mpr.31-24-28
                      See,                       South
                                                     1/4corner
                                                            Sec.
                                                               29-24-28
                                     L21     N 8950'42"W 2152.59' N 8950'43" W 1496,10/ N 5
                                           South  SW1/4,
                                               line,   Sec.
                                                          29-24-28
                                                                 South  SE1/4,
                                                                     lirie,  Sec.
                                                                                29-24-28 ..
                                                                                 SEcomer.
                                                                                       Sec29-24-28
         Edst
            11ne
               NE1/4,
                    Sec.     ¬
                       31-24-28     r.ò                                                    .
                                    O
                                                                DETAILAREA
                                                              SCALE1" = 200'
                                    O                                DOCf 20200360380
                                                                              .-
                                                                               Docy 20200359972
                                                             L206
                                                              C68          '
                                                                   N
                                                                L2050 L201
                                                                              0,R,
                                                                                 5208/3684


          SEcorner   Sec,
                NE1/4,  31-24-
                             8



                SE1/4,
             line,
          Eawt       Sec,
                        31-24-2B
                              m.




                                                                                     ARRPFVIATIDNS
                                                                                     D.B.-DEED
                                                                                            BOOK
                                o                                                    0.R
                                                                                       =OFFICIAL
                                                                                              RECORDS
                                                                                     5.R
                                                                                       =STATEROAD
              SEcomer.
                    Sec.
                       31-2+-28¬
    Souih  SE1/4,
        line.   Sec.
                   31-24-28       ORANGE                  COUNTY                     W=¯R°Ns°|ù
                                                                                     PSM=PROFES$10NAL
                                                                                                  SUR\EYOR
                                  TOWNSHIP           24    SOUTH                        ANDMAPPER
                                                                                     LB.-LICENSED
                                                                                               BUSINESS
       N 893601"W 2é46.#                                            .                SEC=SECT10N
                                                                                     TWN=TDWNSHIP
                                                                                     RNG-RANGE
     .                              ..
                                     .........                                       POB=POINT
                                                                                            OFEEGINNING
           ..             ,
                         _.                                                          POC=POINT
                                                                                            OFCOMMENCEMENT
                                 FILING
                                    AREA                                                       DATE:
                                  OV ERALL                                                     i2/7/22
                                 PROJECT
                                      NAME                                                     SCALE
                     P,0.5,
                        10Doo     DEVELOPERS   AGREEMENT                IN ORANGE    COUNTY    1" = 1000
                       32830-
                            00   SURÆY
                                     TYPE                                                      DRAVN
                                                                                                   BY:
         nEEEET
              EIREIEEE
                     PHONE
                         407-824-5855
                                  SKETCH OF DESCRIPTION                                        JLG
                                 COMMENTS                                                      FILENAME:
                                  SHEET 7 OF 20 SHEETS                                         iodo22053
     Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 43 of 76




                                                         n         cn




                            36




                                                  ORANGE           COUE!TY
                                                  TOWNSFilP   E4     SOUTH
       3 -- 7                    South  SE1/.4,
                                     nne,       35-24-27
                                             Sec.     ,                        South  SW1/4,
                                                                                   line,   Sec.
                                                                                              31-2.4-28
                                                                             ,e

     s se.w3e.-
              w 2sse.21               s 895004"w 26584                  N 895654"W 2745,82
                                           1A
                                         S_E                   ( SW    Sec,
                                                                    mer,         SWmmer,
                                                                          31224-È8      SE1/4,
                                                                 SEcorner,
                                                                       Sec.6-24-Ø7 Sec.
                                                                                      31-·24-2B
                                                 TOWNSHIP     25    SOUTH
                                                 OSCEOLA          COUNTY




ARRRFVATIONS              .. .
D.B.-DEED
       BOOK
O.R.=OFFICIAL
         RECORDS
3.R.=STATE
        ROAD
        OFWAY
R/W=RIGHT
P.B.=PLAT
       BOOK
             SURVEYOR
PSM=PROFESSIONAL
   ANDMAPPER
L.S
  -LICENSED
          BUSINESS
SEC=SECTION                      '-
TWN=TGVfNSHIP
RNG-RANGE
POB=POINT
        OFBEGINNING
POC=PQ1NT
        OFCOMMENCEMENT
                 /              FILING
                                   AREA                                                   DATE:
                                 OV ERALL                                                 i2/7/22
                                PROJECT
                                     NAME                                                 SCALE
                    e3°          DEVELOPERS   AGREEMENT       IN ORANGE        COUNTY     1" = 1000'
                    FL32830-1000SURÆY
                                    TYPE                                                  DRAVN
                                                                                              BY:
         IEEEET
             EIREIEEE
                    PHONE
                        407-824-5855
                                 SKETCH OF DESCRIPTION                                    JLG
 .                              COMMENTS                                                  FILENAME:
                                 SHEET 8 0F 20 SHEETS                                     iodo22053
   Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 44 of 76




           O




                                      35




                           ORANGE          COUNTY
                         TOWNSHIP     24 SOUTH
                 South
                     11ne,      35-24-27
                             See,
                        SW1/4,                 Sodhline,
                                                      SEf/4,
                                                           Sec,
                                                              N-24-27

    L        S 89WO7" W 2636.05              S 8948'35"W 2652.59'.          S 8946'36"
                                                                                     W   2656.21
        \_SW     Sec.
             corner,35-24-27                     SE1/4,
                                        \_SWccmer,                     ..
                                                                     ./.
                 Sec.
          SEcomer,  34-24-27                 35-24-27
                                          sec.                            ...
                      TOWNSHIP      25   SOUTH     swcorner,
                                                          sec.
                                                             ae-æn /
                                                    SEcorner.
                                                          Sec.
                                                             35-24-27
                         OSCEOLA       COUNTY



ARRRFVATIONS
0.B.-DEED
       BOOK
O.R.=OFFICIAL
         RECORDS
S.R.=STATE
        ROAD
        OFWAY
R/W=RIGHT
P.B.=PLAT
       BOOK
             SURVEYOR
PSM=PROFESSIONAL
   ANDMAPPER
LB.-LICENSED
          BUSINESS
SEC=SECTION
TWN=TGVVNSHIP
RNG-RANGE
POB=POINT
        OFBEGINNING
POC=PQ1NT
        OFCOMMENCEMENT
                             FILING
                                AREA                                               DATE:
                              OV ERALL                                             i2/7/22
                             PROJECT
                                  NAME                                             SCALE
                 P3°          DEVELOPERS   AGREEMENT         IN ORANGE   COUNTY    1" = 1000'
                 FL32830-1000SURÆY
                                 TYPE                                              DRAVN
                                                                                       BY:
         ersissimus
                 PsoNE
                     407-824
                          5s55SKETCH OF DESCRIPTION                                JLG
                             COMMENTS                                              FILENAME:
                              SHEET 9 0F 20 SHEETS                                 iodo22053
   Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 45 of 76




-   L..JUU
12 L307                         East  West
                                   line. 1 2.,
                                            NE1/4,
                                                 Sec.
                                                    28-24-27
13 L308
   L309
31 C90
L311L31Ö
        28                                                                          27




                                                                                          West  East
                                                                                             line  T/ Sec..27-24-27




                  o

                                                                                8
                                                                                z
                                     -               North NW 1/4,
                                                        Ilne,    Sec3424-27
                                                                          ,
                      NWcorner,
                            Sec.
                               34-2&27
                                                       N 3953'53"
                                                                E 2679,47'

                                                                                          E comer,
                                                                                                NW1/4.
                                                                                                     Sec.
                                                                                                        34-24-27
             West  NW1/4,
                line,   Sec.
                           34-24-27                                                      SWcomer.
                                                                                                5E1/4,
                                                                                                     Sec..27-24-27

                                           O rJ
     North SE1/4,
        line,    NE1/4,
                      Sec.
                         33-24-27
                                3
    NWcarner,
           SE1/4.                \
      Sec.
 NE1/4,  33-2427      5 8955'44"E\
                              ,                -     NEcorner,
                                                           ·SE  NE1/4,
                                                             1/4,    Sec..
                                                                        3F24-27
                        1326,40

                       LO.    Wesi  SET/4,
                                 line,        Sec.
                                         Nß1/4.  33-24-27




   33             ,                                                                 34
 NWcorner.   NE1,/4.-
       N.5,/8.        West  mrth5/!.,
                         line,     NE1/4,
                                        SE1/4,  33-24-27
                                             Se'p_
   SE1/4,
        Sec.
           33-221--27
                       -S9uth North
                           line,     NE1/4,
                                  5/6,    SE1/4.
                                               Sec.
                                                  33-24-27
                                13.26.58             SEcomer;
                                                           Nncth      SE1/4Seg.
                                                                 NE1/4,
                                                              5/E,            33-24-27
                             N 8947'57"W
   sE         3                                      NWcomer,
                                                           SW1/4,
                                                                SW1/4,
                                                                     5ec.
                                                                        34-24-27
                                                     NEcomer,
                                                           SE1/4,
                                                                SE1/4,
                                                                     Sec33-24.-27
                                                                sec.
                                                           SW1/4,  34-24-27
ARPRFVATIONS                                                        SEE SHEET11
0.B.-DEED
       BCCH
0.P.=OFFICIAL
         RECORDS                               _..                N FOR THISAREA
S.R.=5TATE
        ROAD                               .
        OFWAY
R/W=RIGHT
P.B.=PLAT
       BOOK
             SURVEYOR
PSM=PF0FESS10NAL
   ANDMAPPER                                                             t           scuth
                                                                                         line, 34-24-27
                                                                                            Sec.     ,
L.S.-LICENSED
          BUSINESS
SEC=5ECTION
TWN=TOWNSHIP                                                                                   "
RNG-RANGE                                                                            c,
                                                                                     - gg4         w 343g73'
POB=P0lNT
        OFBEGINNING
POC=PQ1NT
        OFCOMMENCEMENT
                                FILING
                                   AREA                                                                 DATE:
                                 OV ERALL                                                               i2/7/22
                                PROJECT
                                     NAME                                                               SCALE
                   P.O.5,
                       10DO°     DEVELOPERS    AGREEMENT                     IN ORANGE      COUNTY      1" = 1000'
                    KEBUEN STA SURÆYTYPE                                                                DRAVN
                                                                                                            BY:
        n inersissimus
                   PNaNE
                       407-824
                             5s55SKETCH OF DESCRIPTION                                                  JLG
                                COMMENTS                                                                FILENAME:
                                 SHEET 10 0F 20 SHEETS                                                  iodo22053
   Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 46 of 76




        SEcomer.
              North NE1/4.
                 5/8,    SL1/4,
                              Sec.
                                 33-24-27




                                                                                       cn
                                                                                         ||
         NWcorn+r,
               SW1/4,    $ec.
                    SW1/4,  34-24-27
               SE1/4,
         NEcomer,   SE1/4,
                         Sec,
                            33-24-07
       -West
           line,   sec.
              çW1/4,  34-24-27                                                                o

                        andNortherly
                   Enterîy            of
                                boundary
                   Black
                      Lake    Plot
                          VillageBook
                                    75,   149
                                       Page
                           c4 a




                                        269 L270




                                         L230 C
                                                                               c4
                Black
                   Lake   Plot
                             Book
                      Village,        149
                                75,Page         RANCE              COUNTY
                                                TOWNSHIP      24    SOUTH



                                                   TOWNSHIP    25     SOUTH
ARRRFVAT10NS                                       OSCEOLA          COUNTY
D.B.-DEED
       BCCK
O.R.=OFFICIAL
         RECORDS
S.R.=STATE
        ROAD
        OFWAY
R/W=RIGHT
P.B.=PLAT
       BOOK
             SURVEYOR
PSM=PROFESSIONAL
   ANDMAPPER
L.S.-LICENSED
          BUSINESS
SEC=SECTION
TWN=TGVVNSHIP
RNG-RANGE
POB=POINT
        OFBEGINNING
POC=PQ1NT
        OFCOMMENCEMENT
                              FILING
                                 AREA                                                     DATE:
                               OV ERALL                                                   i2/7/22
                              PROJECT
                                   NAME                                                   SCALE
                  P.O.5,
                     1000°     DEVELOPERS    AGREEMENT        IN ORANGE       COUNTY      1" = 300
                   KEBUEN STA SURÆY
                                  TYPE                                                    DRAVN
                                                                                              BY:
      n inst
           s amis PNaNE
                      407-824
                           5s55SKETCH OF DESCRIPTION                                      JLG
                              COMMENTS                                                    FILENAME:
                               SHEET 11 0F 20 SHEETS                                      iodo22053
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 47 of 76




       cn
       c.5                                                                          IJETAILAREA
                                                                                 SEALE L" = 200'




                                                                                     L323'NË2l
                                                                              L327


 Less
 0.R20160344785
 0,R.
    20160316309
 0.R20160316310

27                                0.R.
                             .-Less  10987/8396


                                  Less
                                     ÖA 1.Õ¢È1/7453
                                  Less
                                     08.100Bf/7447
                                  Less
                                     OA 10¢8.1/7458
    LeseO.R.
           10275/7457
  SEE DETAIL
 FOR.THISAREA           .
                                                              North    NE1/4,
                                                                   lIne,.
                       e Less0.R.             R/W5.R429 T NE1/4.
                                         heterly
                                10778/5071                           Sec.2Öd4-27
                            otrth        OR 7070/2553.. -r
                                   E 1/4,f-
                                line,
                           Sec;21-24-27/ 0,R.
                                            7106/2BO'"            NWcorher,Sec. 27-24-27
          .                                                       NEcorner,.Sec.2.6-24-29'
n                                         NEcomer;West
                                                     1/2,                         NWcarhér    NW1/4,
                                                                                         NE1/4.     5ec27-24-27
                      .                   NE1/43.S4c..8-24-2                             sw1/4,
                                                                                  .sE-comer,  sw1/4,sec.
                                                                                                       22-24-2i
               . L316 .     L299               133T.20'            1328.51
                 / L315 LXO                 5 6946'05"  W       S 8946'29"   W
  South  SW1 4,_/
      line,
        21-24-27
     Sec.          L314   C87
                          L301                            HW 1/4,
                                                                Sec,27-24-27
                                                  North
                                                      line.
      HartzoRoad                                E.UNE,W 1/2,
                                                           NE1/4, Sec.28-24-27  0 n
                                 Crc.ss
                          Flamingc. ngsc
    0.R.
       9782/7172       -  EatPlatBos97,                                         O
    OR 10170/4303         Page97                                                       SWcomer;
                                                                                              NE1/4,
                                                                                                   NW1/4
    OA 10173/B8ea                                            4.Sec.27-24-27 4       ,T sec.
                                                                                          27-24-27
    0.R.
       10815/4519
                                                                                       133115'
                          L303                                                                 W /
                          L304                  South   NE1..'
                                                    line.    .NW1/4, Set27-24-27 8937'54"
                          L305                                 SEcorner,NE1/4, NW1/4,          -'
                                                                                     Sea27-24-27
                          CE9
                   C92 L306
ARRRFVATIONs L312 L307                          Easi   West
                                                    line,  1 2.NE1/4, Sec.28-24-27
       BCCH
0.B.-DEED         L31    L308
          RECORDS
0.P.=OFFICIAL -          L309
        ROAD
S.R.=5TATE        U91 c9o
        OFWA
R/W=RIGHT
       BOOK
P.B.=PLAT
              SURVEYOR o
PSM=PF0FESS10NAL
   ANDMAPPER                                                                                       27
L.S.-LICENSED
          BUSINE55
5EC=5ECTION
TWN=TOWNSHIP
RNG-RANGE
POB=POINT
        OFBEGINNING
POC=PQ1NT
        OFCOMMENCEMENT
                  /             FluNG
                                   AREA                                                          DATE:
                                 OV ERALL                                                        i2/7/22
                                PROJECT
                                     NAME                                                        SCALE
                    P·°·B
                       1°°°°     DEVELOPERS    AGREEMENT              IN ORANGE      COUNTY      1" = 1000'
                     KEBUENA
                           V5TA SURÆY
                                    TYPE                                                         DRAVN
                                                                                                     BY:
mm      nEEEET
             EIREIEEE
                    PHONE
                        407-824-5855
                                 SKETCH OF DESCRIPTION                                           JLG
 ."                             COMMENTS                                                         FILENAME:
                                 SHEET 12 0F 20 SHEETS                                           iodo22053
 Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 48 of 76




                                                                                   East
                                                                                mer.  1 NE1/4Set.
                                                                                                1'-_4-P

                                                                           -authline.
                                                                                   Ea-t
                                                                                      1 ..,
                                                                                          NE14.Sec.
                                                                                                  I'-U---


                                                                                               .-
                                                                                                NErtarer
                                                                                                      'E1,


ARRF4FVIATIONR                                                                         -J-
D.B.=DEED
       BOOK                                                                                          -
0.R
  =OFFICIAL
         RECODS
S.R.=STATE
        ROAD
        OFWAY
R/W=RIGHT
P.B.=PLAT
       BOOK
PSM=PROFESSIONAL
             SURVEYDR
   ANDMAPPER
L,B,=LICEN5ED
          BU5lt
             ESS
5EC-SECTION                                                                            CN
TWN=TOWNSHIP                                                                                         o
RNG=PANGE                                                                              O
POB-P0lNT
       OFBEGllpNING
PDC=PCINT
       OFCOMMENCEMENT
                                                              East  SE1/4,.
                                                                 line,   Sec.
                                                                            17-24-27
                                     NWcorner,
                                            NE1/4
                                       Sec.     -\
                                          20-24-27              NE1/4,
                                                          mN.Line,
                                                           Sec.
                                                              20-24-27
                                                              5 8945'19"E 2697.33'
                                                                                       /
                                                                   NEcófner,
                                                                         5èc.
                                                                            20-24-27
                                                   ,,              SEcorner,17-24-27
                                                                         Sec.


                                                    o n
           ..                       SEcorner,
                                           NE1/4           W.Llne,
                                                                NW 1/4.
                                NW 1/4,
                                      Sec.
                                         20-24-27   Z
                                                  ...      NE1/4,
                                                                Sec.20.-24-27
                              N 6950'32E 206841'\
                                         S 1,/2,
                                   -N.LINE.   NW 1/4.




                         W.Línr.
                              NW1/4Sec.2d
                         TWhL
                            249,RNG27E
    . ,'L329                                                                                               OR
                - N.line.
                       NE1/4.
                            NE1/4
                  st1,¼sec.
                          1s-24-z7                                                                       1/74.




   988.05           L..I
5 6900'18/W     d                                                                           /, -

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                                   line         1/4                                                 --
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          r--                  ofSectlom
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     c.                                              c.f
                                                       section
                                                            20-24-27                       .
                                                    south  ofthe.Scutheast
                                                        line          1/4                      Flamingo
                                                                                                    Croseings
                                                                  20-24-'I7
                                                           ofsection                           East
                                                                                                  Plat
                                                                                                     Book
                                                                                               100.. 37
                                                                                                  Page
     JP  /       N 593200" W 2636.90            5 8918'37"W 2675,09
          SouthweEt
                corner
                     oftheSouthwest
                                1/4                    corner
                                                 Southwest oftheSouthwest
                                                                      1/4
          ofSection
                20-24-27                                   ofsactIen
                                                                  21-24-27
                             FILING
                                AREA                                                               DATE:
                              OV ERALL                                                             i2/7/22
                             PROJECT
                                  NAME                                                             SCALE
               P.O.5,
                   10DO°      DEVELOPERS    AGREEMENT    IN ORANGE COUNTY                          1" = 1000
                KEBUEN STA SURÆY TYPE                                                              DRAVN
                                                                                                       BY:
   n iner
        s amis PNaNE4078245s55SKETCH OF DESCRIPTION                                                AG
                             COMMENTS                                                              FILENAME:
                              SHEET 13 0F 20 SHEETS                                                iodo22053
    Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 49 of 76




                                              NEcgrner
                                                     HE1/4
             NEcorner
                    NW 1/4                       Sec.
                                                    B-24-27
                                                          \
                Sec.
                   $/24/27
             .N.line,
                   NW1/4                     N line,
                                                  NE1/4            N.line.
                                                                        NW1/4-    Seidel
                                                                                      Road
               Sec.
                  B-24--27                   Sec.6-24-27
                                                       ¼    \       See,
                                                                       9-24-27
                                                                                  Deed
                                                                                     BookB92/522
                       E
              N 89.2.6'29"        N 89:3125"E 2650.52                    E 606.35 N 8946'07"E
                                                                N 8946'07"
                122D.84                                    L346 3 394E07"W L345C 02  980.18' \               ggcc,,
                                                                  1325 3         q,                          sec.
                                                                                                                9

                         R/WO.R.
                               7070/2553                oggoon         DEED
                                                                          0.R
                        R/W0,R.
                              7106/2802
                                    7                   9327/367       10810/14                         o


                       ,                      9 L354r-
               230 74                 L35s                                 .
           , s 5s34'56"W ¼ / 34
3.line,
     NE1/4,NW1/4r3ec.5-Z4-Z7
  5.line,
       ft1/2,
            NE1/4,Sec.S-24-27         .                                    East  NW1/4.5eS-24-27¬
                                                                              line.
          W,·  E, 530,00',
            line,        SW1/4
              NE1/4,Sec.B-24-27                    cc
  EastR/WIlne'
            SR.4290.P.7106/7802                                                   outhhe,
                                                                                        SE1/4           ..
            R/Wline
      Northerly   ofHartzog        .
           RoadOR.9782/7172
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    West  NE1/4.
       line.    Sec..
                    B-221-27\      Q n                line
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                                                             7121/29D2·
                               335       ss7 e/                                           1325.3e\      9
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       .                   \              103521
                         Lt.]
                            \              North
                                               Ilne,.SE
                                                    1/4
                           ,,s                Sec.
                                                 8-24--2.7                            o \_SWcorner,
                                                                                                 SE1/4,
                               NWcorner,
                                     NW1/4,SE1/4,                                         NW1/4,
                                                                                               Sec.9-24-27
                         o trj sec,
                                  a-24-27                                              o

          North  SE1/4,
              line,                                                  NW 1/4, . -North
                                                                E.Ilne,                SE1/4,
                                                                                    Ilne,
        SV/  Sec.
          If4,  6-24-27         West  NW1/4,
                                   ling    SE1/4,
                                                Sec.
                                                   8-54-27 $W1/4,Sec.
                                                                    W24-27                                   NEc
           . N 894f27"YE                                                      /N 8945'10"E   f               5W1
                   c           NEcc.rrrer,
                                     .SE1/kSW1/4,
                                                5ec,
                                                   8--24-27   SEcorner,
                                                                      NW 1/4,
                                                                           _/    1327.55     -               East
                                                            SW1/4,
                                                                 Sec.9-24-27
                                                                                             O
                    R/Wline
               Easterly   ofC.19.
                               545                                                         ¤ O
               Deed
                  Bool.
                     402,Page355


               Wedline,
                     SE1/4,
                          $W1/4,
                               Sec.
                                  B--24-27                                                                  ,.

        -/             S 8939'31"
                                W
       :|
          NWcorner,
                 Et 1/2,
                       NE1/4,Sec.
                                17-24-27.
       NWcerner,
             NE1/4,NW1/4,
                        Sec.
                           17-24-27
       5Weorner,
             SE1/4,
                  SW1/4,Sec.
                           8-24-27      E
                                        to                         I                                o
                                        N
                                                                                              EJ
ARRRFVATIONS                                                                                                     .
D.B.-DEED
       BCOM                                        West  East
                                                      line,    iJE
                                                            1/2,    Sec17-24-27
                                                                 1/4,,                        r n
O.P.=OFFICIAL
         RECORDS                             DO
S.R.=5TATE
        ROAD
        OFWAY
R/W=RIGHT
P.B.=PLAT
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             SURVEYOR
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   ANDMAPPER                                              East
                                                   cSWcorner,        Sec17-24-27
                                                             1/tNE.1/4
L.S.-LICENSED
          BUSINESS
SEC=5ECTION
TWN=TOWNSHIP
RNG-RANGE                                           f South  Ead1,'2,
                                                          line,    NE1/4, 17-24-27
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POB=P0lNT
        OFBEGINNING                           /    / 00 90'
POC=PQ1NT
        OFCOMMENCEMENT
                             17                   s 894 w w
                               FILING
                                  AREA                                                              DATE:
                                OV ERALL                                                            i2/7/22
                               PROJECT
                                    NAME                                                            SCALE
                   P,0.5,
                      10DO°     DEVELOPERS    AGREEMENT                   IN ORANGE     COUNTY      1" = 1000'
                   LAKE
                      BUENA
                          V5TA SURÆY
                                   TYPE                                                             DRAVN
                                                                                                        BY:
                   FL32830-1000
IIII    MEIRET
             5IB51BE5
                   PHONE
                       407-824-5855
                                SKETCH OF DESCRIPTION                                               AG
                               COMMENTS                                                             FILENAME:
                                SHEET 14 0F 20 SHEETS                                               iodo22053
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 50 of 76




                                                      N 59 W50" E 3975.31
                                                     Ungih tolf,
                                                  North       -See:
                                                                  -3-24-27
                                           MW coi-ne!-,
                                                  SW1/4,
                                                       Sec.
                                                          3-24-27                  .     _
                                                        NE-torrrer,
                                                              NW1/4.SE1/4See.    -
                                                                            3-24-27


                                                          East  NW1/4,
                                                             11ne,   SE1/4,
                                                                          sec.
                                                                             5-24-27
                                                                                           N 3937 6 |
                                      o     West  SW1/4.
                                               line.   Sec.
                                                          3-24-27                            13289W
               mn                     o                                        North  GE1/4,
                                                                                   line,
                                                                             SE1/4,
                                                                                  Sec.
                                                                                     3-24-27
           O




         NEcc,mer
               NW 1/4                     \ - NWcorner,
                                                    390,
                                                       1d-24-27
         Sec9-24-27                           swcorner,
                                                    see,
                                                       3--24-27



    C
    ra



                                           West  Sec.
                                              line, 1-24-27


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                                                                        10
         SEcomer
               NW 1/4
         Sec,
            9-24-27

24-27                                 0

4
         _ NEcorner,
                  SE1/4,                                                        ABBREMATIONS
           SW1/4,
                Sec.9-24427                                                     b-B,=DEED
                                                                                       BOOK
                                                                                         RECORDS
                                                                                O.R.=0FFICIAL
          East  SE1/4,
             line    SW1/4,
                          Sec,
                             9                                                  5,R
                                                                                  =STATEROAD
                                                                                        OFWA1
                                                                                R/W=RIGHT
. o                                        .                                    P,B.=PLAT
                                                                                       BOOK
  O                                                                                          SURWf0R
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  O                                                                                ANDMAPPEP·
                                                                                          BUSJNESS
                                                                                L.B.=LICENSED
a O                                                                             SED=SECTION
                                                                                TWN=TOWNSHIP
         -SEccrner,
                 SW1/4.
                      Sec.
                         9-14-2            E corner,
                                                 Ser9-24-27                     RNC=RANGE
..          r South SE1/4Sec,
                 line,      9-24-27        SWcarnpr,
                                                 Sec10-24-27                            DFBEGINNING
                                                                                POB=POINT
             N 8953'46E 263336
                                 FILIN<
                                     AREA                                                    DATE:
                                  O /ERALL                                                   i2/7/22
                                 PROJ:
                                    CTNAME                                                   SCALE
                     P,0.5,
                        10DO°     DE'VELOPERS    AGREEMENT          IN ORANGE   COUNTY       1" = 1000
                     LAKE
                        BUENA
                            V5TA SURV                                                        DRAVN
                                                                                                 BY:
                     FL32830-1000 YTYPE
III        IEIRET
               5IB51BE5
                     PHONE
                         407-824-5855
                                  S KETCH OF DESCRIPTION                                     JLG
                                 COMh
                                    ¯NTS                                                     FILENAME:
                                  S'IEET 15 0F 20 SHEETS                                     iodo22053
    Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 51 of 76




              8
              O


                                TOWNSHIP     24   SOUTH
                                                                    R/Wline
                                                               Southerly ofReams
                                                                               Raad




                                               ,1.                  4?g                       \ West
                                                                                                   Ine,


                                               N.ortherly
                                                     bændary                  _ L371              373
                         ,,     .7.3- +.       OR.Book1457,
                                                         Page354
                 N 8g4O3. E .-       42
              r-    b24.87                                 East  NE1/4Sea,
                                                              line,      2-24-27
                    West  NW 1/4,.5ec.
                       11ng        2--24--27             SEcomer,
                                                                NE1/4,
                                                                     see.
                                                                        2-24-27 "     N 894347"E
                                                   NWconer,
                                                          NW1/4,SWf/4,
                                                                     ¿ee.
                                                                        1-24-27
                    Nwcomer,NW1/4,
                                 SW1/4,   2--W27 2
                                       see.
                                           .                             North
                                                                             IIne..NW      5ec1 ·
                                                                                      SW1/4,
                                                                                   1/4,
                    West  NW1/4,
                       line,    ÈW1 4,Sec.
                                         2-24-27
              O                                                                              .Ó5.00
                                                                                                  West,
                                                                                              SW1/4,
                                                                                                   Sec

                                                                                        East  NE1/4,
                                                                                           11ne,   SWi
              z
N 69 3716 E                 SE1/4,
                      NKcorner,  SE1/4,
                                      Sec,
                                        .©--24-27
                      NWcomer,
                            SW 4 .SW
                                   Ñ/4Sec.
                                         2-24-27
                                                                                        5Etorner.  SW
                                                                                              NE1/4,
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                  |




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D.B
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OA=0FFICIAL
         RECOFDE
S.R.=$TATE
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                              FILING
                                 AREA                                                       DATE:
                               OV ERALL                                                     i2/7/22
                              PROJECT
                                   NAME                                                     SCALE
                 P.O.5,
                     10DO°     DEVELOPERS    AGREEMENT           IN ORANGE     COUNTY       1" = 1000'
                   3230-00    SURÆY
                                  TYPE                                                      DRAVN
                                                                                                BY:
      n inersissimus
                 PNaNE
                     4078245s55SKETCH OF DESCRIPTION                                        JLG
                              COMMENTS                                                      FILENAME:
                               SHEET 16 0F 20 SHEETS                                        iodo22053
        Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 52 of 76




               8
               o



                       TOWNSHIP      24   SOUTH




                                                                                 165.00
                                                                                     feet
                                                                                        South
                                                                                            ofthe
                                                                               North  SE1/4,
                                                                                   line,   NW 1/43
                                                                       I               Sec.
                                                                                          6-24-25
                       oíandparallel
                2E00West        to                                             West  East
                                                                                  Ilne, 1/2,
              5 West  SE1/4,
                   line,   NW1/4,  1-7427
                                Sec.                                             SE1/4,
                                                                                      NW14
                                                                                  Sec.
                                                                                     6-24-28
                                                                                  SW 1/4,
                                                                           NW,corner,
                                     Road                                  Sec.
                                                                              6-24-28
                           R/WofReams
                37p-southeriy                                                                   O
                                   andNortherly
                              Easierly       line,                            SWcorner,
                                                                                     E 1/2,
                              0.R.
                                 1465,
                                     Page307                                   SE1/4,
                                                                                    NW 1/4,.    o
                                     North   S.half
                                          line,                                 Sec.
                                                                                   6-24-28
                      r-           ---Sec.
                                         1-24-27                                             xz
  N 8943'47" E   r       1039.16'
                                ,·'     90·00'   NEc.orner
                                             East,     5W1/4.              N BS27'45"E 1997.50
                       N 39      E      sec1-04-97
     129.7.19      L378    43 47
                                   O                               y       Nirth  South
                                                                               line,  half
  SW 1/4,
/4,     Sec.
           1                                                                - West  SW 1/4,
                                                                                 lhe,     Sec6-24-2B
            5.00'  NEcorndr,
               West,      NW1/4,                                              Less
                                                                                 D.R.                ..
                                                                                    2055/1702
                                            North South
                                               line,  half
        East  NET/4,·
           line,        Sec.
                   SW1/4,  1-24-27
                                                                        W corner.
                                                                               NW 1/4..
                                                                                     SW             CV
                                            N .39    E 2649.93©
                                                44'10"                 1/4.sm 0 24-p

        3Ecomer,                >
                        Sm 1-24-27
                   SW1/4.
              NE1/4,
                                                                                 P.O.B.
                                                                                       Acrea±
                                                                                 18508.513

                                                                       South     5-24-25
                                                                              5ec.
                                                                           line,


                                                                                   E 16B3.05
                                                                           M 8931'17"                1381.6-1

                                                                           SWcorner,
                                                                                 Sec,
                                                                                    F24-25

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IAftARFVIATIONR                                                   I.T-.T-
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 0.R,=0FFICIAL
ID.B.=DEED
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 5.R,=STATE
IF/WRIGHTOFWAY
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 P5M-PROFES$10NAL
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    ANDMAPPER
           BUSINESS
 L.B.=LICENSED
 SEC-SECTION
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                                  FILING
                                      AREA                                                     DATE:
                 jf                 OV ERALL                                                   i2/07/22
                                  PROJECT
                                        NAME                                                   SOALE
                      P·°·B
                         1°°°°     DEVELOPERS    AGREEMENT        IN ORANGE       COUNTY       1" = 1000'
                       KEBUENASTA SURÆYTYPE                                                    DRAVN
                                                                                                   BY:
          nEEEET
               EIREIEEE
                      PHONE
                          407-824-5855
                                   SKETCH OF DESCRIPTION                                       JLG
    .                             COMMENTS                                                     FILENAME:
                                   SHEET 17 OF 20 SHEETS                                       iodo22053
        Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 53 of 76




                                         TANGENTTABLE
LINEþ    BEARING         DIST.    LINEM BEARING         D1ST.        LINEþ    BEAR.ING      BIST.
 L1      N 89*38'50"E    663,64  L67      N 82°18'14'W 71.09         L133      N 26'29'23"W 104,81
 L2      N 89°11'34'E    148,62  L68      N 51'44'44'W 65.78         L134      S 48'4.0'54"W 30,14
 L3      N 89*21'03' E   191,58  L69      N 80°24'25' W 90.39        L135      S 38°34'51" E L3,88
 L4      S 00°13'59'W    221,07  L70      5 48°32'46'W 80,93         L136      S 51'58'30"W 145,54
 L5      S 43'40'59'E     16,92  L71      S 22°55'38' W 113.12       L137      N 37*57'09"W L6,70
 L6      S 34°38'41"E      8,13  L72      S 27°19'16' E 55,45        L138      N 37'56'18" W L7,87
 L7      S 25°16'40'E     86.79  L73      S L8*40'56'W 159.75        L139      N 30'54'21"W 193,79
 L8      S 28°57'56"E    106,03  L74      S LO'48'30' W 160.42       L140      S 55'05'55"W 58,77
 L9      5 58 01'53" E    87,73  L75      N 65°28'07' E 122.36       L141      S 72°04'54" W 26.78
L10      N 85'59'29' E   134,58  L76      N 76°27'23' E 76.59        L142      N 00*06'31" W 54,31
L11      S 43°56'36' W    91,06  L77      5 78°11'38' E 85.68        L143      N 74*49'42" W 43,41
L12      S 64°40'37'W    105,25  L78      N 83°24 11' W 42.54        L144      S 44'47'41"W 145,43
L13      S 40°45'32"W    117,42  L79      5 24*23 32' E 04.06        L145      S 45'05'06"E L8,68
L14      S 13*26'04"W     97,39  L80      S L8*04 39' E 78.70        L146      S 03°14'02" W 84,66
L15      S 42*14'20'W    133,97  L81      N 82°09 40' W 26.47        L147      S 05*12'38"E 58.35
L16      S 68"59'11"W     89,71  L82      S 26°43 01" W 107.99       L148      S 33*10'07"E 163.59
L17      S 28°50'44' W    77,77  L83      S L3°53 13' W 84,7L        L149      N 86*26'26"E 126,87
L18      5 14"52'47"W     88,32  L84      5 20°06 37' W 86.2t        L150      N 76°15'46" E 63,89
L19      5 Ol*59'29"E    106,28  L85      5 22*42 17' W 90,27        L151      S 64°36'17"E 1L8,17
L20      S 24°42'46'W    241,59  L86      S 48*33 38' W 93.96        L152      S 52+36'40"E 63.05
L21      S 36*55'50"W    126,64  L87      5 51"48 05" W 58.47        L153      S 45*16'16"E 127.88
L22      S 24°03'44' W    71,01  L88      S 70°41 52' W 98.39        L154      S 10*02'35" E 93,01
L23      S 64'59'30"W     91,68  L89      5 75°48 30" W 82.70        L155      S 36*16'00"W 28,53
L24      N 68*30'58' W   131 37  L90      N 82422 12' W 18.57        L156      S 20°23'46" W 184,90
L25      N 34°57'28'W    145,43  L91      S 59*48 12' W 61.99        L157      5 25'05'40"W 31,33
L26      N 10°44'04" W   144,09  L92      5 23*48 42' W 31.4L        L158      S 55*12'27" W L9.76
L27      N 10*34'18'E    129,55  L93      S 21°34 58' E 112,96       L159      S 18*42'59"W 22,23
L28      N 44*03'35"E    129,67  L94      S 25°04 56' E 80.36        L160      S 80*54'32" E 34,76
L29      N 86'35'32'E    100,03  L95      5 06°58 19' E 51.79        L161      S 88°11'54"E 77,05
L30      N 62°48'18" E   100,08  L96      S 47°18 54" W 37.10        L162      S 89'29'03" E 140,11
L31      N 58°16'14" E    95,99  L97      5 03*48 45" E 24.29        L163      S 89°29'03" E 433,68
L32      N 15®01'47'E     86,03  L98      S 75°28 07' W 70,19        L164      N 00*00'00"E 131,18
L33      N 14*30'32'W    104,94  L99      N 63°15 30' W 63.09        L165      N 45*00'00"W 71,68
L34      N 03'06'23'W    111,09  L100      S 41°00'06'E 193,39       L166      N 00*00'00"E 633,08
L35      N 07°32'42' E    68,01  L101      S 48°59'54' W 100,00      L167      N 89'59'00" W 445,76
L36      N 15°14'13" W    80,67  L102      N 87*15'41' W 130,57      L168      N 00'27'46" E 673,19
L37      N 87*12'48" W    40 11  L103      N 63*21'34' W 33,90       L169      S 89°58'17" E 398.81
L38      S 77*42'57" W    84,88  L104      N 81°08'52' W 154,09      L170      N 00*00'00" E 753.74
L39      S 74*44'47'W     66,79  L105      N 39°33'00'W 38,53        L171      N 90'00'00"W 362,43
L40      S 35°20'27' W    90,33  L106      N 28°54'14' W 86,79       L172      N 05*16'59" W 106,23
L41      S 22*58'13" W    87,94  L107      N 28°30'43' W 101,63      L173      N 26'33'54"W 135,35
L42      S 20*05'22"W    168,18  L108      N 32*36'46'W 77,00        L174      N 47°32'44"E 146,69
L43      S 65°39'23"W    108 46  L109      N 39*30'36'W 98,30        L175      N 11*28'34"E 24.04
L44      N 79°02'16" W   146,86  L110      N 02°15'56'W 56,50        L176      N 40*40'48" W 82.81
L45      S 44*41'24' W    85,24  Lill      N 39°36'59' W 135,27      L177      N 90°00'00" W 73,87
L46      S 66*58'59" W    80,82  Lil2      N 85°04'00'W 67,65        L178      N 00'16'44"E    0,50
L47      N 89*03'00'W     96,88  Lil3      N 38°23'30'W 64,62        L179      N 89°57'37"E 670,11
L48      S 84°18'13" W    51,79  Lil4      N 64*16'04' W 16,33       L180      S 00*08'32" E 668,06
L49      S 77°56'53'W    l16,91  Li15      N 05*37 20" W 20,54       L181      S 89*55'30"E 671.45
L50      S 70°14'.00"W    84,26  L116      N 44°31'28' W 62,56       L182      S 00*15'27" E 669,41
L51      N 63*52'48'W    163,26  Lil7      S 23°42'54'W 95,95        L183      S 00*44'42"E 656,38
L52      N 71'49'57'W     91,32  Lil8      N 71°30'56' W 65,59       L184      S 89.*51'01"E 335,66
L53      N 56°38'48' W   106,72  Lil9      N 67°45'46' W 71,42       L185      S 00'40'49" E 656,31
L54      N 37°38'37' W    96,72  L120      N 47*09'12' W 129,61      L186      S 00*29'10" E 655.63
L55      N 69°48'38" W    85,22 |L121      N 28*09'10' W 67,04       L187      N 89°20'56" E 666,99
L56      N 85°15'14' W    95,72  L122      N 30°07'52'E 66,L8        L188      N 00*21'22" W 652,39
L57      N 76*56'11' W   104,56  L123      N 41°27'39' E 82,62       L189      N 89*30'49" E 7L4,94
L58      5 28'55'14" W   152,44  L124      N 28°03'16' E 61,53       L190      N 89'37'24"E 749,86
L59      8 13°45'44' E    47,73  L125      N 21°03'09' W 47,93       L191.     N 38'29'47" E 22,59
L60      S 28°03'11' E    95,35  L126      N 17*13'11' W 99,26       L192      N 38°29'47" E 576.34
L61      S 31'37'50" W   165,37  L127      N 00*32'57' E 48,45       L193      S 51°31'36" E 50,00
L62      S 51*01'41"E     83 54  L128      N 12°21'10' E 151,79      L194      S 79*52'53"W 95,47
L63      S 35*59'30" E   246,14  L129      N 23°46'35' E 109,94      L195      N 69'59'50"W 3L1,61
L64      S 55"37'13' E   316,45  L130      N 39°26'51' E 91,52       L196      S 23'29'47" W 304,91
L65      S 68°44'46'E    336,44  L131      N 17°00'45' E 45,t6       L197      S 58°56'26" E 509,41
L66      5 03°57'40"W     60 74  L132      N 34+56'26' W 27,03       L198      N 00 00'00" E 163.29
                                FILING
                                    AREA                                                  DATE:
                                 OV ERALL                                                 i2/7/22
                                PROJECT
                                     NAME                                                 SCALE
                                 DEV ELOPERS     AGREEMENT      IN   ORANGE    COUNTY
                    FL32830-1000SURVEY
                                     TYPE                                                 DRAWBY:
El      lEl         PHONE
          RETEEEEIEEE   407-824-5E55      .OF   ESCRIPTION                                JLG
                                COMMENTS                                                  FILENAME:
                                 SHEET 18 OF 20 SHEETS                                    103o22053
        Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 54 of 76




                                          TANGENT TABLE
LINE#     BEARING        DIST,    | LINE# BEARING        BIST.       LINE# BEARING       DIST,
L199        N 30*00'00"W 326,45    L264     N 48°30'29' E    7,40   L329   N 88*44'55' E 459 61
L2OO        N 74*50'28' E 100,li   L265     N 29°59'26' E    B.68   L330   N 00*13'41"E 708,14
L201        N 87'20'49' W 74.69    L266     N 13°42'55'E 39,82      L331   N 43°21'56'E 753,57
L202        N 27°09'24" W 47,56    L267     N 10°06'24' E 32,03     L332   N 00°24'44'E 242,11
L203        S 63°22'25' W 20,69    L268     N Ol°43'31"W 29,22      L333   N 00°39'25"W 141,86
L204        S 00°00 00' E 20,42    L269     N 05°37'39' W 26,82     L334   N 00°14'57'E 50,00
L205        N 90*00'00'W 30.04     L270     N 12°01'53'W 42,36      L335   N 89*43'25' E 671,30
L206        5 79*56'22" W 74,35    L271     N 2t°06'43' W    7,72   L336   N 23°57'49'E 158,82
L207        N 30*03'16" W E1.84    L272     N 36°50'10' W 37 65     L337   S 89°43'24"W 258,73
L208        5 59°56'44' W 12,L4    L273     N 47°37'33' W 25,00     L338   N 21°29'36'W L10,97
L209        5 30°03'16' E 17,42    L274     N 56°19'26' W 44 83     L339   N 00°08'24"E 211,55
L210        S 79°56'22' W 34.35    L275     N 49°30'53"W 55,06      L340   S 89°41'25"W 797,83
L2il        N 69°28'35' W 49.22    L276     N 59°47'57'W     8,89   L343   N 00*39'25" W 853,44
L212        S 74*41'50'W 40,22     L277     N 72°21'36'W 36,00      L344   N 05*00'31'E 152,48
L213        S 57*06'40' E 133,74   L278     N 82°08'10' W 65 71     L345   S 89°46'01"W L39,26
L214        S 30°00'00'E 180,00 L279        S 89°42'01'W 51 60      L346   S 89°39'24'W 554,03
L215        S 06'15'02"E .54, 63   L280     N BO'08'53'W 56 il      L347   S 00°20'32"E 20.00
L216        5 30°00'00'E 408.17    L281     N 89°26'00'W     8 09   L348   S 89°39'28'W 363,61
L217        5 00°00 00' E 162.89 L282       S Bl°14'14' W 46 34     L349   S 84*38'15" W 372,03
L218        N 89*50'42' W 360,99   L283     S 78°42'25' W 40 49     L350   S 00*20'32' E 14,94
L219        S 89*44'07'W 25,00     L284     S 77°43'02'W 63 74      L351   S 89°40'22'W L38,87
L220        N 00"13'59"W 29.01     L285     S 79°09'43" W 47 65     L352   S 42°20'36'W 55,11
L221        N 14'42'28' W 114.62 L286       5 72°48'44' W 44 03     L353   S 00°03'00"W 857,17
L222        N 06°53'49' W 123,97   L287     S 63°14'34' W 42 60     L354   N 89°41'19" E 364,69
L223        N 09°42'37' E 104,21   L288     S 57°48'39' W 28 70     L355   S 00*18'35'E 80,00
L224        N 61°06'48' E 53..88 L289       S 64°21'00'W 20 44      L356   S 89'41'25'W 481,37
L225        N 71'34'02"E 17,56     L290     S 67°06'48"W 29 21      L357   S 89°41'15' W 483,83
L226        N 18*25'51'W 18,21     L291     S B3°28'20' W 29 99     L358   S 20°48'24" E 96,16
L227        N 31°47'40'W 44,69     L292     S 83°04'31' W 27 06     L359   N 89°41'25"E 83 88
L228        S 74°09'08"W 308.68    L293     S 84°19'19' W 42 81     L360   S 00°08'24"W 219,78
L229        S 54°04 10' W 67.69    L294     S 99°52'10' W 174 [6    L361   S 20°48'24'E 836,45
L230        N 89°59'58'W 83.84     L295     N 00°00'19' E 313.89    L362   S 87°25'27"E 291,32
L231        N 76*19'21' E 28,L4    L296     N 00°00'19' E 498,35    L363   N 88°48'53'E 166,97
L232        S 89*22'47' E   9,24   L297     N 00°00'31' E 835,26    L364   N 86°44'00'E 142,45
L233        N 75°08'23' E 42,L5    L298     N 37°06'36'W 690,17     L365   N 06°27'19" W 91,16
L234        N 66'44'45' E 45.92    L299     N 88°48'31' W 555,60    L366   N 28°52'42'E 302,51
LE35        N 58°10'56'E    7,13   L300     S 00°27'57'W 105,56     L367   N 69°30'43'E 659,82
L236        N 40°00'00'E    8.68   L301     S 06°07'41' W 311,81    L368   N 84*17'43' E 306,52
L237        N 28*21'12' E 21..50 L302       S 00°12'16' E 702 26    L369   N 08°37'23'E 258,89
L238        N 19'11'06"E    7,97   L303     S 23°02'00"E 19,33      L370   N 00°07'43'W 400,13
L239        N 05'44'49' E 22,07    L304     5 00°12'16' E 198,27    L371   N 89"58'50"E 341,61
L240        N 09°37'03"E 18,85     L305     S 14°29'10' W 29,80     L372   S 00°19'24"E 603,75
L241        N 28°18'59'E 25.32     L306     S 08°05'57'W 46,90      L373   N 00*12'21" W 598,76
L242        N 39°33'24' E 18.56    L307     N 81°54'04'W 10,00      L374   N 89*56'46' E LOO,00
L243        N 51°48'12' E 17.01 L308        S 08°05'57'W 154,78     L375   S 02'04'12" E 523,43
L244        N 53*20'03'E 12,93     L309     S 81°54'04"E     5,50   L376   N 89°43'40'E 52,00
L245        N 67*23'56'E 18,89     L310     S 00°07'03'W 13,59      L377   S 00°12'21"E 49 00
L246        N 61°31'34' E 16,il    L311     N B9°54'54'W 160,89     L378   N 89°43'41'E 229,00
L247        N 85'31'20" E 16,65    L312     S 81°54'03'E     5,50   L379   5 00'12'25'E 26,23
L248        S 84°27'04'E 14.79     L313     N 08°05'57"E 201.68 | L380     S 00*05'18' E 420,00
L249        S 66°07'30' E 25.25    L314     N 06°07'41' E 291,80
L250        S 70'01'08"E 21,22     L315     N 00°07'03'E 196,68
L251        S 76*11'40" E 28,29    L316     S 89°49'36' W 453,70
L252        5 81°04'45" E 15,99    L317     N 40°17'32' W 323,52
L253        S 63°15'14' E 32,58    L318     N 32°21'38'W 271.63
L254        S 71°35 23' E   7.28   L319     N 34°30'31'W 120,76
L255        5 83°45'15' E 20,77    L320     N 46°26'37' W 108,80
L256        N 86*06'18" E 21.64    L321     S 89°49'14' W 28,71
L257        5 75*49'09'E 17,31     L322     5 00°10'31' E 11,26
L258        S 87'55'16" E 10,48    L323     S 89'49'29' W 28 35
L259        N 72°43'50'E 26,75     L324     S 04°02'58'E     4,66
L260        N 60°42'21' E 26,44    L325     S 86°05'06'W 22,85
L261        N 77°16'53'E 19.62     L326     N 03°54'54'W     6,14
L262        N 68°37"24' E   7.52   L327     5 89°49'29" W 173,97
L263        N 57*06'15' E 21,62    L328     N 66°04'53'W 548,81
                                 FILING
                                     AREA                                              DATE:
               ..                 OV ERALL                                              i2/7/22
                                 PROJECT
                                      NAME                                             SCALE
                       &          DEV ELOPERS      AGREEMENT     IN ORANGE  COUNTY
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                                      TYPE                                             DRAWBY:
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                                 COMMENTS                                              FILENAME:
                                  SHEET 19 0F 20 SHEETS                                 103D22053
         Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 55 of 76




                                                 CURVE TABLE
CURVE     RADIUS      DELTA     LENGTH       TANG, BRG,CURVE RAB]US       DELTA    LENGTH       TANG, BRG.
 Cl      545.08    81*15'08"   772.99                   C57   513.39    13°13'42" 118.53
 C2       80..00. 128'43'50"   179.74                   C58  1109,03    07*17'El' 141,09
 C3      425.00    23'29'59"   174,3L                   C59    15,00    52'09'22'   13,65
 C4       15.00    46*20'48"    12.13                   C60  1396,50    06°53'10' 167,84    N 07'09'56'
 C5      425.00    16*33'54"   122.87                   C61  1809,88    37°37'38" 1188,59   5 42'29'48'
 C6       25.00    51*32'25"    22.49                   C62 2L91.83     32°28'09" 1242.LO
 C7       25.00    40'55'45"    17,86                   C63 11402,16    00°29'43" 98,56     S 65*33'17'
 C8       25.00    46°29'32"    20.29                   C64   900,00    02°31'40" 39,70
 C9       75,00    30'06'13"    39.4l                   C65   675,00    45*40'47' 538,15
ClO       45.00    99*54'55"    78.47                   C66   825,00    98°34'08" 1419,29
C11      250.00    55*3t'16"   242.26                   C67   500,84    22°53'El' 200,08
Cl2      125.00    59'41'01"   130.2t                   C68    48,00    47°40'00" 39,93     N 29907'51'
C13      676.49    29'43'07"   350.89    N   50°L7'44' C69    650,84    22°53'2L" 260,00
C14      399.38    09'53'41"    68.97    N   79°L3'56" C70    675,00    98*34'08" 1161,24
Cl.5     137.63    14'21'49"    34,50                   C71   825,00    45*40'47" 657,74
C16      344.38    04*15'11"    25.56    S   86°02'20" C72     25,00    16°36'26'    7,25
C17      132.00    26*04'01"    60,05                   C73    25,00    51°24'It" 22,43
C18      184.37    31'44'00"   102.1L    S   49°44'21' C74     50,00   106°48 50" 93,21     N 80°45'36'
C19      679.36    08'51'48"   105.09                   C75   436.00    15°56 47" 121.35    S 58°12'21'
C20      437,18    18'37'07"   142.06                   C76   514,00    20*05 00" 180,17
C21      395.25    18*13'39"   125.74                   C77   315,00    35°55 53" 197,54
C22      645.09    03°21'33"    37,82                   C¯78 381,00     34°07 58" 226,97
C23      223.65    59'02'33"   230.47                  .C79   384,88    34'00 28' 228,44
C24       25.00    64'33'48"    28.17    5   49°58'05" C80    185,00    35°39 45" 115,15
C25       25.00    25 14'16"    11.01                   C81    47,00   130°3206" 107,08
C26     1010.00    07'58'42"   140,64    S   11°48'22' C82     50,00    83°36 Ol' 72,95
C27       25.00    87°13'52"    38.06    N   03°49'41" C83    188,00    27°45 45" 91,10
C28      221.37    29*07'38"   112.54                  .C84 2204,09     07°27 37' 286,99    N 29'38'58'
C29      132,76    48'16'L2"   111.85                   C85   808,57    09°35 40" 135,40    N 38'37'50"
C30      234.18    14*51'36"    60.74    N   64*L5'37' C86   1010,00    02°00 23" 35,37     5 05"42'00'
C31       25.00 115'40'49"      50,48    5   17°50'29" C87    899,35    05°39 43" 88,87
C32       25.00    54'17'l3"    23.69                   C88 2004.50     06°19 57" 221.54
C33       25.00    79*16'52"    34.59                   C89 EL62,49     07*53 08" 297,62    S 00 12'49'
C34       25,00    41*16'24"    18.0L                   C90  1175,00    07°00 25" 143,70    S 08°05'57
C35     1505.50    37'08'46"   976.05    S   03°51'20" C91   1025,00    10°07 39" 181,18    N 18'13'36'
C36       25.00    37'14'40"    16.25                   C92 2013,49     08°18 12" 291,80
C37       25.00    46'40'29"    20.37                   C93 2L53.50     06°19 57" 238.01
C38       25,00    58*38'45"    25,59                   C94   934,00    01#05 30"   17,79
 39       25.00    84*46'10"    36.99                   C95 EL58,53     24°05 38' 907,70
C40       25.00    58*17'03"    25.43                   C96 2832,01     04*49 44" 238,69    N   19 16'05'
C41        7.86    78'20'37"    10,75    N   28°56'03" C97 2829,41      01°55 19' 94,91     N   41*26'37'
C42       19.64    36"52'37"    12.64                  .C98 2826,01     19°14 15" 948,86    N   18 34'50
C43        3.95    74'25'35"     5.13                   C99 2750,09     04°43 07" 226,49    5   33*16'29'
C44     1080.42    20*21 16"   383,82    N   48°06'54"0100 2894,93      08°15 El" 417,14    N   82*Ol'15'
C45      762.70    08*52'54"   118,23    S   63°58'49" 2101 3241,05     05*37 30" 318,19    N   00 36'59'
C46      160.82    19'16'01"    54.08                  2102   357,62    23*38 08' 147,53    S   66 08'04'
C47      159.35    36'15'00"   100.82                  2103   250,01    90°21 35" 394,28
C48      158,03    21'54'44"    60.44                  ;104   350,02    72°08 18" 440,69    N 70'50'15
C49       52,89   104'26'29"    96.4L    5   75°27'00' 3105 3721,85     03°53 37" 252,93    S 16°54'47'
C50     1125.00    27°57'29"   548,95                  2106   546,86    46°21 00" 442,39
C51      492.00    26°59'13"   231.74
C52       25.00    35'13'41"    15.37
C53       25.00    46*18'35"    20,2L
C54       25.00    33'58'L3"    14,82    S 21°L4'34'
C55     1908.34    22'05'51"   736.00    S 75°L7'36'
C56      950.92    14°29'06"   240.40




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         Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 57 of 76




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                              Less
                                 Out.                                 .
      ARBRFVIATIONS      RCIDde-annexation
                                      291                                        .
      DB_=DEED
             BOOK           744.473
                                 Acres±                                                      LessOut
      0.R.-OFFlCIAL
               RECORDS                                                       .           RCDde-annexation
                                                                                                      2m
      3,R.=STATE
              ROAD                                                                         2 8. 8 Acres±
              OFWAY
      R/W-RIGHT                                                      .
      P.=SKETCH
             OFDESCRIPTION
         PAGENUMBER
      P.B.-PLAT
             BOOK                                                                                   Extension
                                                                                     MuthéfhConnector
      PSM=PROFESSIONAL
                   SURVEYOR
         ANDMAPPER                                           C                         r-f
      L.B.-LICENSED
                BUSINESS
      SEG=5ECTION
      TWN=TOWNSHIP
      RNQ-RANGE
      POB=P0lNT
             OFBEGINNING
      POC=POINT
             OFCOMMENCEMENT
                 ¢"               OV ERALL                                                              i2/7/22
                                 PROJECT
                                      NAME                                                              SCALE
                       & ®        DEV ELOPERS    AGREEMENT            IN OSCEOLA          COUNTY        1" - 1000'
                       32830-
                           00    SURVEY
                                     TYPE                                                               DRMNBY:
EEE      lEl
           RETEEEEIEEE
                     PHONE
                         407-824-5E55      .OF OfSCRIPTION                                              JLG
                                 COMMENTS                                                               FILENAME:
                                  SHEET 2 0F 16 SHEETS                                                  103022054
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 58 of 76




             .-N.line,
                    N"Y
                      1/4,Sec.
                             5-25-25              -N,line,
                                                        NE1/4,
                                                             Sec.
                                                                5-25-28
                 N 3942'15"E 2t·oo.T2'       L1

                  SBCh-25-JA
            NEcomer,
            NWcorneh
                  5ec.
                     9-E9-26                                                                   ro
               NEcorner,          -
                     NW1/4Sec5-25-25                                                            I
                         LEEL
                            DUT
                                                                                               ce




                                                                                      ARRRFVIATIONS
                                                                                      D,B,=DEED
                                                                                             BOOK
                              .._ .-.                                                 G.R.-OFFICIAL
                                                                                               RECORDS
                                                                                      S.R.=$TATE
                                                                                              ROAD
                         .-                                                                   OFWAY
                                                                                      R/W=RIGHT
                                                                                      P,=SKETCH
                                                                                             OFDESCRIPTION
                                                                                         PAGENUMBER
                                                                                      P.B,=PLAT
                                                                                             BOOK
                                                                                      PSM=PROFESSIONAL
                                                                                                   SURVEYOR
                                                                                         ANDMAPPER
                                                                                      L.B,=LICENSED
                                                                                                BUSINESS
              r'                                                                      SEC=SECTION
                                                                                      TWN=TOWNSHIP
                                                                                      RNG=RANGE
                                                                                      POB=POINT
                                                                                              OFBEGINNING
                                                                                      POC=POINT
                                                                                              OFCOMMENCEMENT




                                                                                       N na het1 '
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              -SW rrrer
                      °e 2'2P                  N llr±,
                                                     NE1 4 Sn u -L B
               -N IraN 1 4 3e t1-m¬B          e NE: mar
                                                Nb1 4 Er E-2=-2=                     h '1RJEP
                                                                                     E   TAN2        PN.-PE

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                   L1T        LO4                   4" E 7 'b 1,
                                              N 7 4'-                   Llr-_        L1 ,

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                                                      BEARINGSARE BASED ON THE   L11        s
                                                    W. LINE,NW 1/4.SEC.9-25S-28E
                                                         AS BEINGS 000849" E
                               FILING
                                  AREA                                              DATE
                                OV ERALL                                            i2/7/22
                               PROJECT
                                    NAME                                            SCALE
                   P,0,B,
                       1000G                                                        1" = 1000'
                   LAKE   VSTA 1)EVELOPERS
                      BUENA                   AGREEkfENT     IN OSCEOLA COUNTY
                                                                                    DRAWN
                                                                                        BY:
                   FL 250-1000 SURVEY
                                   TYPE
          ers n    PsoNE
                       407-824-5s55
                                SKETCH   OF DESCRIPTION                             JLG
                               COMMENTS                                             FiLENAME:
                                SHEET 3 0F 16 SHEETS                                103022054
        Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 59 of 76




                                         LrJLC
           Less
              Out
       .RCLDAe-ann.exatron.291                                                                o
         290B.2B5
               Acres±

                                                       East  NW 1/4
                                                          Ilne,
                                        Llll           SW1/4,
                                                            Sea,9-25-2B

                                                      N.Ilne,
                                                           SE1/4,
                                                                SW 1/4Sec.
                                                                         9-25-28
                                          t-                       r-N.  SW 1/4,
                                                                      line,    SE1/4;Sec.
                                                                                      9-25-28
                                                              N 8954'53"E 1343,0Ò             .. ..
                                               N 8946'36"E 1311.24'            o



                                   ·                                                    E.line.
                                                                                             SW1/4.
                               .                                                        SE1/4Sec.
                                                                                                9-25-28

                  ·$5                              8942'DB"W 1510,1.0'
                                                               S .99
                                                                   58'40"W 1342.969
                                                                             S.line,
                                                                                  SW1/4,
                                                                                       SE1/4Sec,
                                                                                               9-25--28
                                                             5.line...SE
                                                                      SW1/4Sec.
                                                                   1/4.       9-25r28
                                               m
                                                      E.line.
                                                           NW1/4,
                                                                N9/  Sec.
                                                                  1/4,  16-25-28



                        e, S B944'25"W ½131 70'

                                              . line,
                                                    NW1/4,
                                                         NW 1/4,
                                                               Set:.
                                                                   16-25-2B
                        F-l
                          y        W.line,
                                        SW1/4,
                                             NW 1/4Sec.
                                                      16-25-28
                        t,J         r tLline
                                          SW1/4,.Sec.16-25-28
                                                                16
                                      N 8946'42".E2658.61'       sr        ...                ...      .

                                                                  O


                                                                          E.line,
                                                                               NE1/4, 1/4Sec.
                                                                                    SY|'    16-25-28


                         ··¬                                                        ABBREMATIONS
                                                W
                                       S 59S1'04?     2677.84                       D.B.-DEED
                                                                                           BOOK
                                                                                    0,R,=0FFICIAL
                                                                                             RECORDS
                                        S.line,
                                             N 1/2,.
                                                  SW1/4Sec.                         S.R.=5TATE
                                                                                            ROAD
                                                          15-25-28,                 R/W=PIGHT
                                                                                            OFWAY
                                                                                    P-SHETCH
                                                                                           OFDESCRIPTIOH
                                                                                       PAGENUMBER
                                                                                    P.B.=PLAT
                                                                                           BOOk
                         r         W.line,
                                        SW1/4,
                                             SW1/45ec.
                                                     16-25-2B                       PSM=PROFES910NAL
                                                                                                 SURVEYOR
                                                                                       ANDMAPPEF
                                                                                    l_B
                                                                                      =LICENSED
                                                                                              BUSINESS
                                 SWcorner
                                       Sec.
                                          18-2528                                   SEC=5ECTION
                               _r-                                                  TMd-TOWNSHIP
                                                                                ....RNG=RANGE
                                                                                    PCB=POINT
                                                                                           OFBEGINNING
                                                                                    POC=POINT
                                                                                           OFCOMMENCEMENT
                               FluNG
                                  AREA                                                          D6TE:
                                OV ERALL                                                        i2/7/22
                               PROJECT
                                    NAME                                                        SOALE
                   P·°E1%       DEV ELOPERS   AGREEMENT               IN OSCEOLA     COUNTY     1' = 1000
                   LAKE
                      BUENA
                          VSTA SURVEY
                                   TYPE                                                         DRAEBf:
                   FL32830-1000
IIII   IIEIBET
            EIREIBIE
                   PHONE
                       407-824-5E55
                                SKETCH   OF OfSCRIPTION                                         JW
                               COMMENTS                                                         FILENAME:
                                SHEET 4 0F 16 SHEETS                                            103022054
         Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 60 of 76




                         Dut
                      Lesp
                  RCID
                     de-añnexatian
                             291
     .                   Acres±
                    290B,268




                              r·3Wcorner
                                      Sec.
                                         20-25-2B                        SEcorner
                                                                               Sec.
                                                                                  20-25-283


                                         \      S 8931'09"
                                                         W    5313.04'

                                             S.line,
                                                  Sec.
                                                     20-25-28




                                                                                ABBREMATIONS
                        O                                                       D.8,=DEED
                                                                                       BOOK
                                                                                O.R.=OFFICIAL
                                                                                         RECORDS
                                                                                S.R.=STATE
                                                                                        ROAD
                                                                                        OFWAY
                                                                                R/W=RIGHT
                                                                                P.=SKETCH
                                                                                       OFPESCRIPTION
                                                                                   PAGENUMBER
                                                                                PB=PLATBOOK
                                                                                PSM=PROFESSIONAL
                                                                                             SURVEYOR
                                                                                   ANDMAPPER
                                                                                L.B.=LICENSED
                                                                                          BUSINESS
                                                                                5EC=5ECBON
                                                                                TW=TOWNSHIP
                        Na                                                      RNG=RANGE
                        Co.                                                     PDB=POINT
                                                                                       OFBEGINNING
                                                                                PDC=POINT
                                                                                       OFCOMMENCEMENT
                                  FILING
                                     AREA                                                DATE:
                                   OV ERALL                                              i2/7/22
                                  PROJECT
                                       NAME                                              SCALE
                     P·°E1®®       DEV ELOPERS    AGREEMENT     IN OSCEOLA     COUNTY    1^ = 1000
                     LAKE
                        BUENAVSTA SURVEY
                                      TYPE                                               DRAWBY:
                     FL32830-1000
El       lEl
           RETEEEEIEEE
                     PHONE
                         407-824-5E55       .OF OfSCRIPTION                              JLG
                                  COMMENTS                                               FILENAME:
                                   SHEET 5 0F 16 SHEETS                                  103022054
        Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 61 of 76




586.15'                                                                 o


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    RGID                                                                ro
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         291                                                            N
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      Ades±




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..->                     5.Ilne,
                              SET/'4,
                                   Sec_.30-25-28
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               - 1 lirte,
                      SW1/4.  30-25-28
                           tec.                           3ec.
                                                             30-25-25-\      Ul
                                      R9 4114f"W
           S 884131"W 2651.88'         665.30
       -5W corner,
               Soc..
                   30-25-2B




                            4, ec 1-55-
                                      5      SEcorner
                                                   NE1/4,.
                                                        Sec.
                                                           31-25-23,
                                             663.60'              \m

                                 S.Ifpe,
                                      E.1/2,
                                           W.1/2,
                                 NE1/4,
                                      Sec.
                                         31-25-28



                                 W.lirie,
                                      NE1/4,SE1/4,
                                                __        SEcarner,
                                                                 NE1/4          5
                                       Sec.
                                          31-25-28     EE1/4,  31-25-28
                                                            Sec.
                                                                                    ABBREVIATIONS
                                                                                    D.B.=DEED
                                                                                           BOOK
                                                     S 8935'07"W   1325,4           0.R,=0FFICIAL
                                                                                             RECORDS
                                                                                    S.R.=STATE
                                                                                            RDAD
                                                                                            OFWAV
                                                                                    R/W=RlCHT
                                              S.line,
                                                   NE1/4,SE1/4,
                                                             J                      P=SKETCH
                                                                                           OFDESCRIPT1DN
                                                       31-25-2E
                                                    Sec.                               PAGENUMBER
                                                                                    P.B.-PLAT
                                                                                           BCGK.
                                                                                    PSN=PROFESSIONAL
                                                                                                 SURVEYOR
                                                                                       ANDMAPPER
                                                                                    L.B.-LICENSED
                                                                                              BUSINESS
                                                                                    SEC=SECTION
                                                                                    TWN=TOVNSHIP
                                                                                    RNG=RANGE
                                                                                    POB=POINT
                                                                                           OFBEGINNING
                                                                                    POC=POINT
                                                                                           OFCOMMENCEMENT

                                 FILING
                                    AREA                                                     DATE:
               ..'                OV ERALL                                                   i2/7/22
                                 PROJECT
                                      NAME                                                   SCALE
                    P·°E1®®       DEV ELOPERS    AGREEMENT         IN OSCEOLA       COUNTY   1" - 1000
                    LAKE
                       BUENAVSTA SURVEY
                                     TYPE                                                    DRMNBY:
                    FL32830-1000
El      lEl
          RETEEEEIEEE
                    PHONE
                        407-824-5E55       .OF OfSCRIPTION                                   JLG
                                 COMMENTS                                                    FILENAME:
                                  SHEET 6 0F 16 SHEETS                                       103022054
         Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 62 of 76




                                                .    .              Less
                                                                       Out
                                                               RCID
                                                                  de-annemtlen
                                                                           291
                 24                                              se2seAcres±               m 19

                                                                      APRPFMATIONS
         r                                                            D.B.=DEED
                                                                             BOOK
                                                                      0.R,=0FFICIAL
                                                                               REGORDS
                                                                      S.R.=STATE
                                                                              ROAD
         ó,                                                                   OFWAY
                                                                      R/W=RIGHT
                                                                      P.=5bETCH
                                                                             OFDESClilPTION
                                                                         PAGENUMBER
                                                                      P.B.=PLAT
                                                                             BOOk
                              Dd                                      PSlvl=PROFESSIONAL
                                                                                   SURWiDR
                                                                         ANDMAPPER
                                                                      LB.=LICENSED
                                                                                BUSINESS
                                                                      SEG-5ECTION
                                                                      TWN=TOWN5HIP
                                                                      RN0=RANGE
                                                                      POB-POINT
                                                                              OFBEGINNING
                                                                      POC=PolNT
                                                                              OFCOMMENCEMENT




2707.40'                                                                   v_




                                      N 8959'55"E 1596.15'

                 25    , t               ..                   2 eo,
                                      Less
                                         Out                    ·7                           30
  v_
  Un    Ú 51-1                         RCID                           -a
                                   de-anne».ation
                                            291        Less
                                                          out
    -..P.                           529,134
                                         Acree±         RCID
                                                    de-anne
                                                         ation
                                                             291      _d
             .                     .                 829,134
                                                          Acres±
                              -1    1100.00
                                 S 8959 55" W   n



                       L169

               L1714,                                    c
         L172
            THROUGH
                 L189                                                           $.line,
                                                                                     SE1/4.
                                                                                          Sec.
                                                                                             30-25-28,

44,56'                S 895433" W 203Z92                                                    gg4 -4
44.80                     S 8954'33'W 2658.96                            W 2661.88'
                                                                S 6941'31"                   665.30
                        L 5.line,
                               SE1/4,
                                    Sec.
                                       25-25-27              5Wcorner,
                                                                    Sec.
                                                                       30-25-28



                                 FluNG
                                    AREA                                                                 DATE:
                                  OV ERALL                                                               i2/7/22
                                 PROJECT
                                      NAME                                                               SCALE
                     P,0,B,
                        1000G     DEVELOPERS     AGREEMENT                 IN OSCEOLA      COUNTY        1" = 1000
                     LAKE
                        BUENA
                            VSTA SURVEY
                                     TYPE                                                                DRAWBY:
                     FL32830-1000
III      lEl
           RETEIRElBIS
                     PHONE
                         407-824-5E55      .OF OfSCRIPTION                                               JLG
                                 COMMENTS                                                                FILENAME:
                                  SHEET 7 OF 16 SHEETS                                                   103022054
       Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 63 of 76




                                  E.1/2
                               line,                                                        9        1 10
                             sec,23-25-27

               EbötérliN wafliRe
                     right                  .
                       92130-2401
               MapSection                                                              .
                dated      1969
                    August.28.                    SE1/4SW1/4
                                            _N.Ine,
                                             $ec.
                                                23-25-27                                        .



        E.R/Wliner
                S.R.
                   400_      o     h
             O.R.      \
                2325/701




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                                             Out     .
                   -'-y..                  RdD                      *
                                                291
                                       de-annexation                               O
                     cy                82R134
                                            Acrest             F

W.Ilne,
     E.5/ENW1            .
     Sec.2.5-25-27                                                      ........




                      8955'00"W    1666,58          0008'11
                                                  655.92
          5.11ne,
               NW 1/4,
                     Sec.
                        2 -25-27
                                                  N 000B'09''
                                                          We3F4.13....                 73
 ARRRFVIATIONS                         n a L143
DjB.-DEED
        BOOK                             O
0.R.=OFFICIAL
          RECORDS                        _,       8 8.9o
5.R.=STATE
         ROAD        W.IfnNW 1/4,
                                SE1/4,
                                     -         S 895505"W   L1:41
R/W=RIGHTOFWAY             Sec.
                              26-25-27
P SKETCHOFDESCRIPTION                                          -o-
    PAGENUMBER                                S 8952121" W                           East   SE1/4
                                                                                         line,
P.B.=PLAT
        BOOK             S.11ne,
                              NW 1/4,
                                    SE1/4,
                                         _/      132Ü4      -=.                      ofSec.
                                                                                          26-25-Q7
PSM=PROFESSIONAL
              SLIRVEYOR        Se-M-25-27
    ANDMAPPER                              .                        .
L.B.=LICENSED
           BUSINESS                                       O     ,13
SEC=SECTION                                                 .
TWN-TOWNSHIP                                                    -           r 3 89 916"W 678,98
RNG=RANGE                                                      L138
POB-PolNTOFBEGINNING                                      ,-o                            --_.L-e
                                                                                              Out
POC=POINTOFCDMMENCEMENT                                        r/3
                                        W.Ilne,
                                              SE1/4,     __ Z
                                                    EE1/4,
                                              Sec.26-25-27     . . ...... ... ....         9516       2644c5
   BEARINGSARE BASEDON THE                s.une,      SE
                                                sE1/4 1/4        5 894942" W   P        S 895203"  W  26444
E.LINE, SE 1/4,SEC.26-25S-27E                    sec.
                                                    26-25-27       1327.07
                    , ,,W                    S 895014W 4BS.92            L135 SEC TVN25S,RNG27E
     AS BEINGN DO0403                                                               26.
                  ..,             FILING
                                      AREA                                                      DATE:
                                   OV ERALL                                                      i2/7/22
                                  PROJECT
                                       NAME                                                     SCALE
                     P,0,B,
                        1000G                                                                    1" = 1000'
                     LAKE   VSTA IJEVELOPERS
                        BUENA                         AGREEMENT       IN OSCEOLA COUNTY
                                                                                                DRAWBY:
                     FL32830-1000SURVEYTYPE
III     lElRETEIRElBIS
                     PHONE
                         407-824-5E55        .OF OfSCRIPTION                                    JLG
                                  COMMENTS                                                      FILENAME:
                                   SHEET 8 0F 16 SHEETS                                         103022054
            Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 64 of 76




                        1g swy4 Fm174sw174r
                                          sécí
                                            11°25'27                      O                                           ^f
                   00121"     ..               .
          L13                                                                 o                          C16
                N.dine
                    NW1 4 $W1 4 W1f4rSee.41-26-27
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208.71                  In   1/4      SW1 4,e3c -25-                                       d nñexation
                                                                                                    291           )
                                                                                            9mæB w     a
            . L9             SE1/4 SW1/4 SW1 4 5 }1- 27                                              O

          206.7T o            ine$w1/ se 1-25-27                                                     .
                 o S 894708 W
                     1004.74b

                                     I E1 W    NE
                                   NW 1   14-227 .                  ... RC|â
                                                                           RES291


                                         NW1/ Sec1F2fy2                                                         oy


      >                                     I E         4




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                                                 L235 ,E.
                                             Ealine
                                             NE1/4.SW1/4

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                                                NEG4
                                           . line     1
                                            eMM-2A-21                   LaséOut
                                     O                                    RCID     1.62
                                                                     dá-amekafim-291.
                                     O                               290B2BBAcres±
                                                                                                               --4toWorld
                                                                                                                       Drvn erchMge




ABBREMABONS
D.B.=DEED
       BOOK
O.R.=OFFICIAL
         RECORDS                                                                           c
S.R
  -STATEROAD                                                              .
        OFWAY
R/W=RIGHT                                                                                      .-
P=SKETCH
       OFDESCRIPTION
   PAGENUMBER
P.B
  -PLATBOOK                                                                            W
PSM=PROFESSIONAL
             SURVEYOR
   ANDMAPPER
L.B,=LICENSED
          BUSINESS      W.l̄iñé
                              E T/2
SEC=SECTION           . Sec.23-2$-27
TWN=TOWNSHIP                        F-
RNG=RANGE                                                             K
POB=POINT
        OFBEGINNING                 o-
POC=POINT
        OFCOMMENCEMENT
                                    FILING
                                       AREf                                                                                DATE:
                    /                OV Ed ALL                                                                             i2/7/22
                                    PROJECT
                                         NAME                                                                              SCALE
                        P·°E         DEV ELOPERS    AGREEMENT                     IN OSCEOLA              COUNTY           1" - 1000
                        LAKE
                           BUENA
                               VSTA SURVEY
                                        TYPE                                                                               DRA%N
                                                                                                                               BY:
                        FL32830-1000
EEE         lEl
              RETEEEEIEEE
                        PHONE
                            407-824-5E55      .OF OfSCRIPTION                                                              JW
                                    COMMENTS                                                                               FILENAME:
                                     SHEET 9 0F 16 SHEETS                                                                  103D22054
       Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 65 of 76




            -N-w
               IneNW14 NEcomer.
                 2-25-27        Nb1 4 -               -N line,                               a N 1 4 Sa-1-m-°'
                                                                                         -N Irr
                            5e-2-25-2¬                      NE1 4,3r,2-2°-2
            -M4'D'"    E --T%-E                      .M 534°'''-"E 2bE.1Ba                 N F144 'JL."
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     P6oENUMBEF                                     W Ilne
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  PB=PLaTE-Cl
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     ANDHAPFEF
  LB=LICEll]ED
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     E 1'4,                                                                    BEAFlll'--
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                                                                              W line,
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                                     NAME                                                                 SCALE
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                                COMMENTS                                                                  FiLENAME:
                                 SHEET 10 0F 16 SHEETS                                                    103022054
          Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 66 of 76




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      ABBREVIATIONS
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             BOOK
     .O.R.=0FFICIAL
               RECORDS                                                     ¯¯
      S.R.=STATE
              ROAD                                                                 --
              OFWAY
      R/w=RIGHT
      P.=SKETCH
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      P.B.=PLAT
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      PSM=PROFESSIONAL
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         ANDMAPPER
      L.B.=LICENSED
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      POB=POINT
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                                   OV ERALL                                               i2/7/22
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                                   DEV ELOPERS    AGREEMENT        IN OSCEOLA    COUNTY   1" - 300
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                                  COMMENTS                                                FILENAME:
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     Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 67 of 76




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                                ABBREVIATIONS
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                             COMMENTS                                                            FILENAME:
                              SHEET 12 0F 16 SHEETS                                              103022054
      Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 68 of 76




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       Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 69 of 76




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ABBREVIATIONS          e,
D.B.=DEED
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O.P
  =OFFICIAL
         RECORD5
S.R.-STATE
        ROAD
        OFWKr
R/W=RIGHT
P.=SKETCH
       OFDESCRIPTION
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P.B.-PLAT
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L.B.=LIGENSED
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TWN=TOWNSHIP
RNG=RANGE
POB=POINT
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                                 AREA                                             D6TE:
              4|               OV ERALL                                           i2/7/22
                              PROJECT
                                   NAME                                           SOALE
                  P·°E1%       DEV ELOPERS   AGREEMENT   IN OSCEOLA     COUNTY    1' = 1000'
                  LAKE
                     BUENA
                         VSTA SURVEY
                                  TYPE                                            DRAMJ
                                                                                      Bf:
                  FL32830-1000
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                              COMMENTS                                            FILENAME:
                               SHEET 14 0F 16 SHEETS                              103022054
        Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 70 of 76




                                         TANDENT TABLE
LINE#    BEARING       BIST.     LINEM     BEARING       D1ST.     LINE#   BEARING       BIST.
 L1      5 89'17'26" E 153,63    L72       N 45'31'55'E 264,41     L140     N 00'03'44'W 631.66
 L2      S 38'30'29" W 248.14    L73       N 89*59'55' E 356,15    L141     S 89"52'13' W 494.06
 L3      N .50°02'45"W   9.00    L74       N 00°00'05'W.317,21     L142     N 90*00'00' W   5.12
 L4      N 89'45'55"E 128.02     L77       N 89°50'43'E [90,56     L143     N 00*08'04' W 183.39
 L6      S 89'58'43"W 43L,70     L78       S 00'08'00'E 453.76     L144     N 00*08'11' W 68,07
 L7      5 89'52'00"W 235,00     L79       N 89*52'00' E 20,00     L145     N 00'13'25' W 23,67
 L8      5 89'49'34" W 334.40    L80       5 00*08'00'E 488.84     L146     5 89'55'00'W 128.49
 L9      S 89°53'39" W 419,88    L81       N 34'12'14' E L49,99    L147     N 89"31'49' W 397,18
L10      N 00*16'32" E 208.71    L82       N 38*16'56' W L39,49    L148     N 89©31'34' W 122.10
L11      S 89'53'43"W 208,71     L83       N 20"31'56'W L10.01     L149     N 89*32'10' W 47.99
L12      N 00*16'32" E 458,63    L84       N 70*L4'49'W 129,46     L150     N 89*31'47' W 361.14
L13      5 89'59'41"E 293.67     L85       N 45*48'22' W L32,54    L151     N 89'31'38'W 68.77
L14      N 00'06'58"E 615,49     L86       S 89'14'11' W [81.70    L152     N 89'32'02'W 98.33
L15      S 89°46'25" E 332,34    L87       N 17°05'06'E 386,62     L153     N 89©31'40' W 203.89
L16      N 00'13'26" E 50.00     L88       S 72*54'50" E 290.44    L154     N 09*25'39' W 23.58
L17      S 89'46'24" E 332.44    L89       N 10*23'11' E 320.40    L155     N 34©30'31' E   3.49
L18      S 89'51'37" E 331.87    L90       N 04*30'12" E 320,81    L156     N 89*39'50" W 46.97
L20      N 00°09'07"W 665,37     L91       N 87*47'48' W 244,99    L157     S 89*55'09' W 105,90
L22      S 89°44'07" W 495,03    L92       N 09°05'25'W 282 87     L158     N 89©59'55' E 429.40
L23      N 02*l7'23" E 40.72     L93       N 00*00'00'E [86,09     L159     N 42'34'45'E 61.38
L24      N 18°56'28" E 11.18     L94       N 44*56'12" E 42.49     L160     N 77©28'31' E   6.16
L25      N 00'08'32" E 1.4.20    L95       S 00°16 52' W L82.00    L161     S 80 50'28' E 42.95
L26      N 45'08'32" E 35,36     L96       S 72*43'12' E L20,32    L162     S 76*40'19' E 50,95
L27      S 89'51'28"E    4,49    L97       S 68'43'12" E 476,40    L163     N 78'08'48'E 34,33
L2B      N 00'08'32"E 60.00      L98       S 39'09'33'W 593,50     L164     5 30'04'17" E   4.22
L29      N 44°51'28" W 35,36     L99       S 39°49'53'W 428,75     L165     S 76'06'37'E 130,56
L30      N 00°08'32" E 10,44     L100       N iS"15'17" E 57.43    L166     N 89"59'55'E 618.64
L31      N 44'51'28"W    4.24    L101       N 74*44 43" W 42.00    L167     S 38©39'40' E 320.15
L32      N 00'08'32" E 346,14    L102       N 10'06'45"E 301.24    L168     S 01'48'36'E 382,26
L33      N 01'09'08"W 176.69     L103       N 15'17'20'E 293.98    L169     S 89*59'55' W 620.00
L34      N 44'51'28" W 39,61     L104       N 46'27'10" E 105,97   L170.    5 00'00'05"E 250,00
L35      S 00'09'07"E 132,00     L105       N 05©42'05" E 369.98   L171     N 89©45'12" E 331.16
L36      N 89°52'11" E 240,29    L106       N 89#50'46" E 591,75   L172     N 22°25'57' E 47.B5
L38      S 79'55'37" E 62.09     L107       S 00'08'49"E 132.00    L173     N 32©49'38' W 99.62
L39      N 89*52'08" E 193.48    L108       N 89 47'42' E 622.99   L174     N 06 38'41' W 20.86
L40      S 00'07'52"E 207,00     L109       5 60'04'38" E 118.30   L175     N 67*06'55" E 58.35
L41      S .89°
              52'08" W 350.00    L110       N 89©55'21" E 40.00    L176     N 80 46'35' E 124,29
L42      S 00'07'52"E 500.00     L111       N 89*56 33" E 50.00    L177     N 59'15'21' E 74.38
L44      N 89°52'08" E 400.00    L112       S 00 03 27" E 512.31   L178     N 76 39'34' E 72,66
L45      N 89'52'09"E    2,14    L113       S 00*03 27' E 358.24   L184     S 11 28'54' W 73.24
L46      S 45'03'23"E 42,36      L114       N 65 37 30' W 341.01   L185     S 17 38'04" W 10.26
L47      S 00°00'00"E 174,79     L115       N 27'43 20" W 492,90   L186     S 67 56'29' E 225,59
L48      5 09'05'25" E 282.87    L116       N 01'09 30' W 124.30   L187     N 45 25'09' E 16.32
L49      S 17'05'06"W 544 65     L117       N 50"54 37" W 282.74   L188     3 61 51'19" E 58,22
L50      S 54°40'11" E 66.55     L118       S 59©21 14" W 36..00   L199     S 30 56'12' E 14.64
L51      S 12'49'30"E 117,68     L119       N 38 52 34' W 156,01   L190     S 00 04'03' E 79,89
L52      S 13'29'51"E 341,79     L120       N 39'57 15" E 502,67
L53      S 13'29'51"E 408.71     L121       S 37'21 28' E 61.64
L54      5 15'17'58"W 294,15     L122       N 52'38 37" E 295.00
L55      S 15°15'17" W 300.03    L123       N 37"21 24" W 236.29
L56      N 74°44'43" W 45.00     L124       N 33*58 59" W 295.13
L57      S 17'31'41"W .302.54    L125       N 32'17 07" E 68.88
L58      S 15*[5'11" W 177.35    L126       N 38 44 50" E 91.15
L59      5 08'28'42"W 42l,43     L127       N 31'13 07" W 15,63
L60      S 81°31'15" E 26,00     L128       N 39 57 15" E 399,78
L61      S 08°28'45" W 543,00    L129       N 45*03 33" W 10.00
L62      N 81*31'15" W 26.00     L130       N 44*36 59" E 348.99
L63      N 34*24'01" W 342.34    L131       N 52 48 15" E 150.00
L64      N 41'10'58"E 504,10     L132       N 69'14 08" E 104,92
L65.     N 00°00'05"W 182,99     L133       N 88©35 33' E 600,08
L66      N 00'00'05"W 262.45     L134       N 83 15 36' E 300.22
L67      N 00'00'05"W 604,56     L135       N 0D#04 03" W 120.00
L68      N 89°59'55" E 550.00    L136       S 89 56 16' W 41.46
L69      N 18°33'37" W 469.54    L137       N 00*07 57" W 333.91
L70      N 00'00'05"W 391,70     L138       N 00©07 43' W 177,25
L71      N 89'59'55"E 48,91      L139       N 00'01 07" E 178.96
                                FILING
                                   AREA                                                DATE:
                                 OV ERALL                                              i2/7/22
                                PROJECT
                                     NAME                                              SCALE
                     °E          DEV ELOPERS    AGREEMENT     IN OSCEOLA     COUNTY
                      32830-
                          00    SURVEY
                                    TYPE                                               DRAWBY:
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                        407-824-5E55      .OF OfSCRIPTION                              JLG
                                COMMENTS                                               FILENAME:
                                 SHEET 15 0F 16 SHEETS                                 103D22054
     Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 71 of 76




                                  CURVE TABLE
                  CURVE RADIUS        DELTA    LENGTH    TANG. BRG,
                    C1 85794,19     DL'26'58"2170,39
                    C2  392l,00     14'53'09' IOl8,71   N 25*02'25' E
                    C3  1597,84     09°05'25" 253,51
                    C4  1457,85     26°t0'31" 666,01
                    C5  1597.85    102°07'51"2848.19
                    C6  1597.89     D7°30'00" 209.16
                    C7  2009,86     24'L8'27' 852,67    S 10°4.8'
                                                               36' W
                    C8  1809,86     ll*41'10" 369,14
                    C9  1809,86     17°06f44" 540,54
                   CLO 450t,37      06°46'34" 532,35    S 15°15'19'W
                   CL1  105t.92     30*21'09" 557.26
                   CL2   814.00     20*35'33" 292.56    S 19*06'55'E
                   Cl3  1073,93     17°34'32" 329,43    S 36*35'41' E
                   Cl4  1759,86     33°38'13' 1033,17   5 00 08'08' E
                   CL5 2059,86      14°L3'45" 5L1,56
                   CL6  1457,89     12°05'33" 307.69    S 82+51'48' W
                   CL7  1457.79     29°L5'05" 744.25
                   CL8  1457.85     47°22'50"1205.56    N 30*17'44' W
                   CL9  1597.84     1L*L7'38" 3t4,96    N 02*12'13" E
                   C2D  1457,85     09'05'25" 231,30
                   C2] 2774.79      14°35'33' 706.70    S 87'18'45' E
                   C22   310.00     64°L1'44" 347,33
                   C23   710.00     43°41 01" 541.32
                   C24 17038,73     00*07'Ol' 34,76     S 39*57'15" W
                   C25 17038,73     00*07'00" 34,73
                   C26 17038,73     05°07'15" 1522.83
                   C27 17338,73     07°L8'35" 22L2,08
                   C28 17338.73     D3°23'57"1028.62
                   C29 1.7038.
                             73     05°03'27" 1503.98
                   C30   45t,67    120*t7'51' 948,32    S 44*19'15'W
                   C31  1767,86     30*38'14" 945,31
                   C32 2009,86      28°47'54"10l0,21    N 15'18'05"E
                   C33  1809,86     30°L8'27' 957,35
                   C34  1759.86     13°41'33" 420.57    N 19°48'38' E
                   C35 2059.86      33°23'10" 1200.27
                   C36   426..
                             87     56°29'55" 420,93
                   C37  1789.72     15°t9'53' 478,90
                   C3B  179t,86     03°26f13" 107,49    N 78°45'37' E
                   C39 218L,28      D6°37'08" 251.98
                   C40   450.00     59°52'20" 470.24    S 00°12'18' E
                   C41   150.00     60°00'00" 157.08
                   C42   622,20     73°46'51' 801,22
                   C43 2405,91      1.5°
                                       39'49' 657,74
                   C44 3677.60      09°L3'43' 592.35    5 46'35'06"E
                   C45   724,53     32°07'27" 406,22
                   C46  1433.91     30°54'26" 773.50
                   C47 4489.66      D6°27'44" 506.37
                   C48 17028.73     D5*21'16" 1591,38
                   C49 17348.73     00°22'04   1L1.39
                   C50 1734L.08     04°36'46' 1396,13   N 44'56'25' E
                   C51 17338,73     05°43'39" 1733,24
                   C52 17038.73     05°21'16" 1592.32
                   C33 1342.44      24*30'00" 574.04    N 44*44'08'E
                   C54  1342,40     19°21'25" 453.52




                            FILING
                               AREA                                              DATE:
                             OV ERALL                                            i2/7/22
                            PROJECT
                                 NAME                                            SCALE
                PJ           DEV ELOPERS    AGREEMENT     IN OSCEOLA    COUNTY
                FL32830-1000SURVEY
                                TYPE                                             DRMNBY:
El    I T IElEEEPHONE
                    407-824-5E55      .OF OfSCRIPTION                            JLG
                            COMMENTS                                             FILENAME:
                             SHEET 16 0F 16 SHEETS                               103022054
Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 72 of 76




                          EXHIBIT   2

                       LOCATION     MAP
  Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 73 of 76




                                      EXHIBIT     3

                       CAPITAL    IMPROVEMENTS        SCHEDULE



                        See below Tables 9-6 through 9-11 ofthe

                CapitalImprovement Element ofthe Comprehensive Plan



Table9-6:Summary FiveYearScheduleofCapital
                                         improvements(inthousands)
                       FY 2022    FY 2023 FY 2024 FY 2025     FY 2026     FY 2027   TOTAL
 Roads (RCID)           $32,000 $19,160 $32,500 $58000 $144,500 $168,000 $454,160
 Potable
       & Reuse Water       $708    $2,400 $1,650 $1 800          $7,850    $4,850 $19,258
       Sewer
Sanitary                 $2,350    $7 000 $13,000 $6,000         $4,500    $6,000 $38,850
SolidWaste                $120      $230   $2,500       $0     $1,000 $10,100 $13,950
 Draínage                 $800        $0         $0     $0          $0        $0       $800
TOTAL RCID              $35,978 $28,790 $49,650 $65,800 $157,850 $188,950 $527,018

                    269iO26 $U5,2
  ou ty/State/Federal)                     W,395       ,050         $0              $m,0n
        Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 74 of 76




    TableC-7:FiveYear Scheduleof 3apital       entsforRoads (ilthoustnds)
                                       hnproverr
     9-
IFigure
   1              Description FundingFY 2022 FY 2023 FY 2024 FY 2025 FY 2026 FY 2027
             Project                                                                    Total
Project                       Source

    1     NorldDrive  NorthPhase2       Bond $25,000$1,660                  $0     $0   $26,66Õ
                      ofapprox3.2
          Joristruction                Funds
          nilesofroadways,  rarnps'
          3ridges,MSE retainingwalls, (On
          Jtflity                 and Hand)
               relocationsidrainage
          hecreation ofa regional
          storrnwaterpond,landscaping
I         indinigation,etc.
    2     ntersection improvements Bond $2,000                              $0     $0    $2000
          ttBuenaVista   DrivelWestern Funds
          Nay                           (On
          Interimintersection          Hand)
          mprovements  torelievePM
           eakdelays.
    3     NorldDrive  NorthPhase3      Bond $5,000 $17500 $32,500$35,000$31J00          $121500
           onstructionof4 lanedivided Funds
          uralroadway  extendingWDN
          'hase 2 toFloridian         On Hand
                             Place.
                incluces
          'roject        utility      & New)
          elocations drainage,
          andscaping andirrigation,
                                  etc.
    4     Nestern  Way andBuena        Bond                        $20000 $75;000$75,0Ó0$17ó,000
          listaDrive Widening from4    Funds
          aneurbanandrural   divided
          oadto6 lanes  fromBVD to     (New)
           astofSR 429including
          ntersectionirnprovementsat
          Nestern Way andBVD
          ftyover).(Total        Cost
                         Projected
           250,000,000/FY 26-29)
    5     tealignVistaWay to           Bond                        $1,000 $8,000 $15,000$24.000
          3onnecttoBuenaVista          Funds
          OriveReaVgnVista  Way        (New)
          whereit curves northicard
          owardCR 536toextend
                 across
          straight      toBuena
          Vista
              Drive south ofthe
          sarehouses. (Total
          )rojectedCost$34,000,000 /
           Y25-28)
    6     luenaVista  Drive            Bond                        $R000 $30,000$28,000$60,000
          ntersection 5 (Disney        Funds
          3prings Corridor)            (New)
          ntersection             to
                     irnprovernents
          educecongestion  during
          lighttimeclosing.
    7     3uenaVista  DriveDedicated Bond                                        $50,000$50,000
          AusLanes                     Funds
          Constructadditionalbus       (New)
          anesfrom.Bonnet  Creek
          Parkway toWorldDrive.
          (Total
               Projected Cost
          1200,000;D00/ FY2740)
          TotalRCIDRoads                      $32,0d0$49,160$32,500$58,000$144,500      $454,160
                                                                                 $168,000
    Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 75 of 76




  Table9-8;FiveYear Scheduleof CapitalimprovementsforPotable/Reuse
                                                                 Water (inthousands)
 Figure9-2                        Funding
 Project#          Description Source FY 2022 FY 2023 FY 2024FY 2025FY 2026FY2027 Total
             Project
    Not    Indirect
                 Potable/Reuse BondFunds             500 1,000 1,000 1,000 1000 4,500
   Shown   Project              NonTaxable
    Not    WellRehabilitation BondFunds       300    300   300    330   300    300 1,800
  Shown    Program              NonTaxable
    Not    Welt#2Corístruction BòndFunds                          200 2,500         2,700
  Shown                         NonTaxable
     1                ReclaimedBondFunds
           Contemporary                                    350                       350
           WaterConversions    .NonTaxable
     2     EpcotReuseWater      BondI-unds 200     t600                 150 3,550 5,500
           Conversions          NonTaxable
    Not    Goff
              CourseBoosterPump BondFunds                         1DO   4dû          500
  Shown    Station
                 Rehab(4Total) NonTaxable
     3     ReuseWaterExtension BondFunds      208                                    208
           AlongWorldDrive
                         to     NonTaxable
                 DHS
           Service
    Not    RemoteReuseWater     BondFunds                        200 3,500          3,700
| Shown          and
           Storage              NonTaxable
           Re-pumpSRF
    Total
        Potable
              andReuseWater                 $708 $2,400 $1,650 $1,800$7,850$4;850$193258
  Table9.9:FiveYearScheduleofCapital   improvementsforSanitarySewer (inthousands)
Figure9-3                         Funding
Project#    ProjectDescription     Source FY 2022 FY 2023 FY 2024FY 2025FY 2026 FY  Total
                                                                               2027
   Not    Lift
             Stations
                   Rehabsand     BondFunds    600 3,000 5 000 3,000 2 500 4 000 18,100
  Shown Upgrades#7& #60Master Non Taxable
          Lift      aríd
            Stations,       Lift
                       Duplex
          Station
                Program
   Not    Rehabilitation
                     ofCollectionBondFunds    750                 2s000 2,000 2,000 6;750
  Shown System                   NonTaxabfe
  WWTP    WWTP Dewatering     / BondFunds 1,000 4,000 8,000 1,000
                         Facility                                                   14,000
          FoodWasteTransfer      NonTaxable
          Station
 Total
     Sm ItarySewer                          $2,05o $7,000$13000 $6,000$4,500$c,000$36,850
 Table9-10:FiveYear Scheduleof CapitalimprovementsforSolidWaste (inthousands)
Figure94                         Funding
Project#    Project
                  Description    Source FY 2022FY 2023FY 2024FY 2025 FY 2026FY 2027 Total
   1           Ftoor
         Tipping   R esurface
                           and  Bond                                          $100   $100
         Drain
             SystemRehab        Funds
                                Taxable
   1     Trarisfer
                Statiort
                      Expansion Bond       $120 $230 $2,500           $1,000$io,000$13,850
                                Funds
                                Taxable
TotalSolid
         Waste                             $120 $230 $2,500      $0 $1,000$10,100$13,950
 Table9-11:FlyeYear Scheduleof Capital
                                     improvementsforDrainage(inthousands)

      # $roject
Project       DescriptionFundingSource FY 2022FY 2023FY 2024 FY 2025FY 2026FY 2027 Total
   1                     Outside
        MajorRehabilitation:   Drainage $800    $0     $0      $0     $0     $0    $8dû
              S 14        FeesOn Karid
    TOTA£ DRAINAGE                      $800    $0     $0      $0     $0     $10   $800
   Case 4:23-cv-00163-MW-MAF Document 1-1 Filed 04/26/23 Page 76 of 76




                                     EXHIBIT     4
             IJST OF REQUIRED      LOCAL     DEVELOPMENT       PERMITS

    Permitting
            Agency                                 Pentüt Type
                                                 Listed
                                                      Species
                                                            Survey
  Florida
        Fishand Wildlife
         . .                                   GopherTortoise
                                                            Relocation
   Cornmission(FFWC)
                                                   SnakeMorfitoring
                                              Indigo
 US Army CorpsofEngineers              Construction
                                                 Cornmencement.Notification
          (ACOE)                    LongTerniPermitNotification
                                                            (WetlandImpact)
                                  "InHouse"U.tility
                                                Permit(for)           Potable
                                           Water/Wastewater/Reclaimed
                                                                   Water
ReedyCreekEnergyServices                       FireLineDedication
                                                               Letter
     / WaltDisneyWorld
(RCE5)
                                       GreaseTrap/Holding
                                                       Tanks(seeUP above)
  Environmental
              Affairs
       (WDWEA)
                                 A/C Condensate/Dry         toilets
                                                 WeH/Portable    (seeUP above)
                                                   Service
                                              Utility    Request(USR)
                                              Planning        Review
                                                     Consistency

                            SouthFlorida                      (SFWMD) -ERP Modification
                                      Water MartagementDistrict
                                                       -
                                         RCIDDewateringPullFrom Ground
                                        SFWMD Dewatering -Pull
                                                             From Ground
 ReedyCreekImprovement                      Planning
                                                   ConcurrencyReview
 District
       (RCID)      and
            Planrting                        PlarmingSite
                                                        P lanReview
Engineering
         Department(P&E)             StormWaterPollution
                                                       PreventionPlan(SWPPP)
                                                       Control
                                               Turbidity      PlanPermit
                                            SiteCivil
                                                    ConstructionPlanReview
                                              RightofWay Use/ HaulPermit
                                                   RightofWay Permit
                                                  MaintenanceofTraffic
                                           NoticeofIntenttouseGeneralPermit
                                                       -
                                             bewateringDischarge toSurface
  Florida        of
        Departrnent
                                                 AirCònstruction
                                                               Perrnit
 Environmental
            Protection
                                            NPDES Genenc StormwaterPermit
        (FDEP)
                                                  Construction
                                             Utility        Notification
                                                            Tanks
                                                 LargeStorage
